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    Exhibit     Description          Prior Defense          Prior Ruling (Tr.                      New Objections                              Court's New Ruling
                                      Objections                 Citation)
GX 108        Email chain      Hearsay. (11.15.21        Admitted without a    Authentication - This document has not been           The Court will rule on this separately in
              between Jimmie Unofficial Tr. at 151:17- witness                 authenticated for admission at retrial (FRE 901).     its order on the United States' Motion for
              Little, Dean     24)                       Admitted only against                                                       Leave to File a Motion to Supplement
              Bradley, Sarah   Statements do not         Little. Statements of Limiting Instruction - This exhibit should be         James Log and for Reconsideration
              Knust, and Grace satisfy 801(d)(2)(E).     Bradley admitted not subject to the same limiting instruction issued at     [Docket No. 941].
              Pope on or about (Dkt. 395-1, p.106-108) for the truth of the    the first trial: the exhibit can only be considered
              05/31/2013       Standing authenticity     matter asserted, but against Mr. Little and Mr. Bradley's statements
              (PILGRIMS-DOJ- objection to emails from effect on listener.      can only be considered for its effect on the
              0000174707).     Pilgrim's server (11.5.21 (11.15.21 Unofficial listener. (11.15.21 Unofficial Tr. at 152:1-5).
                               Trial Tr. at 1742:11-     Tr. at 152:1-5)
                               1743:8)

GX 109        Email chain      Hearsay, not admissible Admitted without a      Authentication - This document has not been           The Court will rule on this separately in
              between Jimmie under FRE 801(d)(2)(E); witness                   authenticated for admission at retrial (FRE 901).     its order on the United States' Motion for
              Little, Thomas   denial of constitutional Admitted only against                                                        Leave to File a Motion to Supplement
              Lane, Dean       right of confrontation;  Little. Bradley's      Limiting Instruction - This exhibit should be         James Log and for Reconsideration
              Bradley, Sarah   limiting instruction     statements not         subject to the same limiting instruction issued at    [Docket No. 941].
              Knust, and Grace requested. (11.12.21     admitted for the truth the first trial: Bradley's statements can only be
              Pope on or about Unofficial Tr. at 201:1- of the matter          considered for their effect on the listener.
              05/31/2013       10, 201:25-202:4,        asserted, but for      (11.12.21 Unofficial Tr. at 203:23-204:18)
              (PILGRIMS-DOJ- 202:18-203:13, 204:10- effect on listener.
              0000174709).     18)                      (11.12.21 Unofficial
                               Standing authenticity    Tr. at 203:23-204:18)
                               objection to emails from
                               Pilgrim's server.
                               (11.5.21 Trial Tr. at
                               1742:11-1743:8)




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    Exhibit     Description         Prior Defense          Prior Ruling (Tr.                     New Objections                                 Court's New Ruling
                                     Objections                Citation)
GX 113        Email chain     Hearsay; James            Refused: Hearsay        Authentication - This document has not been          The Court will rule on this separately in
              between Carl    hearing objections--      objection sustained     authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
              Pepper and      including failure to show and found no basis                                                           Leave to File a Motion to Supplement
              Dean Bradley on conspiracy, that the      for admissibility       Hearsay - As at the first trial, this exhibit should James Log and for Reconsideration
              or about        declarants were a         (11.12.21 Unofficial    be excluded as hearsay. (11.12.21 Unofficial Tr. [Docket No. 941].
              05/31/2013 (TY- member of a               Tr. at 208:25 to        at 208:25 to 211:6)
              000062843).     conspiracy, or that       211:6)
                              statements were in
                              furtherance thereof; and
                              denial of constitutional
                              rights of confrontation
                              (on James log and
                              refused after
                              hearing)(Dkt. 395-1 at
                              104-06)

GX 114        Email chain      Hearsay; James           Admitted with           Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
              between Brian    hearing                  Limiting Instruction:   authenticated for admission at retrial (FRE 901). pending authentication.
              Roberts, Carl    objections—including,    Bradley's statements
              Pepper, Tim      failure to show          are only considered     Limiting instruction - This document should be Limiting Instruction: Mr. Bradley's
              Scheiderer, Tim conspiracy, that the      for effect on the       subject to the same limiting instruction given at statements cannot be considered for
              Mulrenin, and    declarants were a        listener (11.12.21      the first trial: Mr. Bradley's statements cannot be their truth, but only for their effect on the
              Dean Bradley,    member of a              Unofficial Tr.at        considered for their truth, but only for their effect listener.
              among others, on conspiracy, or that      211:15-212:22)          on the listener (11.12.21 Unofficial Tr. at 211:15-
              or about         statements were in                               212:22).
              06/03/2013 (TY- furtherance thereof; and
              000063844).      denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 110-13);
                               Objections regarding the
                               inadequacy of the use of
                               limiting instructions




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    Exhibit     Description          Prior Defense         Prior Ruling (Tr.                         New Objections                              Court's New Ruling
                                       Objections              Citation)
GX 120        Email chain      Hearsay; James           Admitted with            Authentication - This document has not been           Admissible under FRE 801(d)(2)(E)
              between Carl     hearing                  Limiting Instruction: authenticated for admission at retrial (FRE 901). pending authentication.
              Pepper, Tim      objections—including,    Bradley's statements
              Scheiderer, Tim failure to show           are only considered Limiting instruction - This document should be Limiting Instruction: Mr. Bradley's
              Mulrenin, Brian conspiracy, that the      for effect on the        subject to the same limiting instruction given at statements cannot be considered for
              Roberts, and     declarants were a        listener (11.12.21       the first trial: Mr. Bradley's statements cannot be their truth, but only for their effect on the
              Dean Bradley,    member of a              Unofficial Tr. at 205:5- considered for their truth, but only for their effect listener.
              among others, on conspiracy, or that      206:16)                  on the listener (11.12.21 Unofficial Tr. at 205:5-
              or about         statements were in                                206:16).
              05/31/2013 (TY- furtherance thereof; and
              000243934).      denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 102-04);
                               Objections regarding the
                               inadequacy of the use of
                               limiting instructions


GX 219        Email between    James hearing            Admitted (11.18.21   Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
              Jimmie Little,   objections—including,    Unofficial Tr. at    authenticated for admission at retrial (FRE 901). pending authentication.
              Robbie Bryant,   hearsay, failure to show 145:19-146:6); also
              Jason McGuire, conspiracy, that the       ruled admissible
              and Dean         declarants were a        under 801(d)(2) (E)
              Bradley on or    member of a              after James hearing)
              about 12/24/2013 conspiracy, or that
              (PILGRIMS-DOJ- statements were in
              0000177839).     furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 564-65)




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    Exhibit     Description          Prior Defense            Prior Ruling (Tr.                     New Objections                                Court's New Ruling
                                       Objections                 Citation)
GX 221        Email chain      Hearsay; James hearing Admitted with limiting Authentication - This document has not been               Admissible under FRE 801(d)(2)(E)
              between Carl     objections—including,       instruction:            authenticated for admission at retrial (FRE 901). pending authentication.
              Pepper, Brian    failure to show             statements of
              Roberts, Jared   conspiracy, that the        Hannigan, Knust,        Limiting instruction - This document should be Limiting Instruction: the statements of
              Mitchell, Tim    declarants were a           Scheiderer, Bolin,      subject to the same limiting instruction given at Ms. Knust, Mr. Lubert, Mr. Ramsey, Mr.
              Mulrenin, and    member of a                 Ramsey, and Lubert the first trial: statements of Ms. Knust, Mr.            Bolin, Mr. Hannigan, and Mr. Scheiderer
              Tim Scheiderer, conspiracy, or that          admitted only for       Lubert, Mr. Ramsey, Mr. Bolin, Mr. Hannigan,        cannot be considered for their truth, but
              among others, on statements were in          effect on the listener, and Mr. Scheiderer cannot be considered for         only for their effect on the listener.
              or about         furtherance thereof; and not for truth (11.15.21 their truth, but only for their effect on the listener
              12/26/2013 (TY- denial of constitutional Unofficial Tr. at           (11.15.21 Unofficial Tr. at 173:14-175:3).
              000000101).      rights of confrontation     173:14-175:3); also
                               (Dkt. 395-1 at 158-60); ruled admissible
                               Objections regarding the under 801(d)(2) (E)
                               inadequacy of the use of after James hearing
                               limiting instructions; 403.




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    Exhibit     Description          Prior Defense         Prior Ruling (Tr.                        New Objections                           Court's New Ruling
                                       Objections              Citation)
GX 224        Email chain      Hearsay; James hearing Admitted with limiting Authentication - This document has not been          The document is relevant and would not
              between Carl     objections—including,    instruction that Knust authenticated for admission at retrial (FRE 901). be confusing to the jury; the 403
              Pepper, Mike     failure to show          and Hannigan                                                              objection is overruled. It is admissible
              Hannigan, Tim    conspiracy, that the     statements admitted Limiting instruction - This document should be as co-conspirator hearsay pending a
              Mulrenin, Sarah declarants were a         only for effect on the subject to the same limiting instruction given at ruling on authentication, except that a
              Knust, and Grace member of a              listener, not for truth the first trial: statements of Ms. Knust and Mr.  limiting instruction is appropriate as to
              Pope, among      conspiracy, or that      (11.15.21 Unofficial Hannigan cannot be considered for their truth,       the statements of Ms. Knust and Mr.
              others, on or    statements were in       Tr. at 152:7-156:16); but only for their effect on the listener (11.15.21 Hannigan.
              about 12/21/2013 furtherance thereof; and also ruled admissible Unofficial Tr. at 152:7-156:16).
              (TY-000088547). denial of constitutional under 801(d)(2) (E)                                                        Limiting Instruction: the statements of
                               rights of confrontation  after James hearing                                                       Ms. Knust and Mr. Hannigan cannot be
                               (Dkt. 395-1 at 156-58);                                                                            considered for their truth, but only for
                               Objections regarding the                                                                           their effect on the listener.
                               inadequacy of the use of
                               limiting instructions;
                               Relevancy; 403
                               Confusing jury
                               outweighs any probative
                               value



GX 230        Email between   Hearsay                     Hearsay objection      Authentication - This document has not been          Reserved until February 10, 2022
              Carl Pepper and                             sustained; refused     authenticated for admission at retrial (FRE 901). hearing given that the government now
              Dean Bradley                                (11.15.21 Unofficial                                                        lists Mr. Pepper as a witness.
              attaching                                   Tr. at 167:8-170:22)   Hearsay - As at the first trial, this exhibit should
              spreadsheets on                                                    be excluded as hearsay. (11.15.21 Unofficial Tr.
              or about                                                           at 167:8-170:22)
              1/26/2014 (TY-
              000616147).




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    Exhibit     Description          Prior Defense       Prior Ruling (Tr.                        New Objections                               Court's New Ruling
                                      Objections              Citation)
GX 232        Excel             Hearsay (attachment to Hearsay objection         Authentication - This document has not been          Reserved until February 10, 2022
              spreadsheet       230)                   sustained; refused        authenticated for admission at retrial (FRE 901). hearing given that the government now
              titled Church's                          (11.15.21 Unofficial                                                           lists Mr. Pepper as a witness.
              Chicken-Tyson                            Tr. at 167:8-170:22)      Hearsay - As at the first trial, this exhibit should
              Formula Based                                                      be excluded as hearsay. (11.15.21 Unofficial Tr.
              Cost Model                                                         at 167:8-170:22)
              undated (TY-
              000616151).
GX 234        Email chain      Hearsay; denial of       Objection sustained; Authentication - This document has not been              Reserved until February 10, 2022
              between Dean     constitutional rights of refused (11.15.21        authenticated for admission at retrial (FRE 901). hearing given that the government now
              Bradley, Carl    confrontation            Unofficial Tr. at 175:5-                                                      lists Mr. Pepper as a witness.
              Pepper, and                               178:9)                   Hearsay - As at the first trial, this exhibit should
              Janie Tucker on                                                    be excluded as hearsay. (11.15.21 Unofficial Tr.
              or about                                                           at 175:5-178:9)
              1/27/2014 (TY-
              000616249).
GX 247        Email chain      Hearsay; Request under Offered and Admitted Authentication - This document has not been                The Court will rule on this separately in
              between Jimmie Rule 106 for inclusion of only against              authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
              Little and Dean attachment; Relevancy; Defendant Little and                                                             Leave to File a Motion to Supplement
              Bradley on or    Inadequacy of limiting   with limiting            Limiting Instruction: This exhibit should be         James Log and for Reconsideration
              about 12/23/2013 instructions             instruction to           subject to the same limiting instruction given at [Docket No. 941].
              attaching PDF                             consider only against the first trial: the jury can consider it only against
              (PILGRIMS-DOJ-                            Little and also with     Little and the statements of Knust and Adams
              0002258077).                              limiting instruction     admitted only for effect on listener, not for truth.
                                                        that statements of       (11.15.21 Unofficial Tr. at 163:22-167:6)
                                                        Knust and Adams
                                                        admitted only for
                                                        effect on listener, not
                                                        for truth; refused
                                                        request for inclusion
                                                        of attachment.
                                                        (11.15.21 Unofficial
                                                        Tr. at 163:22-167:6)




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    Exhibit     Description         Prior Defense       Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                      Objections            Citation)
GX 307        Calendar          No objections         Admitted through       Authentication - This document has not been         Reserved until February 10, 2022
              invitation                              Meyer Skalak.          authenticated for admission at retrial (FRE 901).   hearing given the change in how the
              regarding NAE                           (11.10.21 Trial Tr. at                                                     evidence will be presented between the
              Supplier                                2604:7)                Relevance                                           first and second trial.
              Communication
              Specifics                                                      Hearsay if offered without witness (and no
              including Meyer                                                relevant witness is on Government's witness
              Skalak, David                                                  list).
              Rothmeier, and
              Mike Walpole on
              or about
              1/3/2014
              attaching
              presentation
              (CFA_0017844).

GX 330        Email chain      Not offered but James No prior ruling         Authentication - This document has not been       Reserved until February 10, 2022
              between Kevin    hearing                                       authenticated for admission at retrial (FRE 901). hearing.
              Filardi and      objections—including,
              Searcy Wildes on hearsay, failure to show                      Hearsay (FRE 802)
              or about         conspiracy, that the
              4/1/2014 (PER- declarants were a                               James hearing objections—including, hearsay,
              000152926).      member of a                                   failure to show conspiracy, that the declarants
                               conspiracy, or that                           were a member of a conspiracy, or that
                               statements were in                            statements were in furtherance thereof; and
                               furtherance thereof; and                      denial of constitutional rights of confrontation
                               denial of constitutional                      (Dkt. No. 395-1 at 172-174).
                               rights of confrontation
                               (Dkt. 395-1 at 172-74)




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    Exhibit     Description           Prior Defense         Prior Ruling (Tr.                 New Objections                              Court's New Ruling
                                       Objections               Citation)
GX 355        Excerpt of Mikell James hearing            Admitted (11.12.21   Authentication - This document has not been       Admissible as co-conspirator statement
              Fries iPhone      objections—including,    Unofficial Tr. at    authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
              Report Instant    hearsay, failure to show 173:11-20); (also                                                      authentication.
              Message           conspiracy, that the     ruled admissible
              #423-425          declarants were a        under 801(d)(2) (E)
              (CLAXTON_018 member of a                   after James hearing)
              1706).            conspiracy, or that
                                statements were in
                                furtherance thereof; and
                                denial of constitutional
                                rights of confrontation
                                (Dkt. 395-1 at 177-79)

GX 404        Document titled No objections             Admitted through        Authentication - This document has not been       Admissible pending authentication.
              2013 Pilgrim's                            Telly Smith (11.8.21    authenticated for admission at retrial (FRE 901).
              Contract dated                            Trial Tr. at 1970:1)
              on or about
              11/19/2012 (GC-
              0000001394).
GX 422        Email chain                               Withdrawn by            Authentication - This document has not been       Admissible pending authentication.
              between Scott                             Government as           authenticated for admission at retrial (FRE 901).
              Tucker, Tim                               duplicative of D-788
              Stiller, and Lee                          (11.9.21 Trial Tr. at
              Moriggia on or                            2113:2-7)
              about 11/10/2014
              attaching Excel
              spreadsheet
              (PILGRIMS-
              0005935850).




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    Exhibit     Description          Prior Defense         Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                      Objections                Citation)
GX 423        Excel                                      Not offered by        Authentication - This document has not been       GX 789 is not an exhibit listed by the
              spreadsheet                                Government            authenticated for admission at retrial (FRE 901). government in Docket No. 937, Docket
              titled Pricing                             (duplicative of                                                         No. 945-1 does not contain objections to
              Proposal -                                 GX789)                Same as objections to its duplicate GX789         GX 789 by defendants, and the Court is
              Golden Corral                                                                                                      therefore unaware of what "[s]ame as
              undated                                                                                                            objections to its duplicate GX789" refers
              (PILGRIMS-                                                                                                         to. If it is a duplicate, the Court will
              0005935851).                                                                                                       sustain an objection to it being
                                                                                                                                 cumulative. If it is not, then GX 423 is
                                                                                                                                 admissible pending authentication.

GX 424        Email chain      James hearing            Admitted (11.8.21      Authentication - This document has not been       Defendants moved the admission of GX
              between Scott    objections—including,    Trial Tr. at 1962:3-   authenticated for admission at retrial (FRE 901). 424 in its entirety and the government
              Tucker, Tim      hearsay, failure to show 16); also ruled                                                          did not object. Transcript Nov. 8, 2021
              Stiller, Robbie  conspiracy, that the     admissible under                                                         at 1964:4-9. It is admissible as co-
              Bryant, Telly    declarants were a        801(d)(2) (E) after                                                      conspirator statements under FRE
              Smith, and Roger member of a              James hearing                                                            801(d)(2)(E) pending authentication.
              Austin on or     conspiracy, or that
              about 11/10/2014 statements were in
              (PILGRIMS-       furtherance thereof; and
              0005935852).     denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 357-61)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 433     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484696).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)

GX 434     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484697).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 435     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484698).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)

GX 436     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484699).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 437     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484700).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)

GX 438     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484701).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 439     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484702).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)

GX 440     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484703).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)




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 Exhibit     Description             Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                      Objections               Citation)
GX 441     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484704).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)

GX 442     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484705).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)




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 Exhibit     Description             Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                      Objections               Citation)
GX 443     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484706).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)

GX 444     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484707).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)




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 Exhibit     Description             Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                      Objections               Citation)
GX 445     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484708).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)

GX 446     Text message     James hearing            Admitted (11.5.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 1841:18-      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 21); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           10/17/2014       declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484709).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 339-41)




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 Exhibit     Description             Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                      Objections               Citation)
GX 447     Text message        James hearing            Admitted (11.5.21       Authentication - This document has not been       Admissible as co-conspirator
           from Jayson         objections—including,    Trial Tr. at 1841:18-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Tim         hearsay, failure to show 21); also ruled                                                           pending authentication.
           Stiller on or about conspiracy, that the     admissible under
           10/17/2014          declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                   James hearing
           0000484710).        conspiracy, or that
                               statements were in
                               furtherance thereof; and
                               denial of constitutional
                               rights of confrontation
                               (Dkt. 395-1 at 339-41)

GX 448     Text message     James hearing            Admitted (11.9.21          Authentication - This document has not been       Admissible as co-conspirator
           from Tim Stiller objections—including,    Trial Tr. at 2114:7-       authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           to Jayson Penn hearsay, failure to show 11); also ruled                                                                pending authentication.
           on or about      conspiracy, that the     admissible under
           11/7/2014        declarants were a        801(d)(2) (E) after
           (PILGRIMS-DOJ- member of a                James hearing
           0000484944).     conspiracy, or that
                            statements were in
                            furtherance thereof; and
                            denial of constitutional
                            rights of confrontation
                            (Dkt. 395-1 at 352-53)




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 Exhibit     Description         Prior Defense          Prior Ruling (Tr.                     New Objections                              Court's New Ruling
                                   Objections                Citation)
GX 449     Text message    James hearing              Admitted (11.9.21       Authentication - This document has not been        Admissible as co-conspirator
           from Jayson     objections—including,      Trial Tr. at 2124:11-   authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Penn to Bill    hearsay, failure to show 14); also ruled                                                              pending authentication. Exhibits 9707
           Lovette and     conspiracy, that the       admissible under        Rule of Completeness - As at the first trial, this and 9708 are required to be admitted at
           Fabio Sandri on declarants were a          801(d)(2) (E) after     exhibit must be considered with GXs 9707 and the same time under the rule of
           or about        member of a                James hearing           9708 (11.9.21 Trial Tr. at 11.9.21 Trial Tr. at    completeness.
           11/9/2014       conspiracy, or that                                2127:16-2129:22)
           (PILGRIMS-DOJ- statements were in
           0000484962).    furtherance thereof; and
                           denial of constitutional
                           rights of confrontation
                           (Dkt. 395-1 at 355-56);
                           testimony at trial
                           demonstrated that the
                           statements were not in
                           furtherance of the
                           conspiracy (11.9.21 Trial
                           Tr. at 2119:2-24); Rule
                           of Completeness -
                           Should be admitted with
                           subsequent text
                           messages in the chain
                           for context (11.9.21 Trial
                           Tr. at 2116:24-2122:20)




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 Exhibit     Description           Prior Defense           Prior Ruling (Tr.                      New Objections                                Court's New Ruling
                                     Objections                Citation)
GX 450     Text message      Hearsay; (not on James Admitted only for             Authentication - This document has not been           Inadmissible as hearsay because was
           from Bill Lovette log ); Relevance;          effect on listener but    authenticated for admission at retrial (FRE 901). not on the James log, but is admissible
           to Jayson Penn Request for Limiting          no limiting instruction                                                         for the non-hearsay purpose of effect on
           and Fabio Sandri Instruction; Rule of        given (not on James       Rule of Completeness - As at the first trial, this the listener pending authentication.
           on or about       Completeness - Should log) (11.9.21 Trial Tr.        exhibit must be considered with GXs 9707 and
           11/9/2014         be admitted with           2124:11-14)               9708 (11.9.21 Trial Tr. at 11.9.21 Trial Tr. at       Exhibits 9707 and 9708 are required to
           (PILGRIMS-DOJ- subsequent text                                         2127:16-2129:22)                                      be admitted at the same time under the
           0000484963).      messages in the chain                                                                                      rule of completeness.
                             for context (11.9.21 Trial                           Limiting instruction - This document was not
                             Tr. at 2116:24-2122:20)                              on the James log and should be subject to the         Limiting Instruction: this exhibit can be
                                                                                  same limitation imposed at the first trial: it is not considered only for the effect on the
                                                                                  admissible for its truth, only for the effect on the listener, and not for the truth of the
                                                                                  listener (11.9.21 TR14:18 to 24:25).                  matter.


GX 451     Text message    James hearing              Admitted (11.9.21       Authentication - This document has not been             Admissible as co-conspirator statement
           from Jayson     objections—including,      Trial Tr. at 2125:1-2); authenticated for admission at retrial (FRE 901).       under FRE 801(d)(2)(E) pending
           Penn to Bill    hearsay, failure to show also ruled admissible                                                             authentication.
           Lovette on or   conspiracy, that the       under 801(d)(2) (E) Rule of Completeness - As at the first trial, this
           about 11/9/2014 declarants were a          after James hearing exhibit must be considered with GXs 9707 and                Exhibits 9707 and 9708 must be
           (PILGRIMS-DOJ- member of a                                         9708 (11.9.21 Trial Tr. at 11.9.21 Trial Tr. at         admitted at the same time under the
           0000484964).    conspiracy, or that                                2127:16-2129:22)                                        rule of completness.
                           statements were in
                           furtherance thereof; and
                           denial of constitutional
                           rights of confrontation
                           (Dkt. 395-1 at 355-56);
                           Rule of Completeness -
                           Should be admitted with
                           subsequent text
                           messages in the chain
                           for context (11.9.21 Trial
                           Tr. at 2116:24-2122:20)




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 Exhibit     Description           Prior Defense         Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                    Objections               Citation)
GX 453     Email between     James hearing            Admitted (11.9.21       Authentication - This document has not been       Admissible as co-conspirator statement
           Roger Austin and objections—including,     Trial Tr. at 2114:4-5); authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Tim Stiller on or hearsay, failure to show also ruled admissible                                                     authentication.
           about 10/17/2014 conspiracy, that the      under 801(d)(2) (E)
           (PILGRIMS-DOJ- declarants were a           after James hearing
           0000509302).      member of a
                             conspiracy, or that
                             statements were in
                             furtherance thereof; and
                             denial of constitutional
                             rights of confrontation
                             (Dkt. 395-1 at 338-39)

GX 454     Email chain     Hearsay; James hearing Denied after James Authentication - This document has not been            Admissible as co-conspirator statement
           between Scott   objections--including    hearing but at trial  authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Tucker, Justin  failure to show          Admitted as co-                                                         authentication.
           Gay, and Lee    conspiracy, that the     conspirator statement
           Moriggia on or  declarants were a        without limiting
           about 9/12/2014 member of a              instruction (11.9.21
           (PILGRIMS-DOJ- conspiracy, or that       Trial Tr. at 2107:10-
           0000509344).    statements were in       19)
                           furtherance thereof; and
                           denial of constitutional
                           rights of confrontation
                           (Dkt. 395-1 at 282-
                           83)(on James log and
                           refused after hearing);
                           Relevance; Request for
                           Limiting Instruction




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 Exhibit     Description           Prior Defense           Prior Ruling (Tr.                     New Objections                               Court's New Ruling
                                     Objections                 Citation)
GX 480     Excel               No objections             Admitted through        Authentication - This document has not been       Reserved until February 10, 2022
           spreadsheet                                   Telly Smith (11.8.21    authenticated for admission at retrial (FRE 901). hearing given that the government now
           titled 2015                                   Trial Tr. at 1911:21)                                                     will apparently attempt to admit exhibit
           Supplier                                                              Relevance                                         without a witness.
           compilation chart
           (SMITH_000155                                                         Hearsay (if offered without witness)
           269).

GX 500     Email chain       No objections (Defense      Admitted through       Authentication - This document has not been         The Court will rule on this separately in
           between Walter offered at first trial)        Joseph Brink (offered authenticated for admission at retrial (FRE 901).    its order on the United States' Motion for
           Cooper, Mikell    (Brink Tr. 182:1-11)        by defense) (Brink Tr.                                                     Leave to File a Motion to Supplement
           Fries, and Joe                                at182:1-11)                                                                James Log and for Reconsideration
           Brink on or about                                                                                                        [Docket No. 941].
           10/14/2014
           (CLAXTON_001
           4869).

GX 518     Email chain         Statements do not          Ruled admissible       Authentication - This document has not been       Admissible as co-conspirator statement
           between Larry       satisfy 801(d)(2)(E) (Dkt. without witness        authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Pate, Jason         395-1 at 52-53);           (11.23.21 Unofficial                                                     authentication. This was on the James
           McGuire, and        unnoticed 404(b)           Tr. at 6:14-24)                                                          log which gave defendants notice. The
           Leslie Antoinette   evidence re Pollo                                                                                   Georgia Dock reference is not unduly
           on or about         Tropical; irrelevant                                                                                prejudicial and is likely to come up at the
           11/7/2012           insofar as it refers to                                                                             second trial.
           (PILGRIMS-          Georgia Dock;
           0000021364).        misleading, unduly
                               prejudicial, with risk of
                               jury confusion (11.23.21
                               Unofficial Tr. at 2:4-25)




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 Exhibit     Description            Prior Defense        Prior Ruling (Tr.                         New Objections                              Court's New Ruling
                                      Objections               Citation)
GX 528     Email chain        Statements do not        Ruled admissible         Authentication - This document has not been         Statements of Mr. Little and Mr. Austin
           between Jimmie satisfy 801(d)(2)(E) (Dkt. concerning the             authenticated for admission at retrial (FRE 901). are admissible as co-conspirator
           Little, Joe Brink, 395-1 at 299-302); in    statements of Mr.                                                            statements under FRE 801(d)(2)(E)
           and Roger Austin addition, statements by Little, with limiting       Limiting Instruction - If admitted, this exhibit    pending authentication. Defendants had
           on or about        Mr. Brink in this chain  instruction that         should be subject to the same limiting instruction notice of the documents from the
           10/3/2014          are hearsay that do not statements of Mr.         as at the first trial: the statements of Mr. Brink  James log.
           (PILGRIMS-         meet any exception       Brink are admitted       are admitted only for their effect on the listener.
           0005934843).       (11.12.21 Unofficial Tr. not for the truth of the (11.12.21 Unofficial Tr. at 98:2-11).               Limiting Instruction: the statements of
                              at 97:3-7); the chain is matter asserted but                                                          Mr. Brink can be considered for the
                              also irrelevant and      only for the effect on                                                       effect on the listener, but not for the
                              unnoticed 404(b)         the listener. (11.12.21                                                      truth.
                              evidence insofar as it   Unofficial Tr. at 98:2-
                              concerns Pollo Tropical. 11).
                              (11.12.21 Unofficial Tr.
                              at 96:19-24).




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 Exhibit     Description         Prior Defense           Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                  Objections                  Citation)
GX 542     Email chain     Statements do not          Ruled admissible        Authentication - This document has not been        Admissible as co-conspirator
           between Tim     satisfy 801(d)(2)(E) (Dkt. without witness and authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Stiller, Jason  395-1 at 294-295); in      with limiting                                                              pending authentication. Ms. Lawson's
           McGuire, Jayson addition, statements by instruction that Ms.       Limiting Instruction - If admitted, this exhibit   statements are hearsay and Court will
           Penn, Matthew Ms. Lawson, who is not Lawson's statement should be subject to the same limiting instruction give a limiting instruction.
           Herman, and Tim a co-conspirator, are      is hearsay and          as at the first trial: Ms. Lawson's statement is
           Stiller, among  hearsay and irrelevant. cannot be considered hearsay and cannot be considered for the truth Limiting Instruction: the statements of
           others, on or   (11.12.21 Unofficial Tr. for the truth of the      of the matter asserted but only "for the effect on Ms. Lawson can be considered for the
           about 9/23/2014 at 101:25-102:5).          matter asserted but the recipients, namely explaining the Stiller,         effect on the listener, but not for the
           (PILGRIMS-DOJ-                             only "for the effect on McGuire ba[ck] and forth that goes on after that truth.
           0001362265).                               the recipients,         which is admissible as co-conspirator
                                                      namely explaining the statements." (11.12.21 Unofficial Tr. at 103:15-
                                                      Stiller, McGuire        22).
                                                      ba[ck] and forth that
                                                      goes on after that
                                                      which is admissible
                                                      as co-conspirator
                                                      statements."
                                                      (11.12.21 Unofficial
                                                      Tr. at 103:15-22).


GX 546     Email between     Statements do not          Ruled admissible       Authentication - This document has not been       Admissible as co-conspirator
           Jimmie Little and satisfy 801(d)(2)(E) (Dkt. without witness        authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Matthew           395-1 at 269-270);         (11.12.21 Unofficial                                                     pending authentication. Pollo Tropical
           Boarman on or     irrelevant and unnoticed Tr. at 106:22-25).                                                         was a small bird customer who
           about 8/29/2014 404(b) evidence                                                                                       experienced increased prices, making
           (PILGRIMS-DOJ- regarding Pollo Tropical                                                                               Mr. Little's reference to "Joe,"
           0002269652).      (11.12.21 Unofficial Tr.                                                                            presumably Joe Brink of Pollo Tropical,
                             at 105:11-17).                                                                                      and increased prices relevant.
                                                                                                                                 Defendants had notice of this exhibit
                                                                                                                                 through the James log.




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                   New Objections                                Court's New Ruling
                                     Objections                 Citation)
GX 548     Email chain        Statements do not          Admitted through      Authentication - This document has not been       Reserved until February 10, 2022 given
           between Joe        satisfy 801(d)(2)(E) (Dkt. Joseph Brink (Brink   authenticated for admission at retrial (FRE 901). that it was introduced through Mr. Brink
           Brink and Jimmie 395-1 at 284-286); no        Tr. 74:8-10).                                                           at the first trial, but the government
           Little on or about additional objections.                                                                             intends to introduce without a
           9/16/2014                                                                                                             sponsoring witness at the second trial.
           (PILGRIMS-DOJ-
           0002270267).


GX 558     Contract         No objections (defense     Admitted through       Authentication - This document has not been      Admissible pending authentication.
           between Pollo    offered at first trial)    Joseph Brink (offered authenticated for admission at retrial (FRE 901).
           Tropical and     (Brink Tr. 213:7-12)       by defense) (Brink Tr.
           Pilgrim's Pride                             213:7-12).
           dated 11/09/2012
           (PILGRIMS-DOJ-
           0002822851).


GX 559     Email chain     Statements do not         Ruled admissible          Authentication - This document has not been           Admissible as co-conspirator
           between Jimmie satisfy 801(d)(2)(E) (Dkt. without witness, with     authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Little, Roger   395-1 at 215-217); in     limiting instruction                                                            pending authentication. Mr. Boarman's
           Austin, and     addition, statements by that statements of          Limiting Instruction - If admitted, this exhibit      statements are admissible for the non-
           Matthew         Mr. Boarman are           Mr. Boarman, who is       should be subject to the same limiting instruction hearsay purpose of effect on the
           Boarman on or   hearsay and entire email not a co-conspirator,      as at the first trial: the statements of Mr.          listener. The exhibit is relevant to the
           about 8/14/2014 chain is irrelevant       are not admitted for      Boarman, who is not a co-conspirator, are not         Pollo Tropical issues.
           (PILGRIMS-DOJ- (11.12.21 Unofficial Tr. the truth of the            admitted for the truth of the matters asserted but
           0002950645).    at 107:15-108:11).        matters asserted but      only to "explain the effect on Mr. Little." (11.12.21 Limiting Instruction: the statements of
                                                     only to "explain the      Unofficial Tr. at 109:25-110:8, 111:1-5).             Mr. Boarman can be considered for the
                                                     effect on Mr. Little."                                                          effect on the listener, but not for the
                                                     (11.12.21 Unofficial                                                            truth.
                                                     Tr. at 109:25-110:8,
                                                     111:1-5).




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 Exhibit     Description            Prior Defense           Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                     Objections                 Citation)
GX 561     Email chain        Statements do not          Ruled admissible       Authentication - This document has not been        Admissible as co-conspirator
           between Joe        satisfy 801(d)(2)(E) (Dkt. without witness, with authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Brink and Jimmie 395-1 at 217-219); in        limiting instruction                                                      pending authentication. Mr. Brink's
           Little on or about addition, statements by that "the statements Limiting Instruction - If admitted, this exhibit        statements are admissible for the non-
           08/14/2014         Mr. Brink are hearsay      of Mr. Brink will be   should be subject to the same limiting instruction hearsay purpose of effect on the
           (PILGRIMS-DOJ- that do not satisfy any        admitted not for the as at the first trial: the statements of Mr. Brink   listener. The exhibit is relevant to the
           0003384952).       hearsay exception;         truth of the matters   will be admitted not for the truth of the matters  Pollo Tropical issues.
                              email chain is also        that Mr. Brink asserts that Mr. Brink asserts but only the effect that
                              irrelevant (11.12.21       but only the effect    those statements have on the listener."            Limiting Instruction: the statements of
                              Unofficial Tr. at111:22- that those statements (11.12.21 Unofficial Tr. at 113:24-114:4).            Mr. Brink can be considered for the
                              112:25).                   have on the listener."                                                    effect on the listener, but not for the
                                                         (11.12.21 Unofficial                                                      truth.
                                                         Tr. at 113:24-114:4).



GX 563     Email between     Statements do not          Ruled admissible         Authentication - This document has not been       The Court will rule on this separately in
           Jimmie Little,    satisfy 801(d)(2)(E) (Dkt. only against Mr. Little, authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
           Thomas Lane,      395-1 at 291-292), as      as a statement of a                                                        Leave to File a Motion to Supplement
           Eric Oare, and    this Court ruled after     party opponent;          Limiting Instruction - If admitted over prior     James Log and for Reconsideration
           Tim Stiller on or James hearing              inadmissible against objections, it should be offered with a limiting      [Docket No. 941].
           about 9/22/2014 (11.12.21 Unofficial Tr. all other defendants. instruction that the statements are admissible
           (PILGRIMS-DOJ- at 115:5-13).                 (11.12.21 Unofficial only against Mr. Little. (11.12.21 Unofficial Tr. at
           0003385154).                                 Tr. at 118:2-11). Mr. 118:2-11).
                                                        Little offered into
                                                        evidence, without
                                                        limiting instruction,
                                                        with GX 563 and GX
                                                        566. (Brink Tr.
                                                        133:15-134:4)




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 Exhibit     Description        Prior Defense          Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                  Objections                Citation)
GX 564     Email chain     Statements do not         Ruled admissible     Authentication - This document has not been       Admissible as co-conspirator
           between Jimmie satisfy 801(d)(2)(E) (Dkt. without witness      authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Little and      395-1 at 293-294); no     (11.12.21 Unofficial                                                   pending authentication.
           Matthew         additional objections     Tr. at 118:20-21);
           Boarman on or   (11.12.21 Unofficial Tr. offered into evidence
           about 9/23/2014 at 118:18-19).            by defense during
           (PILGRIMS-DOJ-                            cross of Mr. Brink
           0003385175).                              (Brink Tr. 134:1-4).

GX 566     Email chain       No objections (Brink Tr. Admitted through          Authentication - This document has not been       Admissible pending authentication.
           between Jimmie 77:10-15).                  Joseph Brink (Brink       authenticated for admission at retrial (FRE 901).
           Little and Joe                             Tr. 77:10-15).
           Brink on or about
           10/3/2014
           (PILGRIMS-DOJ-
           0003385310).

GX 567     Email between      Statements do not          Ruled admissible       Authentication - This document has not been       Admissible as co-conspirator
           Jimmie Little, Joe satisfy 801(d)(2)(E) (Dkt. without witness        authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Brink, and Roger 395-1 at 331-333); no        (11.12.21 Unofficial                                                     pending authentication. This exhibit
           Austin on or       additional objections      Tr. at 119:4-10).      Relevance - In addition to prior objections, this details pricing from Mr. Little to Mr. Brink
           about 10/3/2014 (11.12.21 Unofficial Tr.                             email chain is also irrelevant insofar as it      for 2015, and is relevant to the alleged
           (PILGRIMS-DOJ- at 119:4-9).                                          concerns Pollo Tropical.                          conspiracy's impact on Pollo Tropical's
           0003385325).                                                                                                           ability to get chicken at the price it
                                                                                                                                  wanted.

GX 572     Adobe PDF titled No objections (10.28.21 Admitted through            Authentication - This document has not been       Admissible pending authentication.
           Contract No.     Trial Tr. at 572:1).    Sangalis (10.28.21          authenticated for admission at retrial (FRE 901).
           214189P                                  Trial Tr. at 572:4).
           ("Contract")
           dated on or
           about 2/11/2015
           (PILGRIMS-DOJ-
           0003975692).




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                    Objections             Citation)
GX 592     Contract No.      No objections (Defense Admitted through        Authentication - This document has not been      Admissible pending authentication.
           214192P dated     offered at first trial) Joseph Brink (offered authenticated for admission at retrial (FRE 901).
           on or about       (Brink Tr. 212:12-17).  by defense) (Brink Tr.
           12/17/2014.                               212:12-17)

GX 617     Email chain      Statements do not          Ruled admissible       Authentication - This document has not been       Mr. Mulrenin and Mr. Pepper's
           between Tim      satisfy 801(d)(2)(E) (Dkt. without witness        authenticated for admission at retrial (FRE 901). statements are admissible as co-
           Mulrenin, Steven 395-1 at 391-393); in      (11.18.21 Unofficial                                                     conspirator statements under FRE
           Cullen, Carl     addition, admission of     Tr. at 79:11-13).                                                        801(d)(2)(E). Defendants' only
           Pepper, Tim      statements by and about                                                                             objection to Mr. Kronauge's statements
           Scheiderer, and Mr. Kronauge and                                                                                     are on confrontation clause grounds,
           Kent Kronauge Popeye's violates                                                                                      which the Court overrules. Admissible
           on or about      confrontation clause                                                                                pending authentication.
           3/27/2015 (TY- (11.18.21 Unofficial Tr.
           001066336).      at 79:2-6)

GX 702     Email between     Statements do not          Admitted without a    Authentication - This document has not been       Admissible as co-conspirator
           Scott Brady and   satisfy 801(d)(2)(E) (Dkt. witness (11.12.21     authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Kent Kronauge     395-1 at 528-530); in      Unofficial Tr. at                                                       pending authentication. The Court finds
           on or about       addition, admission of     176:25-177:1-10)      Confrontation Clause                              no confrontation clause issue with the
           9/5/2017 (CLA     statements by and about                                                                            admission of Mr. Brady's statements.
           0076096).         Mr. Kronauge and
                             Popeye's violates
                             confrontation clause
                             (11.12.21 Unofficial Tr.
                             at 177:2-8)




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 Exhibit     Description          Prior Defense           Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                    Objections                 Citation)
GX 703     Excel             Attachment to email in     Ruled admissible       Authentication - This document has not been       Admissible as co-conspirator
           spreadsheet       GX 702; same               without witness        authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           titled CLAXTON    objections were made       (11.12.21 Unofficial                                                     pending authentication. The Court finds
           POULTRY           as to both, in James log   Tr. at 177:9-10)       Confrontation Clause                              no confrontation clause issue.
           POPEYES           and at trial (Dkt. 395-1
           COST PLUS         at 528-530; 11.12.21
           MONTHLY           Unofficial Tr. at 177:2-
           PRICING           8).
           January 2018
           undated
           (CLA_0076099).
GX 710     Email between     Authenticity not          Ruled admissible       Authentication - This document has not been         Admissble as document with
           Dean Bradley,     established under 901 without witness.           authenticated for admission at retrial (FRE 901).   independent legal signficance pending
           Kent Kronauge,    or 902 (11.12.21          Overruled authenticity                                                     authentication. Confrontation clause
           Brian Coan, and   Unofficial Tr. at 156:21- objection (11.12.21                                                        objection will be overruled.
           Ric Blake on or   158:7); hearsay           Unofficial Tr. 165:20-
           about 9/5/2017    statements do not         166:14); overruled
           attaching excel   satisfy business record hearsay objections
           spreadsheet       or independent legal      based on
           titled Popeye's   significance exceptions independent legal
           2018 COB RFP      and violate confrontation significance
           (GEODOJ_0005      clause (11.12.21          (11.12.21 Unofficial
           007).             Unofficial Tr. at 166:16- Tr.172:3-18).
                             20)




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 Exhibit     Description           Prior Defense             Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                     Objections                   Citation)
GX 711     Excel              Attachment to email in      Ruled admissible       Authentication - This document has not been         Admissble as document with
           spreadsheet        GX 710; same                without witness.       authenticated for admission at retrial (FRE 901).   independent legal signficance pending
           titled George's    objections were made        Overruled authenticity                                                     authentication. Confrontation clause
           INC. Popeyes       as to both (11.12.21        objection (11.12.21                                                        objection will be overruled.
           Cost Plus          Unofficial Tr. at 156:21-   Unofficial Tr. 165:20-
           Monthly Pricing,   158:7).                     166:14); overruled
           undated                                        hearsay objections
           (GEODOJ_0005                                   based on
           008).                                          independent legal
                                                          significance
                                                          (11.12.21 Unofficial
                                                          Tr. 172:3-18).

GX 731     Email between  Statements do not          Ruled admissible            Authentication - This document has not been       Admissible as co-conspirator
           Justin Gay and satisfy 801(d)(2)(E) (Dkt. without witness             authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Kent Kronauge 395-1 at 530-532); no       (11.12.21 Unofficial                                                          pending authentication.
           on or about    additional objections      Tr. at 176:14-19)
           9/5/2017       (11.12.21 Unofficial Tr.
           (PILGRIMS-DOJ- at 174:13-176:19
           0000412081).




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 Exhibit     Description         Prior Defense            Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                   Objections                  Citation)
GX 732     Excel            Attachment to email in      Ruled admissible       Authentication - This document has not been       Admissible as co-conspirator
           spreadsheet      GX 732; same                without witness        authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           titled PILGRIM'S objections were made        (11.12.21 Unofficial                                                     pending authentication.
           PRIDE            as to both in James log     Tr. at 176:14-19)
           CORPORATION (Dkt. 395-1 at 530-532).
           POPEYES          No additional objections
           COST PLUS        were made (11.12.21
           MONTHLY          Unofficial Tr. at 176:14-
           PRICING          19).
           2018/2019
           Pricing Proposal
           undated
           (PILGRIMS-DOJ-
           0000412082).



GX 733     Email chain     Exhibit was not on         Ruled admissible         Authentication - This document has not been       Admissible as co-conspirator
           between Robbie James Log but is more without witness                authenticated for admission at retrial (FRE 901). statements under FRE 801(d)(2)(E)
           Bryant, Justin  complete version of        (11.12.21 Unofficial                                                       pending authentication.
           Gay, and Kent   document that was (GX Tr. at 175:1-8).              Hearsay - same objections under 801(d)(2)(E)
           Kronauge on or 731), and to which                                   that were made with regard to email chain in GX
           about 9/26/2017 defendants objected did                             731, which is a less complete version of the
           (PILGRIMS-DOJ- not satisfy 801(d)(2)(E)                             chain in GX 733 but was not previously included
           0000412521).    (Dkt. 395-1 at 530-532).                            in James log, apply to both GX 731 and GX 733.
                           No additional objections
                           were made (11.12.21
                           Unofficial Tr. at 175:1-8)




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                      Objections                Citation)
GX 739     Email chain        Statements do not         Ruled admissible       Authentication - This document has not been        Admissible for the non-hearsay purpose
           between Robbie satisfy 801(d)(2)(E) (Dkt. without witness, "not authenticated for admission at retrial (FRE 901). of indicating whether or not Mr. Gay
           Bryant, Justin     395-1 at 516-518),        for the truth of Mr.                                                      received Mr. Kronauge's offer pending
           Gay, Time Stiller, which the Court agreed Kronauge's                Limiting Instruction - If admitted, the exhibit    authentication.
           Thomas Lane,       with in its James log     statement, not for the should be subject to the same limiting instruction
           and Kent           ruling; the document is truth of Mr. Bryant or as at the first trial: exhibit is not admissible for Limiting Instruction: the statements of
           Kronauge on or incomplete and not the Mr. Gay's                     the truth of Mr. Kronauge's, Mr. Bryant's, or Mr. Mr. Kronauge, Mr. Gay, and Mr. Bryant
           about 8/18/2017 best evidence because statements, but               Gay's statements, but simply for the purpose of are to be considered for the purpose of
           (PILGRIMS-DOJ- it was produced in black rather simply for the indicating whether or not Mr. Gay received the           whether or not Mr. Gay received the
           0002715088).       and white when the text purpose of indicating offer. (11.12.21 Unofficial Tr. at 154:11-17).        offer, not for their truth.
                              of the email makes clear whether or not Mr.
                              that certain responses Gay received the
                              were provided in color    offer" (11.12.21
                              (11.12.21 Unofficial Tr. Unofficial Tr. at
                              at 129:4-23). The         154:11-17).
                              statements by Mr. Gay
                              are also hearsay that do
                              not satisfy any
                              exception, including
                              effect on listener
                              because there is no
                              evidence of Mr. Gay's
                              actions upon receipt of
                              the email. (11.12.21
                              Unofficial Tr. at 130:12-
                              22). Defense also
                              objected that any
                              redaction or limiting
                              instruction would be
                              inadequate and
                              inappropriate, and that
                              GX 739 was duplicative




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 Exhibit     Description           Prior Defense           Prior Ruling (Tr.                    New Objections                                  Court's New Ruling
                                     Objections                Citation)
GX 744     Email chain       Statements do not          Ruled admissible       Authentication - This document has not been            Admissible as co-conspirator
           between Tim       satisfy 801(d)(2)(E) (Dkt. without witness as co- authenticated for admission at retrial (FRE 901).      statements under FRE 801(d)(2)(E)
           Mulrenin and      395-1 at 518-519); in      conspirator                                                                   pending authentication. Mr. Kronauge's
           Carl Pepper on    addition, the statements statements as to all Limiting Instruction - If admitted over prior              statements are admissible for non-
           or about          concerning Mr.             parts of the email     objections, the exhibit should be subject to the       hearsay purpose of effect on the
           8/16/2017 (TY-    Kronauge and Popeye's except for Mr.              same limiting instruction as at the first trial; Mr.   listener. The Court finds no
           000204047).       are irrelevant and violate Kronauge's             Kronauge's statement is admissible not for the         confrontation clause issue.
                             the confrontation clause statement, which was truth but only for the effect on the listener
                             (11.12.21 Unofficial Tr. ruled admissible not (11.12.21 Unofficial Tr. at 124:20-125:8).                 Limiting Instruction: the statements of
                             at 120:17-121:7, 123:4- for the truth but only                                                           Mr. Kronauge can be considered for
                             124:1, 125:19-120:5).      for the effect on the                                                         their effect on the listener, not for the
                                                        listener (11.12.21                                                            truth.
                                                        Unofficial Tr. at
                                                        124:20-125:8).

GX 748     Email between    Statements do not          Ruled admissible         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Carl Pepper,     satisfy 801(d)(2)(E) (Dkt. without witness          authenticated for admission at retrial (FRE 901). pending authentication. There is no
           Kent Kronauge, 395-1 at 539-540); no        (11.12.21 Unofficial                                                       confrontation clause issue.
           and Tim Mulrenin additional objections      Tr. at 178:23-179:2).    Confrontation clause - Violation to admit
           on or about      were made (11.12.21                                 hearsay statements by and about Mr. Kronauge
           9/7/2017 (TY-    Unofficial Tr. at 178:23-                           and Popeye's.
           000722084).      179:2).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                    Objections               Citation)
GX 749     Excel             Attachment to email in Ruled admissible         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           spreadsheet       GX 749; same             without witness        authenticated for admission at retrial (FRE 901).   pending authentication. There is no
           titled Tyson      objections were made to (11.12.21 Unofficial                                                        confrontation clause issue.
           Foods, INC.       GX 749 as to GX 748      Tr. at 178:23-179:2).  Confrontation clause - Violation to admit
           Popeyes Cost      (Dkt. 395-1 at 539-540).                        hearsay statements by and about Mr. Kronauge
           Plus Monthly                                                      and Popeye's.
           Pricing 2018
           Proposed Model
           using Kent's
           Grain
           Assumptions,
           undated (TY-
           000722085).
GX 751     Text message     Lack of authenticity       Ruled admissible      Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Carl Pepper under 901 and 902          without witness.      authenticated for admission at retrial (FRE 901).   pending authentication.
           to Tim Mulrenin (11.12.21 Unofficial Tr. Overruled authenticity
           on or about      at 135:2-136:5);           objection (11.12.21
           09/06/2017 (TY- statements do not           Unofficial Tr. at
           001632749).      satisfy 801(d)(2)(E) (Dkt. 144:13-18); overruled
                            395-1 at 538-539).         hearsay objections
                                                       (11.12.21 Unofficial
                                                       Tr. at 147:1-4).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                      New Objections                                   Court's New Ruling
                                   Objections                 Citation)
GX 752     Text message     Lack of authenticity      Ruled admissible        Authentication - This document has not been             Admissible for the non-hearsay purpose
           from Carl Pepper under 901 and 902         without witness but     authenticated for admission at retrial (FRE 901).       of effect on the listener pending
           to Tim Mulrenin (11.12.21 Unofficial Tr. with limiting                                                                     authentication.
           on or about      at 135:2-136:5); not      instruction that        Limiting Instruction - If admitted over prior
           9/6/2017 (TY-    included on James log statements are not to objections, the exhibit should be subject to the              Limiting Instruction: the statements of
           001642732).      and constitutes hearsay be considered for         same limiting instruction offered at the first trial:   Mr. Pepper can be considered for the
                            that does not satisfy any their truth but for the the statements can only be considered for their         effect on the listenter, not for the truth.
                            exception (11.12.21       effect on the listener. effect on the listener. (11.12.21 Unofficial Tr. at
                            Unofficial Tr. at 146:14- (11.12.21 Unofficial 147:1-4).                                                  The government has indicated that it
                            25).                      Tr. at 147:1-4).                                                                intends to call Mr. Pepper as a witness,
                                                      Overruled authenticity                                                          but includes this exhibit on its list of
                                                      objection (11.12.21                                                             exhibits it intends to introduce without a
                                                      Unofficial Tr. at                                                               sponsoring witness. Should the
                                                      144:13-18); overruled                                                           government instead introduce this
                                                      hearsay objections                                                              exhibit through Mr. Pepper, the Court
                                                      (11.12.21 Unofficial                                                            will be open to reconsidering this ruling.
                                                      Tr. at 147:1-4).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                   Objections                Citation)
GX 753     Text message     Lack of authenticity      Ruled admissible      Authentication - This document has not been          The Court did not require a limiting
           from Tim         under 901 and 902         without witness.      authenticated for admission at retrial (FRE 901).    instruction when it found this exhibit
           Mulrenin to Carl (11.12.21 Unofficial Tr. Overruled authenticity                                                      admissible, Transcript Nov. 12, 2021 at
           Pepper on or     at 135:2-136:5); not      objection (11.12.21   Limiting Instruction - If admitted over prior        2789:8-25 to 2788:1-7, and none was
           about 9/6/2017 included on James log Unofficial Tr. at           objections, the exhibit should be subject to the     given when the exhibit was displayed to
           (TY-001642733). and constitutes hearsay 144:13-18); overruled same limiting instruction offered at the first trial:   the jury. Transcript Nov. 16, 2021 at
                            that does not satisfy any hearsay objections    the statements can only be considered for their      3105:4-7. The government offered
                            exception (11.12.21       (11.12.21 Unofficial effect on the listener. (11.12.21 Unofficial Tr. at   Exhibit 753 as context for the other
                            Unofficial Tr. at 146:14- Tr. at 147:1-4).      147:1-4).                                            allegedly conspiratorial statements
                            25).                                                                                                 made in other text messages in the
                                                                                                                                 conversation. Transcript Nov. 12, 2021
                                                                                                                                 at 2788:1-3.

                                                                                                                                 The admissibility of this exhibit, and any
                                                                                                                                 accompanying limiting instruction, will
                                                                                                                                 depend on the purpose for which it is
                                                                                                                                 offered. The Court will reserve ruling on
                                                                                                                                 this exhibit at this time.




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 Exhibit     Description         Prior Defense          Prior Ruling (Tr.                      New Objections                                   Court's New Ruling
                                  Objections                 Citation)
GX 754     Text message     Lack of authenticity     Ruled admissible        Authentication - This document has not been             Admissible for the non-hearsay purpose
           from Carl Pepper under 901 and 902        without witness but     authenticated for admission at retrial (FRE 901).       of effect on the listener pending
           to Tim Mulrenin (11.12.21 Unofficial Tr. with limiting                                                                    authentication.
           on or about      at 135:2-136:5);         instruction that        Limiting Instruction - If admitted over prior
           09/06/2017 (TY- Hearsay because exhibit statements are not to objections, the exhibit should be subject to the            Limiting Instruction: the statements of
           001642734).      was not on James log     be considered for       same limiting instruction offered at the first trial:   Mr. Pepper can be considered for the
                            (11.12.21 Unofficial Tr. their truth but for the the statements can only be considered for their         effect on the listenter, not for the truth.
                            at 146:14-25)            effect on the listener. effect on the listener. (11.12.21 Unofficial Tr. at
                                                     (11.12.21 Unofficial 147:1-4).                                                  The government has indicated that it
                                                     Tr. at 147:1-4).                                                                intends to call Mr. Pepper as a witness,
                                                     Overruled authenticity                                                          but includes this exhibit on its list of
                                                     objection (11.12.21                                                             exhibits it intends to introduce without a
                                                     Unofficial Tr. at                                                               sponsoring witness. Should the
                                                     144:13-18); overruled                                                           government instead introduce this
                                                     hearsay objections                                                              exhibit through Mr. Pepper, the Court
                                                     (11.12.21 Unofficial                                                            will be open to reconsidering this ruling.
                                                     Tr. at 147:1-4).


GX 755     Text message     Lack of authenticity       Ruled admissible      Authentication - This document has not been       Admissible co-conspirator statements
           from Carl Pepper under 901 and 902          without witness.      authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           to Tim Mulrenin (11.12.21 Unofficial Tr. Overruled authenticity                                                     authentication.
           on or about      at 135:2-136:5);           objection (11.12.21
           9/6/2017 (TY-    statements do not          Unofficial Tr. at
           001642735).      satisfy 801(d)(2)(E) (Dkt. 144:13-18); overruled
                            395-1 at 533-535);         hearsay objections
                                                       (11.12.21 Unofficial
                                                       Tr. at 147:1-4).




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 Exhibit     Description         Prior Defense          Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                  Objections                 Citation)
GX 756     Text message     Lack of authenticity      Ruled admissible      Authentication - This document has not been       Admissible co-conspirator statements
           from Tim         under 901 and 902         without witness.      authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Mulrenin to Carl (11.12.21 Unofficial Tr. Overruled authenticity                                                   authentication.
           Pepper on or     at 135:2-136:5);          objection (11.12.21
           about 9/6/2017 statements do not           Unofficial Tr. at
           (TY-001642736). satisfy 801(d)(2)(E) (Dkt. 144:13-18); overruled
                            395-1 at 535-536);        hearsay objections
                                                      (11.12.21 Unofficial
                                                      Tr. at 147:1-4).


GX 757     Text message     Lack of authenticity       Ruled admissible      Authentication - This document has not been       Admissible co-conspirator statements
           from Carl Pepper under 901 and 902          without witness.      authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           to Tim Mulrenin (11.12.21 Unofficial Tr. Overruled authenticity                                                     authentication.
           on or about      at 135:2-136:5);           objection (11.12.21
           9/6/2017 (TY-    statements do not          Unofficial Tr. at
           001642737).      satisfy 801(d)(2)(E) (Dkt. 144:13-18); overruled
                            395-1 at 536-538);         hearsay objections
                                                       (11.12.21 Unofficial
                                                       Tr. at 147:1-4).


GX 758     Text message     Lack of authenticity      Ruled admissible      Authentication - This document has not been          Admissible pending authentication. This
           from Tim         under 901 and 902         without witness.      authenticated for admission at retrial (FRE 901).    exhibit was admitted without a limiting
           Mulrenin to Carl (11.12.21 Unofficial Tr. Overruled authenticity                                                      instruction at the first trial. Transcript
           Pepper on or     at 135:2-136:5); not      objection (11.12.21   Limiting Instruction - If admitted over prior        Nov. 16, 2021 at 3106:5-6.
           about 9/6/2017 included on James log Unofficial Tr. at           objections, the exhibit should be subject to the
           (TY-001642738). and constitutes hearsay 144:13-18); overruled same limiting instruction offered at the first trial:
                            that does not satisfy any hearsay objections    the statements can only be considered for their
                            exception (11.12.21       (11.12.21 Unofficial effect on the listener. (11.12.21 Unofficial Tr. at
                            Unofficial Tr. at 146:14- Tr. at 147:1-4).      147:1-4).
                            25).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                   Objections                 Citation)
GX 803     Email chain      Statement does not         Admitted without      Authentication - This document has not been       Admissible co-conspirator statements
           between Joe      satisfy 801(d)(2)(E) (Dkt. witness as co-        authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Grendys and Bill 395-1 at 425-427); no      conspirator statement                                                   authentication.
           Lovette on or    additional objections      (11.12.21 Unofficial
           about 5/1/2016 were made (11.12.21          Tr. at 119:18-23).
           (KOCH            Unofficial Tr. at 119:18-
           0001174605).     23)

GX 900     Document titled   Lack of authenticity    Admitted through       Authentication - This document has not been         The Court's ruling on the United States'
           Board Meeting     (10.28.21 Trial Tr. at  Finch. Authenticity    authenticated for admission at retrial (FRE 901).   Motion for a Pre-Trial Ruling on
           dated on or       621:3-12); hearsay that and hearsay                                                                Authenticity and Business Records
           about 8/28/2014   does not satisfy        objections overruled                                                       [Docket No. 992], will encompass this
           (CLA 0072794).    business records        (10.28.21 Trial Tr. at                                                     exhibit and determine whether a pre-trial
                             exception because it    622:6-20).                                                                 admissibility determination is
                             was not recorded                                                                                   appropriate. The Court reserves ruling
                             contemporaneously or                                                                               on this exhibit at this time.
                             near
                             contemporaneously with
                             events transcribed
                             (10.28.21 Trial Tr. at
                             621:12-18).




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 Exhibit     Description            Prior Defense           Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                      Objections                Citation)
GX 901     Email between      Statement does not         Overruled authenticity Authentication - This document has not been         Admissible against Mr. Kantola under
           Bill Kantola and   satisfy 801(d)(2)(E) (Dkt. argument (11.5.21      authenticated for admission at retrial (FRE 901).   FRE 801(d)(2)(A) pending
           Joe Grendys on     395-1 at 382-383), as      Trial Tr. at 1848:19-                                                      authentication.
           or about           this Court ruled after     1849:11). Initially    Limiting Instruction - If admitted over prior
           12/22/2014         James hearing (11.5.21 reserved ruling on         objections, the exhibit should be subject to the    Limiting Instruction: the exhibit can only
           (KOCHFOODS-        Trial Tr. at 1843:22-25); hearsay objections, same limiting instruction offered at trial: the         be considered against Mr. Kantola.
           0000006822).       in addition, the           but after further      exhibit can only be considered against Mr.
                              statement is irrelevant, briefing ruled that      Kantola. (11.8.21 Trial Tr.at 1970:20-1971:6).
                              misleading, lacking in     statements by Mr.
                              foundation, and            Kantola are
                              prejudicial (11.5.21 Trial admissible as to Mr.
                              Tr. at 1844:4-1845:12). Kantola only under
                              Defense also objected 801(d)(2)(A) and
                              to authenticity (11.5.21 would give limiting
                              Trial Tr. at 1848:10-18). instruction to that
                                                         effect (11.08.21 Trial
                                                         Tr.at 1970:20-
                                                         1971:6).

GX 920     Email chain        Statements do not          Admitted without a     Authentication - This document has not been       Admissible co-conspirator statements
           between Justin satisfy 801(d)(2)(E).          witness                authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Gay, Bill Lovette, (Dkt. 395-1, 190-192)      (11.12.21 Unofficial                                                     authentication. Defendants make no
           Jayson Penn,       Standing authenticity      Tr. at 77:7)                                                             request for a limiting instruction with
           Meyer Skalak,      objection to emails from                                                                            respect to Mr. Skalak's statements, and
           and Searcy         Pilgrim's server.                                                                                   none will be given.
           Wildes on or       (11.5.21 Trial Tr. at
           about 5/9/2014 1742:11-1743:8). No
           (PILGRIMS-         additional objections.
           0006742191).




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 Exhibit     Description         Prior Defense           Prior Ruling (Tr.                     New Objections                               Court's New Ruling
                                  Objections                 Citation)
GX 933     Email chain     Hearsay. (11.18.21         Admitted without a      Authentication - This document has not been          Admissible co-conspirator statements
           between Jimmie Unofficial Tr. at 79:23-    witness                 authenticated for admission at retrial (FRE 901).    under FRE 801(d)(2)(E) pending
           Little, Jason   25)                        Garland's statements                                                         authentication. Ms. Garland's
           McGuire, Sheri  Statements do not          are not admitted for Limiting Instruction - This exhibit should be           statements are admissible for the non-
           Garland, Jayson satisfy 801(d)(2)(E).      the truth of the matter subject to the same limiting instruction issued at   hearsay purpose of effect on the listener
           Penn, and Bill  (Dkt. 395-1, p. 200-202)   asserted, but for the the first trial: Garland's statements are              pending authentication.
           Lovette, among Standing authenticity       effect on listener.     admissible only for their effect on the listener.
           others, on or   objection to emails from   (11.18.21 Unofficial (11.18.21 Unofficial Tr. at 80:6-9)                     Limiting Instruction: the statements of
           about 7/17/2014 Pilgrim's server.          Tr. at 80:6-9).                                                              Ms. Garland can be considered for the
           (PILGRIMS-      (11.5.21 Trial Tr. at                                                                                   effect on the listener, but not for the
           0009347177).    1742:11-1743:8)                                                                                         truth.

GX 940     Text message     Statements do not         All objections         Authentication - This document has not been       Admissible co-conspirator statements
           from Jayson      satisfy FRE 801(d)(2)(E overruled and            authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Penn to Jason    ) Dkt. 395-1 at 349-350); admitted without a                                                       authentication. The exhibit is relevant to
           McGuire on or    objected to hearsay       sponsoring witness                                                       the conspiracy as a whole; the relevancy
           about 10/29/2014 within hearsay by Penn; (11.5.21 Trial Tr. at                                                      objection is overruled.
           (PILGRIMS-DOJ- objection as to             1842:18-1843:5)
           0000484811).     relevance by Fries and
                            Brady (11.5.21 Trial Tr.
                            at 1842:14-1843:1)




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                     New Objections                                Court's New Ruling
                                    Objections              Citation)
GX 948     Email chain      Statements do not        All objections           Authentication - This document has not been          Admissible co-conspirator statements
           between Jason satisfy FRE 801(d)(2)(E) overruled and               authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           McGuire, Christi Dkt. 395-1 at 213-214; admitted without a                                                              authentication. Mr. Chalmers, Ms.
           Proctor, Darren objection to hearsay as sponsoring witness         Limiting Instruction - This exhibit should be        Proctor, and Ms. Bean's statements are
           Lamb, Michael    to everyone but          (11.18.21 Unofficial     subject to the same limiting instruction issued at admissible for the non-hearsay purpose
           Chalmers, and    McGuire; objection to    Tr. at 2-4)              the first trial: statements of others are admissible of effect on the listener pending
           Nicole Bean,     relevance as to Fries                             only for their effect on the listener.               authentication.
           among others, on and Brady; objections
           or about         overruled but Court                                                                                   Limiting Instruction: the statements of
           8/12/2014        provides limiting                                                                                     Mr. Chalmers, Ms. Proctor, and Ms.
           (PILGRIMS-DOJ- instruction that                                                                                        Bean can be considered for the effect
           0001532669).     statements of others are                                                                              on the listener, but not for the truth.
                            not for the truth of the
                            matter asserted but
                            effect on listener
                            (11.18.21 Unofficial Tr.
                            at 2-4)

GX 953     Email chain     Statements do not           Objections overruled Authentication - This document has not been           Admissible co-conspirator statements
           between Scott   satisfy FRE 801(d)(2)(E and admitted without authenticated for admission at retrial (FRE 901).         under FRE 801(d)(2)(E) pending
           Tucker and      ) Dkt 395-1 at265-267; a sponsoring witness                                                            authentication. Mr. Slider's statements
           Jason Slider on objection to second         (11.5.21 Trial Tr. at Limiting Instruction - This exhibit should be        are admissible for the non-hearsay
           or about        portion of e-mail with      1836:25-1837:7)       subject to the same limiting instruction issued at   purpose of effect on the listener pending
           8/28/2014       Jason Slider as hearsay;                          the first trial: Mr. Slider's statements can't be    authentication.
           (PILGRIMS-DOJ- Court admits over                                  considered for their truth.
           0002023481).    objection but provides                                                                                 Limiting Instruction: the statements of
                           limiting instruction that                                                                              Mr. Slider can be considered for the
                           Mr. Sliders statements                                                                                 effect on the listener, but not for the
                           aren’t for the truth of the                                                                            truth.
                           matter asserted but to
                           provide
                           context/background
                           (11.5.21 Trial Tr. at
                           1836:25-1837:7)




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 Exhibit     Description         Prior Defense            Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                   Objections                 Citation)
GX 955     Email chain     Statements do not           All objections          Authentication - This document has not been        Admissible co-conspirator statements
           between Lonnie satisfy FRE 801(d)(2)(E overruled and                authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Justice, Tim    ) Dkt 395-1 at290-291; admitted without a                                                              authentication. The exhibit is relevant to
           Stiller, Jimmie hearsay objection as to sponsoring witness          Limiting Instruction - this exhibit should be      the conspiracy as a whole and the
           Little, and     Lonnie Justice; Fries       (11.5.21 Trial Tr. at   subject to the same limiting instruction issued at indictment gave defendants notice that it
           Thomas Lane on objections as to             1829:1-1834:17)         the first trial: Mr. Justice's statements can't be charged a price fixing and bid rigging
           or about        relevance and 404(b)                                considered for their truth.                        conspiracy. Mr. Justice's statements
           9/19/2014       admits over objection                                                                                  are admissible for the non-hearsay
           (PILGRIMS-DOJ- with limiting instruction                                                                               purpose of effect on the listener.
           0002525317).    that statements are not
                           for truth but for effect on                                                                            Limiting Instruction: the statements of
                           the listener. (11.5.21                                                                                 Mr. Justice can be considered for the
                           Trial Tr. at 1829:1-                                                                                   effect on the listener, but not for the
                           1834:17)                                                                                               truth.


GX 959     Email between     Statements do not          Admitted without a     Authentication - This document has not been       Admissible co-conspirator statements
           Brian Roberts,    satisfy FRE 801(d)(2)(E    sponsoring witness     authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Charlie Solomon, ) Dkt 395-1 at279-280;      (11.18.21 Unofficial                                                     authentication.
           Steven Cullen,    no additional objection.   Tr.at 80-81)
           Brandon           (11.18.21 Unofficial Tr.
           Campbell, and     at 80-81)
           Tim Mulrenin,
           among others, on
           or about
           9/5/2014
           attaching pricing
           spreadsheet (TF-
           0003607786).




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 Exhibit     Description           Prior Defense         Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                     Objections              Citation)
GX 982     Excerpt of Mikell Statements do not        All objections         Authentication - This document has not been       Admissible co-conspirator statements
           Fries iPhone      satisfy FRE 801(d)(2)(E overruled and           authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Report Instant    ) Dkt 395-1 at 551-553; admitted without a                                                        authentication. The indictment charges
           Message #         objection under 403 and sponsoring witness                                                        an overarching price fixing and bid
           508-511           404(b) and Kantola asks (11.12.21 Unofficial                                                      rigging conspiracy and the 2015 Chick-
           (CLAXTON_018 for a limiting instruction; Tr. at 77-79).                                                             fil-a contract is within the scope of that
           1706).            Court overrules                                                                                   and defendants had notice of the exhibit
                             objections and refuses a                                                                          from the James log.
                             limiting instruction
                             (11.12.21 Unofficial Tr.
                             at 77-79)


GX 984     Email chain      N/A                       New exhibit            Relevance - Irrelevant and inadmissible (FRE Ruling reserved until February 10, 2022
           between Brandon                                                   401 & 402)                                       hearing.
           Campbell, Brian                                                   Authentication - This document has not been
           Roberts, and                                                      authenticated (FRE 901 ).
           Charlie Solomon,                                                  Lack of foundation (FRE 104)
           among others, on                                                  Hearsay (FRE 802)
           or about                                                          Rule 404 - Evidence of other acts for which no
           9/5/2014 (TY-                                                     written notice given
           000130111).                                                       Rule 403 - Alleged probative value substantially
                                                                             outweighed by danger of unfair prejudice;
                                                                             Alleged probative value substantially outweighed
                                                                             by danger of confusing the issues or misleading
                                                                             the jury; Alleged probative value substantially
                                                                             outweighed by danger of undue delay or waste
                                                                             of time
                                                                             Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 985     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Ruling reserved until February 10, 2022
           between Brandon                                              401 & 402)                                       hearing.
           Campbell, Tim                                                Authentication - This document has not been
           Mulrenin, Carl                                               authenticated (FRE 901 ).
           Pepper, Brian                                                Lack of foundation (FRE 104)
           Roberts, and                                                 Hearsay (FRE 802)
           Steven Cullen,                                               Rule 404 - Evidence of other acts for which no
           among others, on                                             written notice given
           or about                                                     Rule 403 - Alleged probative value substantially
           11/4/2014 (TY-                                               outweighed by danger of unfair prejudice;
           000142344).                                                  Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 986     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Tim                                                  401 & 402)                                       hearing.
           Mulrenin,                                                    Authentication - This document has not been
           Brandon                                                      authenticated (FRE 901).
           Campbell, Carl                                               Lack of foundation (FRE 104)
           Pepper, Brian                                                Hearsay (FRE 802)
           Roberts, and                                                 Rule 404 - Evidence of other acts for which no
           Charlie Solomon,                                             written notice given
           among others, on                                             Rule 403 - Alleged probative value substantially
           or about                                                     outweighed by danger of unfair prejudice;
           11/3/2014,                                                   Alleged probative value substantially outweighed
           attaching Excel                                              by danger of confusing the issues or misleading
           spreadsheet (TY-                                             the jury; Alleged probative value substantially
           000647049).                                                  outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                  Objections           Citation)
GX 987     Excel           N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           spreadsheet                                                 401 & 402)                                       hearing.
           titled Popeyes                                              Authentication - This document has not been
           2015 Pricing                                                authenticated (FRE 901).
           dated 9/5/2014                                              Lack of foundation (FRE 104)
           (TY-000647050).                                             Hearsay (FRE 802)
                                                                       Rule 404 - Evidence of other acts for which no
                                                                       written notice given
                                                                       Rule 403 - Alleged probative value substantially
                                                                       outweighed by danger of unfair prejudice;
                                                                       Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time; Needlessly cumulative
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 988     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Tim                                                  401 & 402)                                       hearing.
           Mulrenin,                                                    Authentication - This document has not been
           Brandon                                                      authenticated (FRE 901).
           Campbell, Carl                                               Lack of foundation (FRE 104)
           Pepper, Brian                                                Hearsay (FRE 802)
           Roberts, and                                                 Rule 404 - Evidence of other acts for which no
           Charlie Solomon,                                             written notice given
           among others, on                                             Rule 403 - Alleged probative value substantially
           or about                                                     outweighed by danger of unfair prejudice;
           11/3/2014,                                                   Alleged probative value substantially outweighed
           attaching Excel                                              by danger of confusing the issues or misleading
           spreadsheet (TY-                                             the jury; Alleged probative value substantially
           000647085).                                                  outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                  Objections           Citation)
GX 989     Excel           N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           spreadsheet                                                 401 & 402)                                       hearing.
           titled Popeyes                                              Authentication - This document has not been
           2015 Pricing                                                authenticated (FRE 901).
           dated on or                                                 Lack of foundation (FRE 104)
           about 9/5/2014                                              Hearsay (FRE 802)
           (TY-000647086).                                             Rule 404 - Evidence of other acts for which no
                                                                       written notice given
                                                                       Rule 403 - Alleged probative value substantially
                                                                       outweighed by danger of unfair prejudice;
                                                                       Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time; Needlessly cumulative
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 990     Email between    N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           Carl Pepper,                                                 401 & 402)                                       hearing.
           Kent Kronauge,                                               Authentication - This document has not been
           and Tim Mulrenin                                             authenticated (FRE 901).
           on or about                                                  Lack of foundation (FRE 104)
           11/20/2014                                                   Hearsay (FRE 802)
           attaching Excel                                              Rule 404 - Evidence of other acts for which no
           spreadsheet (TY-                                             written notice given
           000647989).                                                  Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 991     Excel            N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           spreadsheet                                                  401 & 402)                                       hearing.
           titled Popeyes                                               Authentication - This document has not been
           2015 Final                                                   authenticated (FRE 901).
           Pricing                                                      Lack of foundation (FRE 104)
           Summary.xlsx                                                 Hearsay (FRE 802)
           dated on or                                                  Rule 404 - Evidence of other acts for which no
           about 11/12/2015                                             written notice given
           (TY-000647991).                                              Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 992     Email between    N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           Tim Mulrenin,                                                401 & 402)                                       hearing.
           Brian Roberts,                                               Authentication - This document has not been
           and Carl Pepper                                              authenticated (FRE 901).
           on or about                                                  Lack of foundation (FRE 104)
           11/5/2014                                                    Hearsay (FRE 802)
           attaching Excel                                              Rule 404 - Evidence of other acts for which no
           spreadsheet (TY-                                             written notice given
           000649202).                                                  Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 993     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Carl                                                 401 & 402)                                       hearing.
           Pepper, Tim                                                  Authentication - This document has not been
           Mulrenin, and                                                authenticated (FRE 901).
           Kent Kronauge                                                Lack of foundation (FRE 104)
           on or about                                                  Hearsay (FRE 802)
           11/4/2014 (TY-                                               Rule 404 - Evidence of other acts for which no
           000649203).                                                  written notice given
                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                  Objections           Citation)
GX 994     Excel           N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           spreadsheet                                                 401 & 402)                                       hearing.
           titled Tyson                                                Authentication - This document has not been
           Foods, Inc.                                                 authenticated (FRE 901).
           Popeyes Cost                                                Lack of foundation (FRE 104)
           Plus Monthly                                                Hearsay (FRE 802)
           Pricing 2015                                                Rule 404 - Evidence of other acts for which no
           Pricing Model                                               written notice given
           dated on or                                                 Rule 403 - Alleged probative value substantially
           about 9/5/2014                                              outweighed by danger of unfair prejudice;
           (TY-000649204).                                             Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time; Needlessly cumulative
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 995     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Tim                                                  401 & 402)                                       hearing.
           Mulrenin and                                                 Authentication - This document has not been
           Brian Roberts,                                               authenticated (FRE 901).
           among others, on                                             Lack of foundation (FRE 104)
           or about                                                     Hearsay (FRE 802)
           9/5/2014 (TY-                                                Rule 404 - Evidence of other acts for which no
           001041831).                                                  written notice given
                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 996     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Tim                                                  401 & 402)                                       hearing.
           Mulrenin, Brian                                              Authentication - This document has not been
           Roberts, Charlie                                             authenticated (FRE 901).
           Solomon, Steven                                              Lack of foundation (FRE 104)
           Cullen, and                                                  Hearsay (FRE 802)
           Brandon                                                      Rule 404 - Evidence of other acts for which no
           Campbell,                                                    written notice given
           among others, on                                             Rule 403 - Alleged probative value substantially
           or about                                                     outweighed by danger of unfair prejudice;
           11/4/2014                                                    Alleged probative value substantially outweighed
           attaching Excel                                              by danger of confusing the issues or misleading
           spreadsheet (TY-                                             the jury; Alleged probative value substantially
           001240967).                                                  outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                 New Objections                           Court's New Ruling
                                   Objections           Citation)
GX 997     Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           between Carl                                                 401 & 402)                                       hearing.
           Pepper, Tim                                                  Authentication - This document has not been
           Mulrenin, and                                                authenticated (FRE 901).
           Kent Kronauge                                                Lack of foundation (FRE 104)
           on or about                                                  Hearsay (FRE 802)
           11/4/2014 (TY-                                               Rule 404 - Evidence of other acts for which no
           001240968).                                                  written notice given
                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                   Objections              Citation)
GX 998     Excel           N/A                       New exhibit           Relevance - Irrelevant and inadmissible (FRE Reserved until February 10, 2022
           spreadsheet                                                     401 & 402)                                       hearing.
           titled Popeyes                                                  Authentication - This document has not been
           2015 Pricing                                                    authenticated (FRE 901).
           dated on or                                                     Lack of foundation (FRE 104)
           about 9/5/2014                                                  Hearsay (FRE 802)
           (TY-001240969).                                                 Rule 404 - Evidence of other acts for which no
                                                                           written notice given
                                                                           Rule 403 - Alleged probative value substantially
                                                                           outweighed by danger of unfair prejudice;
                                                                           Alleged probative value substantially outweighed
                                                                           by danger of confusing the issues or misleading
                                                                           the jury; Alleged probative value substantially
                                                                           outweighed by danger of undue delay or waste
                                                                           of time; Needlessly cumulative
                                                                           Rule 105 - Inadmissible against other parties


GX 1007    Email between     No objections - Penn    Admitted through      Authentication - This document has not been       Admissible pending authentication.
           Robert Lewis and offered at first trial   Robert Lewis (offered authenticated for admission at retrial (FRE 901).
           Darrel Keck on or                         by defense) (11.4.21
           about 8/19/2014                           Trial Tr. at 1454:15-
           attaching                                 16)
           presentation
           (GEO_00007166
           04).




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 Exhibit     Description           Prior Defense         Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                     Objections               Citation)
GX 1008    PowerPoint         No objections - Penn     Admitted through      Authentication - This document has not been       Admissible pending authentication.
           presentation       offered at first trial   Robert Lewis (offered authenticated for admission at retrial (FRE 901).
           titled 2015 KFC                             by defense and
           COB Strategy                                government) (11.4.21
           Discussion dated                            Trial Tr. at 1454:15-
           on or about                                 16)
           8/12/2014 (GEO
           0000716605).

GX 1025    Email between    No objections - Kantola Admitted through          Authentication - This document has not been       Admissible pending authentication.
           ecopy@kochfood offered at first trial      Robert Lewis            authenticated for admission at retrial (FRE 901).
           s.com and Bill                             (11.4.21 Trial Tr. at
           Kantola on or                              1519:21-22)
           about 8/19/2014
           attaching Adobe
           PDF
           (KOCHFOODS-
           0000227521).
GX 1026    Adobe PDF titled Statements do not         Admitted through        Authentication - This document has not been       Ruling reserved. The Court found that
           Koch Foods inc. satisfy 801(d)(2)(E) (Dkt. Robert Lewis            authenticated for admission at retrial (FRE 901). the government failed to show that this
           UFPC Margin-     395-1 at 233-34); No      (11.4.21 Trial Tr. at                                                     statement was in furtherance of the
           Over-Feed        additional objections -   1519:21-22)                                                               conspiracy in its James order. Docket
           Calculation      Kantola offered at first                                                                            No. 559 at 30. However, Mr. Kantola
           Worksheet RFP trial                                                                                                  offered it at trial. The admissibility of
           (KOCHFOODS-                                                                                                          this exhibit, and who it can be
           0000227522).                                                                                                         considered against, will depend on the
                                                                                                                                circumstances in which it is offered.




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 Exhibit     Description        Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                  Objections               Citation)
GX 1028    Email between    No objections            Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Greg Tench,                               Robert Lewis            authenticated for admission at retrial (FRE 901).
           Rich Eddington                            (11.3.21 Trial Tr. at
           and Bob Lewis                             1284:25)
           on or about
           08/25/2014
           attaching Excel
           spreadsheet
           (MAR-
           JAC_000059641
           2).
GX 1029    Excel            No objections            Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                               Robert Lewis            authenticated for admission at retrial (FRE 901).
           titled UFPC Cost                          (11.3.21 Trial Tr. at
           Plus Pricing                              1284:25)
           Model Supplier -
           Mar-Jac Poultry
           dated on or
           about 8/25/2014
           (MAR-
           JAC_000059641
           3).

GX 1035    Email between   Statements do not         Admitted without      Authentication - This document has not been       Admissible co-conspirator statements
           Jason McGuire satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           and Jayson Penn 395-1 at 221-24);         Tr. at 1787:2-4)                                                        authentication.
           on or about     Standing authenticity
           8/18/2014       objection to emails from
           attaching       Pilgrim's server (11.5.21
           spreadsheet     Trial Tr. at 1742:11-
           (PILGRIMS-      1743:8)
           0002616918).




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                     Objections                 Citation)
GX 1036    Excel              Statements do not          Admitted without       Authentication - This document has not been       Admissible co-conspirator statements
           spreadsheet        satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           titled KFC Pricing 395-1 at 221-24)           Tr. at 1787:2-4)                                                         authentication.
           Model Pilgrim's
           Pride
           Corporation
           Current vs Actual
           Cost with hidden
           columns hidden
           (PILGRIMS-
           0002616919).

GX 1051    Email chain       Statements do not          Admitted without       Authentication - This document has not been       Admissible co-conspirator statements
           between Jayson    satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Penn, Bill        395-1 at 253-59);          Tr. at 1805:18-22)                                                       authentication.
           Lovette, and      Standing authenticity
           Roger Austin on   objection to emails from
           or about          Pilgrim's server (11.5.21
           8/26/2014         Trial Tr. at 1742:11-
           (PILGRIMS-        1743:8); Duplicative to
           0005856142).      admit both GX 1251 and
                             1247 (11.5.21 Trial Tr.
                             at 1803:7-15)




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 Exhibit     Description         Prior Defense         Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                  Objections                Citation)
GX 1056    Email chain     Statements do not         Admitted without       Authentication - This document has not been         Admissible co-conspirator statements
           between Jason satisfy 801(d)(2)(E) (Dkt. witness, to include     authenticated for admission at retrial (FRE 901).   under FRE 801(d)(2)(E) pending
           McGuire and     395-1 at 205-06);         photo attachment                                                           authentication. Exhibits E-873 and E-
           Jayson Penn on Standing authenticity      (11.18.21 Unofficial Rule of Completeness - As at the first trial, this    874 must be introduced at the same
           or about        objection to emails from Tr. at 9:21-22)         exhibit must be considered with its photo           time under the rule of completeness.
           8/7/2014        Pilgrim's server (11.5.21                        attachment, E-874.
           (PILGRIMS-      Trial Tr. at 1742:11-
           0006847974).    1743:8); Rule of
                           completeness - email
                           should be admitted with
                           photo attachment
                           (11.18.21 Unofficial Tr.
                           at 5:1-11)
GX 1058    Email chain     Statements do not         Admitted without       Authentication - This document has not been         Admissible co-conspirator statements
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901).   under FRE 801(d)(2)(E) pending
           Penn and Jason 395-1 at 227-30);          Tr. at 1797:7-8)                                                           authentication.
           McGuire on or   Standing authenticity
           about 8/19/2014 objection to emails from
           (PILGRIMS-      Pilgrim's server (11.5.21
           0006951503).    Trial Tr. at 1742:11-
                           1743:8)
GX 1066    Email chain     Statements do not         Admitted through       Authentication - This document has not been         Admissible co-conspirator statements
           between Jason satisfy 801(d)(2)(E) (Dkt. Robert Bryant           authenticated for admission at retrial (FRE 901).   under FRE 801(d)(2)(E) pending
           McGuire, Robbie 395-1 at 241-43);         (11.1.21 Trial Tr. at                                                      authentication. While admitted through
           Bryant, and     Standing authenticity     895:13)                                                                    Mr. Bryant at the first trial, the Court
           Roger Austin on objection to emails from                                                                             found that the statements of Mr. Austin
           or about        Pilgrim's server (11.5.21                                                                            and Mr. McGuire were made during and
           8/21/2014       Trial Tr. at 1742:11-                                                                                in furtherance of the conspiracy in its
           (PILGRIMS-DOJ- 1743:8)                                                                                               James order. Docket No. 559 at 126.
           0000509292).




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 Exhibit     Description        Prior Defense           Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections                 Citation)
GX 1074    Email chain     Statements do not          Admitted without      Authentication - This document has not been         Admissible co-conspirator statements
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901).   under FRE 801(d)(2)(E) pending
           Penn and Jason 395-1 at 230-33);           Tr. at 1794:6-11)                                                         authentication. The document is
           McGuire on or   Lovette objected that top                                                                            relevant and admissible under FRE 403.
           about 8/19/2014 email from Penn was
           (PILGRIMS-DOJ- irrelevant or, if relevant,
           0000513484).    unfairly prejudicial
                           because it required
                           speculation that Penn
                           discussed McGuire's
                           email with Lovette
                           (11.5.21 Trial Tr. at
                           1792:7-17); Standing
                           authenticity objection to
                           emails from Pilgrim's
                           server (11.5.21 Trial Tr.
                           at 1742:11-1743:8)

GX 1075    Email chain     Statements do not       Admitted without a        Authentication - This document has not been       Admissible co-conspirator statements
           between Jayson satisfy FRE 801(d)(2)(E) sponsoring witness        authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Penn and Jason (Dkt 395-1 at 227-230) (11.5.21 Trial Tr. at                                                         authentication.
           McGuire on or                           1796:5-6)
           about 8/19/2014
           (PILGRIMS-DOJ-
           0000513486).




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 Exhibit     Description           Prior Defense       Prior Ruling (Tr.                       New Objections                              Court's New Ruling
                                    Objections              Citation)
GX 1104    Email chain       No objections (10.28.21 Admitted through           Authentication - This document has not been       Admissible co-conspirator statements
           between Roger     Trial Tr. at 572:21-23) Sangalis (10.28.21         authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Austin, Rich                              Trial Tr. at 572:21-                                                         authentication.
           Eddington, and                            23)
           Robert Lewis on
           or about
           8/20/2014
           attaching
           spreadsheet and
           presentation
           (PILGRIMS-DOJ-
           0004223342).


GX 1105    Excel              No objections (10.28.21   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet        Trial Tr. at 572:21-23)   Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           titled Margin over                           Trial Tr. at 572:21-
           feed model dated                             23)
           on or about
           08/20/2014
           (PILGRIMS-DOJ-
           0004223343).


GX 1119    SBRA dated on     No objection as long as    Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about          first page redacted        Robert Lewis            authenticated for admission at retrial (FRE 901).
           9/3/2014          (11.3.21 Trial Tr. at      (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS000352).     1293:12-14)                1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                                same redaction it received at the first trial.
                                                                                (11.3.21 Trial Tr. at 1293:12-14).




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections              Citation)
GX 1120    SBRA dated on   No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about        first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           12/2/2013       (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS000649).   1303:1-4)                 1303:1-4)               Redaction - This exhibit should be subject to the redacted.
                                                                             same redaction it received at the first trial.
                                                                             (11.3.21 Trial Tr. at 1303:1-4).

GX 1121    SBRA dated on   No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about        first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           10/20/2014      (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS000659).   1293:12-14)               1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                             same redaction it received at the first trial.
                                                                             (11.3.21 Trial Tr. at 1293:12-14).

GX 1122    SBRA dated on   No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about        first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           12/12/2013      (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS000950).   1303:1-4)                 1303:1-4)               Redaction - This exhibit should be subject to the redacted.
                                                                             same redaction it received at the first trial.
                                                                             (11.3.21 Trial Tr. at 1303:1-4).

GX 1123    SBRA dated on   No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about        first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           12/1/2014       (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS000958).   1293:12-14)               1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                             same redaction it received at the first trial.
                                                                             (11.3.21 Trial Tr. at 1293:12-14).

GX 1124    SBRA dated on   No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about        first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           12/2/2013       (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS001129).   1303:1-4)                 1303:1-4)               Redaction - This exhibit should be subject to the redacted.
                                                                             same redaction it received at the first trial.
                                                                             (11.3.21 Trial Tr. at 1303:1-4).




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 Exhibit     Description            Prior Defense        Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                     Objections              Citation)
GX 1125    SBRA dated on     No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about          first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           12/1/2014         (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS001137).     1293:12-14)               1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                               same redaction it received at the first trial.
                                                                               (11.3.21 Trial Tr. at 1293:12-14).

GX 1126    SBRA dated on     No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about          first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           9/30/2014         (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS001577).     1293:12-14)               1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                               same redaction it received at the first trial.
                                                                               (11.3.21 Trial Tr. at 1293:12-14).

GX 1127    SBRA dated on     No objection as long as   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           or about          first page redacted       Robert Lewis            authenticated for admission at retrial (FRE 901).
           9/30/2014         (11.3.21 Trial Tr. at     (11.3.21 Trial Tr. at                                                     Redation: the first page must be
           (RSCS002166).     1293:12-14)               1293:12-14)             Redaction - This exhibit should be subject to the redacted.
                                                                               same redaction it received at the first trial.
                                                                               (11.3.21 Trial Tr. at 1293:12-14).

GX 1129    Adobe PDF titled Defense objection        Admitted through          Authentication - This document has not been       Admissible pending authentication.
           Margin-Over-     withdrawn (11.3.21 Trial Robert Lewis              authenticated for admission at retrial (FRE 901).
           Feed Model       Tr. at 1301:13-17)       (11.3.21 Trial Tr. at
           dated Period 1                            1301:18)
           2014
           (RSCS004325).




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 Exhibit     Description              Prior Defense       Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                       Objections             Citation)
GX 1132    Email chain          No objection (11.3.21   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           between Scott        Trial Tr. at 1275:23)   Robert Lewis            authenticated for admission at retrial (FRE 901).
           Brady, Robert                                (11.3.21 Trial Tr. at
           Lewis, Rich                                  1275:24)
           Eddington, Mary
           Hester, and
           Mikell Fries on or
           about 8/19/2014
           attaching
           spreadsheet
           (RSCS022047).

GX 1133    Excel              No objection (11.3.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet        Trial Tr. at 1275:24)     Robert Lewis            authenticated for admission at retrial (FRE 901).
           titled KFC Cost                              (11.3.21 Trial Tr. at
           2015 proposal                                1275:23)
           (RSCS022049).
GX 1137    Email between      No objection (11.3.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Robert Lewis,      Trial Tr. at 1259:6-7)    Robert Lewis            authenticated for admission at retrial (FRE 901).
           Mikell Fries, Pete                           (11.3.21 Trial Tr. at
           Suerken, Mary                                1259:8)
           Hester, Rich
           Eddington, and
           Scott Brady on or
           about 8/7/2014
           (RSCS022094).

GX 1139    Email between    No objection (11.3.21       Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Robert Lewis and Trial Tr. at 1259:6-7)      Robert Lewis            authenticated for admission at retrial (FRE 901).
           Roger Austin or                              (11.3.21 Trial Tr. at
           about 8/7/2014                               1259:8)
           (RSCS022105).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                       New Objections                                 Court's New Ruling
                                    Objections                Citation)
GX 1160    Email between     Objection to hearsay by Admitted through            Authentication - This document has not been          Admissible for the non-hearsay purpose
           Robert Lewis,     Fries; overruled but       Robert Lewis             authenticated for admission at retrial (FRE 901). of effect on the listener. Because it is
           Mikell Fries,     admitted with limiting     (11.3.21 Trial Tr. at                                                         admissible for this non-hearsay
           Scott Brady, Pete instruction that           1287:9-16)               Limiting Instruction - This exhibit should be        purpose, the fact that it was admitted
           Martin, Greg      statements were not for                             subject to the same limiting instruction it          through Mr. Lewis at the first trial but the
           Tench, and Brian the truth but for effect on                          received at the first trial: the jury can only       government intends to admit it without a
           Roberts, among the listener. (11.3.21                                 consider the exhibit for its effect on the listener. sponsoring witness at the second trial is
           others, on or     Trial Tr. at 1287:9-16)                             (11.3.21 Trial Tr. at 1287:9-16)                     immaterial.
           about 8/29/2014
           (TY-000939742).                                                                                                            Limiting Instruction: the statements of
                                                                                                                                      Mr. Lews can be considered for the
                                                                                                                                      effect on the listener, but not for the
                                                                                                                                      truth.

GX 1175    Email chain     Hearsay (11.5.21 Trial       Admitted without a       Authentication - This document has not been       Mr. Eddington is making a request that
           between Tim     Tr. at 1779:25-1780:8)       sponsoring witness       authenticated for admission at retrial (FRE 901). Mr. Mulrenin responds to. The request
           Mulrenin and                                 (11.5.21 Trial Tr. at                                                      is necessary for the jury to be able to
           Rich Eddington                               1779:25-1780:8)                                                            understand Mr. Mulrenin's response, so
           on or about                                                                                                             it is appropriate for the jury to see the
           8/15/2014 (TY-                                                                                                          entirety of GX 1175. Admissible
           001037234).                                                                                                             pending authentication.
GX 1177    Email from Tim Hearsay that does not         Admitted without a       Authentication - This document has not been       Admissible against Mr. Mulrenin under
           Mulrenin to     satisfy any exception        sponsoring witness       authenticated for admission at retrial (FRE 901). FRE 801(d)(2)(A). Though defendants
           himself on or                                under 801(d)(2)(A)                                                         do not request it in their new objections,
           about 8/5/2014                               (11.18.21 Unofficial                                                       a limiting instruction is appropriate.
           (TY-001038031).                              Tr. at 81-84; 11.23.21
                                                        Unofficial Tr. at 7:1-                                                        Limiting Instruction: this exhibit can be
                                                        19)                                                                           considered against Mr. Mulrenin only.




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                                   Objections               Citation)
GX 1190    Email between    No objection (had        Already admitted       Authentication - This document has not been  Admissible pending authentication.
           Brian Roberts,   already been admitted without a sponsoring authenticated for admission at retrial (FRE 901).
           Tim Mulrenin,    as defense exhibit under witness (11.5.21 Trial
           and Rich         different number)        Tr. at 1771:12-16).
           Eddington on or (11.5.21 Trial Tr. at
           about 8/11/2014 1771:12-16)
           attaching
           spreadsheet (TY-
           001230900).

GX 1191    Excel               No objection (11.5.21      Admitted without a      Authentication - This document has not been       Admissible pending authentication.
           spreadsheet         Trial Tr. at 1771:12-16)   sponsoring witness      authenticated for admission at retrial (FRE 901).
           titled KFC 2'8-                                (11.5.21 Trial Tr. at
           2'12 Marinated                                 1771:12-16)
           Model (TY-
           001230901).
GX 1226    Addendum to         No objection (10.28.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Pilgrim's Pride     Trial Tr. at 573:3)        Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           SBRA dated on                                  Trial Tr. at 573:3)
           or about
           9/30/2014
           (PILGRIMS-
           0005856748).
GX 1238    Excerpt of Mikell   Statements do not         All objections           Authentication - This document has not been       Admissible co-conspirator statements
           Fries iPhone        satisfy FRE 801(d)(2)(E) overruled and             authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Report Instant      Dkt. 135-1 at 54-57;      admitted without a                                                         authentication.
           Message # 551-      Objection to authenticity sponsoring witness
           559 (CLAXTON        (11.5.21 Trial Tr. at     (11.5.21 Trial Tr. at
           0181706).           1806-1811)                1811:14-22)




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections               Citation)
GX 1247    Email between    Objected to as           All objections          Authentication - This document has not been       There is additional time stamp
           Roger Austin and duplicative; objection   overruled and           authenticated for admission at retrial (FRE 901). information included in this version of
           Jayson Penn on originally sustained until admitted without a                                                        the email; the objection based on
           or about         DOJ argued that it has a sponsoring witness                                                        cumulative nature is overruled. Exhibit
           8/26/2014        different time stamp     (11.5.21 Trial Tr. at                                                     is admissible pending authentication.
           (PILGRIMS-DOJ- than GX 1051 (11.5.21 1805:18-22)
           0002731122).     Trial Tr. at 1803-1805)

GX 1252    Emails between N/A                         New exhibit            Authentication - This document has not been       The Court will rule on this separately in
           Timothy                                                           authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
           Mulrenin,                                                                                                           Leave to File a Motion to Supplement
           Timothy                                                                                                             James Log and for Reconsideration
           Scheiderer, and                                                                                                     [Docket No. 941].
           Brian Roberts
           dated 8/19/2014
           (TY-001035733)
GX 1254    E-mail from Bill N/A                       New exhibit            Authentication - This document has not been       Reserved until February 10, 2022
           Kantola to Mary                                                   authenticated for admission at retrial (FRE 901). hearing.
           Hester 5/9/2014
           (KOCHFOODS-
           0000249843).
GX 1255    Excel             N/A                      New exhibit            Authentication - This document has not been       Reserved until February 10, 2022
           spreadsheet                                                       authenticated for admission at retrial (FRE 901). hearing.
           titled COB
           Information dated
           on or about
           5/9/2014
           (KOCHFOODS-
           0000249844).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                   Objections           Citation)
GX 1256    Email chain      N/A                   New exhibit                                                             The Court will rule on this separately in
           between Jayson                                                                                                 its order on the United States' Motion for
           Penn, Roger                                                  Authentication - This document has not been       Leave to File a Motion to Supplement
           Austin, and Bill                                             authenticated for admission at retrial (FRE 901). James Log and for Reconsideration
           Lovette on or                                                                                                  [Docket No. 941].
           about 9/3/2014                                               Rule 403 - This exhibit has limited probative
           (PILGRIMS-DOJ-                                               value and is outweighed by the danger of undue
           0002731134).                                                 prejudice of appealing to jurors' judgments about
                                                                        the use of corporate jets.

                                                                        Hearsay - This exhibit was not on the
                                                                        government's first James Log and therefore
                                                                        should not be admitted under Rule 801(d)(2)(E).
                                                                        The Court has previously sustained hearsay
                                                                        objections to exhibits not on the James Log (see
                                                                        11.5.21 Trial Tr. at 1798:11-18). To the extent
                                                                        the government seeks to admit this exhibit
                                                                        through the exceptions listed in its James log it
                                                                        filed 1.27.22, specifically exceptions A and H, the
                                                                        government has made no showing that these
                                                                        exceptions apply.[1]

                                                                        Limiting Instruction - If admitted, it should be
                                                                        subject to a limiting instruction that those
                                                                        statements cannot be considered against
                                                                        defendants other than the declarant. The
                                                                        statements of declarants that are not defendants
                                                                        are not admissible for their truth.




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                 Objections           Citation)
GX 1257    Email chain    N/A                   New exhibit           Authentication - This document has not been       Reserved until February 10, 2022
           between Roger                                              authenticated for admission at retrial (FRE 901). hearing.
           Austin, Bill
           Lovette, and                                               Hearsay - This exhibit was not on the
           Jayson Penn on                                             government's James Log and therefore should
           or about                                                   not be admitted under Rule 801(d)(2)(E). The
           9/3/2014                                                   Court has previously sustained hearsay
           (PILGRIMS-DOJ-                                             objections to exhibits not on the James Log (see
           0002731132).                                               11.5.21 Trial Tr. at 1798:11-18).

                                                                      Limiting Instruction - If admitted, it should be
                                                                      subject to a limiting instruction that those
                                                                      statements cannot be considered against
                                                                      defendants other than the declarant. The
                                                                      statements of declarants that are not defendants
                                                                      are not admissible for their truth.

                                                                      Cumulative - This exhibit is a short version of
                                                                      GX 1256 and there is no reason to introduce two
                                                                      versions of the same document.




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 Exhibit     Description         Prior Defense        Prior Ruling (Tr.                     New Objections                              Court's New Ruling
                                  Objections              Citation)
GX 1258    Email chain     N/A                      New exhibit             Authentication - This document has not been        The Court will rule on this separately in
           between Bill                                                     authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
           Lovette, Jayson                                                                                                     Leave to File a Motion to Supplement
           Penn, and Chad                                                   Hearsay - This exhibit was not on the              James Log and for Reconsideration
           Baker on or                                                      government's James Log and therefore should [Docket No. 941].
           about 8/26/2014                                                  not be admitted under Rule 801(d)(2)(E). The
           (PENN-                                                           Court has previously sustained hearsay
           0000000212).                                                     objections to exhibits not on James Log (see
                                                                            11.5.21 Trial Tr. at 1798:11-18). To the extent
                                                                            the government seeks to admit this exhibit
                                                                            through the exceptions listed in its James log it
                                                                            filed 1.27.22, specifically exceptions A, B, F, G,
                                                                            H, and I, the government has made no showing
                                                                            that these exceptions apply.

                                                                            Limiting Instruction – If admitted, it should be
                                                                            subject to a limiting instruction that those
                                                                            statements cannot be considered against
                                                                            defendants other than the declarant. The
                                                                            statements of declarants that are not defendants
                                                                            are not admissible for their truth.


GX 1406    Email from Mark No objections (11.8.21   Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Oechsli to Ric   Trial Tr. at 2078:13)   Michael Ledford         authenticated for admission at retrial (FRE 901).
           Blake and Darrel                         (11.8.21 Trial Tr. at
           Keck on or about                         2078:14)
           10/10/2012
           attaching Excel
           spreadsheet
           (GEODOJ_0579
           330).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections                Citation)
GX 1409    Email chain      Statements do not          Overruled and           Authentication - This document has not been       Admissible co-conspirator statements
           between Bruce satisfy FRE                   admitted without a      authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           MacKenzie, Bill 801(d)(2)(E)(Dkt. 395-1     sponsoring witness                                                        authentication. The rule of
           Kantola, Bo      at 36-37); objected to     (11.9.21 Trial Tr. at                                                     completeness is inapplicable and does
           Wright, and      due to lack of             2131:24-2132:3)                                                           not require the admission of GX 1520, a
           Lance Buckert on completeness (11.9.21                                                                                longer version of this email chain.
           or about         Trial Tr. at 2130:20-
           10/10/2012       2131:19)
           (KOCH_0002060
           716).
GX 1410    Email from Bruce No objections (11.8.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           MacKenzie to     Trial Tr. at 2076:24)      Michael Ledford         authenticated for admission at retrial (FRE 901).
           Mark Oechsli on                             (11.8.21 Trial Tr. at
           or about                                    2077:2)
           10/10/2012
           attaching Excel
           spreadsheet
           (KOCHFOODS-
           0000561602).

GX 1427    Excerpt of Mikell Statements do not        Admitted without         Authentication - This document has not been       Admissible co-conspirator statements
           Fries iPhone      satisfy FRE 801(d)(2)(E) witness (11.10.21        authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
           Report Instant    (Dkt. 395-1 at 177-179); Trial Tr. at 2584:24-                                                      authentication.
           Message # 58-65 Rule 611 objection         25)
           (CLAXTON_018 regarding timing of
           1706).            introducing certain
                             exhibits (11.10.21 Trial
                             Tr. at 2584:7-14)




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections                Citation)
GX 1435    Email chain      No objections (11.9.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           between Scott    Trial Tr. at 2176:24-25)   Michael Ledford         authenticated for admission at retrial (FRE 901).
           Brady, Steve                                (11.9.21 Trial Tr. at
           Campisano, Mike                             2176:24-25)
           Ledford, and
           Mark Oechsli on
           or about
           12/5/2012
           (CLA_0191967).
GX 1438    Excel            No objections (11.8.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet      Trial Tr. at 2065:2-3)     Michael Ledford         authenticated for admission at retrial (FRE 901).
           titled 2012 UFPC                            (11.8.21 Trial Tr. at
           RFI Questions                               2065:2-3)
           (PILGRIMS-DOJ-
           0002470763).


GX 1439    Email from      No objection (11.9.21       Admitted through        Authentication - This document has not been       Admissible pending authentication.
           notify@combinen Trial Tr. at 2164:12-14)    Michael Ledford         authenticated for admission at retrial (FRE 901).
           et.com to Roger                             (11.9.21 Trial Tr. at
           Austin on or                                2164:12-14)
           about 11/7/2012
           (PILGRIMS-DOJ-
           0000513728).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                   New Objections                                  Court's New Ruling
                                   Objections                 Citation)
GX 1446    Email chain    N/A                        This document --        Authentication - This document has not been          The Court will rule on this separately in
           between Roger                             which is the same as authenticated for admission at retrial (FRE 901).       its order on the United States' Motion for
           Austin, Jayson                            E-570 from the first                                                         Leave to File a Motion to Supplement
           Penn, Scott                               trial -- should be      Rule of Completeness - As at the first trial, this   James Log and for Reconsideration
           Tucker, and                               considered in           should be considered in connection with GX           [Docket No. 941].
           Jason McGuire                             connection with GX 1547.
           on or about                               1547 under the rule
           11/30/2012                                of completeness,        Limiting Instruction - This exhibit was not on
           (PILGRIMS-DOJ-                            subject to a liming     the government's James log and therefore
           0000513769).                              instruction that it can should not be admitted against all defendants
                                                     only be considered      under Rule 801(d)(2)(E). It should be subject to
                                                     against Mr. Penn and the same limiting instruction offered at first trial:
                                                     Mr. Austin. (11.23.21 the exhibit can only be considered against Mr.
                                                     Unofficial Tr. at 8:16- Penn and Mr. Austin.
                                                     22 (ruling on E-570))


GX 1447    Email between    Offered by defense       Previously admitted Authentication - This document has not been         Admissible pending authentication.
           UFPC Poultry     (11.10.21 Trial Tr. at   by defense as exhibit authenticated for admission at retrial (FRE 901).
           Purchasing       2497:24)                 H-855 during cross
           Team to Darrell                           examination of
           Keck, on or                               Michael Ledford,
           about 9/26/2012                           without objection
           (GEO                                      (11.10.21 Trial Tr. at
           0000813739).                              2497:24).
GX 1448    Adobe PDF titled N/A                      New exhibit            Authentication - This document has not been      Ruling reserved until February 10, 2022
           8-Piece COB                                                      authenticated (FRE 901).                         hearing.
           Pricing Model
           dated on or
           about 12/13/2012
           between Case
           Farms and UFPC
           (RSCS000189).




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 Exhibit     Description             Prior Defense      Prior Ruling (Tr.                  New Objections                           Court's New Ruling
                                      Objections            Citation)
GX 1449    Adobe PDF titled N/A                      New exhibit; Offered Authentication - This document has not been      Ruling reserved until February 10, 2022
           8-Piece COB                               by defense during     authenticated (FRE 901).                        hearing.
           Pricing Model                             Ledford cross (F-
           dated on or                               759), Court ruled it  Redaction - If admitted, first page should be
           about 12/7/2011                           did not open the door redacted.
           between                                   to 2011 negotiations
           George's, Inc.                            (11.10.21 Trial Tr.
           and UFPC                                  2435:7-8; 2437:18-
           (RSCS000628).                             21)


GX 1450    Adobe pdf titled 8- N/A                   New exhibit; Offered Authentication - This document has not been      Ruling reserved until February 10, 2022
           Piece Pricing                             by defense during     authenticated (FRE 901).                        hearing.
           Model dated or                            Ledford cross (F-
           about 12/19/2011                          768), Court ruled it  Redaction - If admitted, first page should be
           between Koch                              did not open the door redacted.
           Foods, Inc. and                           to 2011 negotiations
           UFPC                                      (11.10.21 Trial Tr.
           (RSCS000933).                             2440:11-17)


GX 1451    Adobe PDF titled N/A                      New exhibit; Offered Authentication - This document has not been      Ruling reserved until February 10, 2022
           8-Piece COB                               by defense during     authenticated (FRE 901).                        hearing.
           Pricing Model                             Ledford cross (F-
           dated on or                               777), Court ruled it  Redaction - If admitted, first page should be
           about 12/7/2011                           did not open the door redacted.
           between Mar-Jac                           to 2011 negotiations
           Poultry and                               (11.10.21 Trial Tr.
           UFPC                                      2443:15-21)
           (RSCS001112).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                   Objections           Citation)
GX 1452    Adobe PDF titled N/A                   New exhibit; Admitted Authentication - This document has not been        Ruling reserved until February 10, 2022
           8-Piece COB                            without objection     authenticated (FRE 901).                           hearing.
           Pricing Model                          when offered by
           dated on or                            defense during        Redaction - If admitted, first page should be
           about 12/7/2011                        Ledford cross (F-786) redacted.
           between Marshall                       (11.10.21 Trial Tr.
           Durbin and                             2447:1-4)
           UFPC
           (RSCS001272).

GX 1453    Adobe PDF titled N/A                   New exhibit; Admitted Authentication - This document has not been        Ruling reserved until February 10, 2022
           8-Piece COB                            without objection      authenticated for admission at retrial (FRE 901). hearing.
           Pricing Model                          when offered by
           dated on or                            defense during
           about 12/13/2012                       Ledford cross (F-787)
           between Marshall                       (11.10.21 Trial Tr. at
           Durbin and                             2448:3-5)
           UFPC
           (RSCS001284).

GX 1454    Adobe PDF titled N/A                   New exhibit; Offered     Authentication - This document has not been     Ruling reserved until February 10, 2022
           8-Piece COB                            by defense during        authenticated (FRE 901).                        hearing.
           Pricing Model                          Ledford cross, Court
           dated on or                            ruled it did not open    Redaction - If admitted, first page should be
           about 12/7/2011                        the door to 2011         redacted.
           between Pilgrim's                      negotiations (F-790)
           Pride                                  (11.10.21 Trial Tr. at
           Corporation and                        2454:7-12)
           UFPC
           (RSCS001533).




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 Exhibit     Description          Prior Defense      Prior Ruling (Tr.                     New Objections                           Court's New Ruling
                                   Objections            Citation)
GX 1455    Adobe PDF titled N/A                   New exhibit; Offered     Authentication - This document has not been     Ruling reserved until February 10, 2022
           8-Piece COB                            by defense during        authenticated (FRE 901).                        hearing.
           Pricing Model                          Ledford cross, Court
           dated on or                            ruled it did not open    Redaction - If admitted, first page should be
           about 12/7/2011                        the door to 2011         redacted.
           between Tyson                          negotiations (F-798)
           Sales and UFPC                         (11.10.21 Trial Tr. at
           (RSCS002143).                          2457:8-14)


GX 1456    Adobe PDF titled N/A                   New exhibit Admitted Authentication - This document has not been         Ruling reserved until February 10, 2022
           8-Piece COB                            without objection      authenticated (FRE 901).                          hearing.
           Pricing Model                          when offered by
           dated 1212/2013                        defense during
           between Tyson                          Ledford cross (F-799)
           Sales and                              (11.10.21 Trial Tr. at
           Distribution and
           UFPC
           (RSCS002155).

GX 1457    Email between    N/A                   New exhibit; Admitted Authentication - This document has not been       Ruling reserved until February 10, 2022
           Tim Scheiderer,                        without objection     authenticated for admission at retrial (FRE 901). hearing.
           Mark Oechsli,                          when offered by
           Mary Hester,                           defense during
           Brian Roberts,                         Ledford cross (G-
           and Tim                                605) (11.10.21 Trial
           Mulrenin, among                        Tr. 2561:8-16)
           others, on or
           about 11/14/2012
           attaching Excel
           spreadsheet (TY-
           001188541).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                    Objections                Citation)
GX 1458    Excel            N/A                         New exhibit; Admitted Authentication - This document has not been       Ruling reserved until February 10, 2022
           spreadsheet                                  without objection     authenticated for admission at retrial (FRE 901). hearing.
           titled Tyson-Yum                             when offered by
           Attachment__1-                               defense during
           FOB_Summary                                  Ledford cross (G-
           Round 2 dated                                606) (11.10.21 Trial
           on or about                                  Tr. 2561:8-16)
           11/14/2012 (TY-
           001188542).

GX 1461    Adobe PDF titled N/A                         New exhibit; Admitted Authentication - This document has not been       Ruling reserved until February 10, 2022
           8-Piece COB                                  without objection     authenticated for admission at retrial (FRE 901). hearing.
           Pricing Model                                when offered by
           dated on or                                  defense during
           about 12/7/2011                              Ledford cross (F-750)
           between Claxton                              (11.10.21 Trial Tr.
           Poultry Farms,                               2433:8-11)
           Inc. and UFPC
           (RSCS000325).


GX 1500    Email chain      Statements do not          Admitted through        Authentication - This document has not been       Mr. Brady's statements are admissible
           between Scott    satisfy 801(d)(2)(E) (Dkt. Michael Ledford         authenticated for admission at retrial (FRE 901). as co-conspirator statements under
           Brady, Mikell    No. 395-1 at 58-60)        (11.9.21 Trial Tr. at                                                     FRE 801(d)(2)(E) pending
           Fries, and Mark                             2182:14-15)                                                               authentication.
           Oechsli on or
           about 11/28/2012
           (CLA 0078000).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                    Objections                Citation)
GX 1501    Excel             Statements do not          Admitted through        Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet       satisfy 801(d)(2)(E) (Dkt. Michael Ledford         authenticated for admission at retrial (FRE 901). pending authentication.
           titled            No. 395-1 at 58-60)        (11.9.21 Trial Tr. at
           Attachment_1-                                2181:14-15)
           FOB Summary
           undated (CLA
           0078001).
GX 1503    Adobe PDF titled Statements do not         Admitted through          Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           EXHIBIT 1 dated satisfy 801(d)(2)(E) (Dkt. Michael Ledford           authenticated for admission at retrial (FRE 901). pending authentication.
           12/13/2012       No. 395-1 at 141-142)     (11.9.21 Trial Tr. at
           (CLA_078020).                              2195:2)

GX 1505    Email chain      Statements do not          Admitted through         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Scott    satisfy 801(d)(2)(E) (Dkt. Michael Ledford          authenticated for admission at retrial (FRE 901). pending authentication.
           Brady and Mark No. 395-1 at 31-33)          (11.8.21 Trial Tr. at
           Oechsli on or                               2073:21)
           about 10/09/2012
           attaching cost
           model
           (CLA_0191549).

GX 1508    Adobe PDF titled Incomplete because       Admitted through     Authentication - This document has not been           The Court's ruling on the United States'
           EXHIBIT 1 8-     cover email (GX 3001) Greg Finch (10.28.21 authenticated for admission at retrial (FRE 901).        Motion for a Pre-Trial Ruling on
           PIECE COB        not offered at same time Trial Tr. at 625:20-                                                       Authenticity and Business Records
           PRICING          (10.28.21 Trial Tr. at   23)                                                                        [Docket No. 992], will encompass this
           MODEL dated on 625:14-19)                                                                                            exhibit and determine whether a pre-trial
           or about                                                                                                             admissibility determination is
           12/13/2012                                                                                                           appropriate. The Court reserves ruling
           (CLA_0192748).                                                                                                       on this exhibit at this time.




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 1514    Email between     Statements do not        Admitted through       Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Ric Blake, Mike satisfy 801(d)(2)(E) (Dkt. Michael Ledford        authenticated for admission at retrial (FRE 901). pending authentication.
           Ledford, and      No. 395-1 at 77-78)      (11.10.21 Trial Tr. at
           Darrel Keck on or                          2530:17)
           about 12/17/2012
           attaching Adobe
           PDF (GEO
           0000832907).


GX 1515    Adobe PDF titled Statements do not        Admitted through        Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           EXHIBIT1 dated satisfy 801(d)(2)(E) (Dkt. Michael Ledford         authenticated for admission at retrial (FRE 901). pending authentication.
           12/7/2011 (GEO No. 395-1 at 77-78)        (11.9.21 Trial Tr. at
           0000832908).                              2190:14)

GX 1519    Email between   Statements do not          Admitted without a     Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Bruce MacKenzie satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication.
           and Joe Grendys No. 395-1 at 49-50)        Tr. at 2136:5-6)
           on or about
           11/5/2012
           (KOCH
           0001206873).

GX 1520    Email chain      Statements do not       Admitted without a       Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           between Lance satisfy 801(d)(2)(E) (Dkt. witness (11.22.21        authenticated for admission at retrial (FRE 901).   pending authentication. GX 1520 has
           Buckert, Bruce   No. 395-1 at 36-37);    Unofficial Tr. at 97:24-                                                     additional information not contained in
           MacKenzie, Bo Cumulative of GX 1409 98:6)                                                                             GX 1409; objection based on
           Wright, and Bill                                                                                                      cumulative nature is overruled.
           Kantola on or
           about 10/10/2012
           (KOCHFOODS-
           0000006100).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                    Objections                Citation)
GX 1521    Excel            Statements do not          Admitted without a     Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   pending authentication.
           titled Round 2   No. 395-1 at 47-48);       Tr. at 2135:21-22)
           dated on or      Testimony from
           about 11/2/2012 customers at trial that
           (KOCHFOODS- this is exactly the type of
           0000542732).     guidance that they gave
                            to suppliers; Not in
                            furtherance of
                            conspiracy (11.9.21 Trial
                            Tr. at 2135:12-19)
GX 1522    Email chain      Statements do not          Admitted without a     Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).     pending authentication.
           Penn, Bill       No. 395-1 at 73-77);       Tr. at 2158:13-14);
           Lovette, Scott   Duplicative of 1567 and Excluded GXs 1567
           Tucker, and      1568                       and 1568 as
           Roger Austin on                             duplicative of GX
           or about                                    1522 (11.9.21 Trial
           11/30/2012                                  Tr. at 2158:2-22)
           attaching Excel
           spreadsheet
           (PILGRIMS-
           0002671675).
GX 1523    Excel            Statements do not          Admitted without a     Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   pending authentication.
           titled Price     No. 395-1 at 73-77)        Tr. at 2158:13-14)
           Reduction Impact
           dated on or
           about
           11/30/22012
           (PILGRIMS-
           0002671676).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                   Objections                 Citation)
GX 1524    Email between    Statements do not          Admitted through       Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Roger Austin and satisfy 801(d)(2)(E) (Dkt. Sangalis (10.28.21     authenticated for admission at retrial (FRE 901). pending authentication.
           Mark Oechsli on No. 395-1 at 35-36)         Trial Tr. at 573:18-
           or about                                    20)
           10/10/2012
           attaching a
           pricing
           spreadsheet
           (PILGRIMS-
           0002932695).

GX 1525    Excel            Statements do not          Admitted through       Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. Sangalis (10.28.21     authenticated for admission at retrial (FRE 901). pending authentication.
           titled UFPC Cost No. 395-1 at 35-36);       Trial Tr. at 573:18-
           Plus Pricing For                            20)
           Period 2013 Bid
           dated on or
           about 10/10/2012
           (PILGRIMS-
           0002932696).


GX 1526    Email between   Blake sought a limiting Admitted without a        Authentication - This document has not been       Admissible against all defendants
           Roger Austin,   instruction (11.9.21 Trial witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication; no limiting
           Justin Gay, and Tr. at 2134:3-5).          Tr. at 2134:8)                                                           instruction will be given.
           Scott Tucker on
           or about
           10/26/2012
           attaching cost
           model and Word
           document
           (PILGRIMS-
           0002932765).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                     Objections                Citation)
GX 1527    Excel             Blake sought a limiting Admitted without a        Authentication - This document has not been       Admissible against all defendants
           spreadsheet       instruction (11.9.21 Trial witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication; no limiting
           titled FOB        Tr. at 2134:3-5).          Tr. at 2134:8)                                                           instruction will be given.
           SUMMARY
           10/26/2012
           (PILGRIMS-
           0002932766).
GX 1528    Word document Statements do not             Admitted without a     Authentication - This document has not been         Admissible against all defendants
           titled KFC Bid   satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   pending authentication; no limiting
           Summary dated No. 395-1 at 39-42);          Tr. at 2134:8)                                                             instruction will be given.
           on or about      Blake sought a limiting
           10/26/2012       instruction (11.9.21 Trial
           (PILGRIMS-       Tr. at 2134:3-5).
           0002932767).
GX 1529    Email between    None (10.28.21 Trial Tr. Admitted through         Authentication - This document has not been         Admissible pending authentication.
           Roger Austin and at 573:7-9)                Sangalis (10.28.21     authenticated for admission at retrial (FRE 901).
           Mike Ledford on                             Trial Tr. at 573:9)
           or about
           11/6/2012
           attaching cost
           spreadsheets
           and Word
           document
           (PILGRIMS-
           0002932786).
GX 1530    Excel            None (10.28.21 Trial Tr. Admitted through         Authentication - This document has not been         Admissible pending authentication.
           spreadsheet      at 573:7-9)                Sangalis (10.28.21     authenticated for admission at retrial (FRE 901).
           titled FOB                                  Trial Tr. at 573:9)
           SUMMARY
           11/6/2012
           (PILGRIMS-
           0002932787).




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 Exhibit     Description         Prior Defense         Prior Ruling (Tr.                     New Objections                              Court's New Ruling
                                  Objections                Citation)
GX 1531    Letter from      None (10.28.21 Trial Tr. Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Roger Austin to at 573:13-15)             Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           Mike Ledford on                           Trial Tr. at 573:15)
           or about
           11/15/2012
           (PILGRIMS-
           0002932788).
GX 1532    Excel            None (10.28.21 Trial Tr. Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet      at 573:13-15)            Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           titled UFPC Cost                          Trial Tr. at 573:15)
           Plus Pricing
           dated on or
           about 11/06/2012
           (PILGRIMS-
           0002932789).

GX 1538    Email between    Statements do not          Admitted without a     Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Scott Tucker and satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication. The rule of
           Roger Austin on No. 395-1 at 68-70);        Tr. at 2148:5-9)                                                         completeness is inapplicable.
           or about         Rule of completeness
           11/29/2012       (11.9.21 Trial Tr. at
           (PILGRIMS-       2142-2148)
           0005252995).

GX 1539    Excel            Statements do not          Admitted without a     Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication. The rule of
           titled Price     No. 395-1 at 68-70);       Tr. at 2148:5-9)                                                         completeness is inapplicable.
           Reduction Impact Rule of completeness
           dated on or      (11.9.21 Trial Tr. at
           about 11/29/2012 2142-2148)
           (PILGRIMS-
           0005252996).




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                     Objections                Citation)
GX 1544    Email chain        Statements do not          Admitted without a     Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Roger      satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication.
           Austin, Jayson     No. 395-1 at 60-63, 66- Tr. at 2141:22-23)
           Penn, Jason        68)
           McGuire Justin
           Gay, and Scott
           Tucker on or
           about 11/29/2012
           (PILGRIMS-DOJ-
           0000383926).


GX 1546    Email chain      Statements do not           Admitted without      Authentication - This document has not been        Admissible under FRE 801(d)(2)(E). D-
           between Roger satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). 839 and I-141 must be admitted at the
           Austin and Scott 395-1 at 70-73)             Tr. at 2148:5-9), but                                                    same time under the rule of
           Tucker on or                                 the Court required    Rule of Completeness - As at the first trial, this completeness.
           about 11/29/2012 Rule of Completeness - that DXs D-839 and I- exhibit must be considered with DXs D-839 and I-
           (PILGRIMS-DOJ- Austin moved to admit 141 be admitted and 141 (11.22.21 Unofficial Tr. at 152:1-153:15)
           0000509322).     DXs I-141, I-142, I-143, I- shown at the same
                            144, I-145, D-538, and time under the Rule
                            D-839 for consideration of Completeness
                            with GX 1546 (Dkt. 804) (11.22.21 Unofficial
                                                        Tr. at 152:1-153:15)




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 Exhibit     Description        Prior Defense        Prior Ruling (Tr.                           New Objections                             Court's New Ruling
                                  Objections              Citation)
GX 1547    Email chain    Was not included on the Admitted without               Rule of Completeness - As at the first trial, this Statements by defendants that were not
           between Jayson James Log and does not witness with limiting           exhibit must be considered with DX E-570           included in the James log so are
           Penn, Scott    satisfy 801(d)(2)(E);    instruction, and the          (11.10.21 Trial Tr. at 2377:2-24)                  admissible only against the declarant
           Tucker, Roger  objection to the         Court required that                                                              under FRE 801(d)(2)(A). Under the rule
           Austin, and    Government's argument DX E-570 also be                 Limiting Instruction - This exhibit should be      of completeness DX E-570 must be
           Jason McGuire that "questions are       admitted under the            subject to the same limiting instruction as at the admitted at the same time.
           on or about    simply not assertive of Rule of                        first trial: the upper email may be considered
           11/30/2012     anything and are         Completeness                  against Mr. Penn only.                             Limiting Instruction: Exhibit 1547 has
           (PILGRIMS-DOJ- therefore not hearsay"; (11.10.21 Trial Tr. at                                                            been admitted, but only as to Mr. Penn.
           0000513615).   statements are hearsay 2377:2-24)                                                                         Exhibit E-570 has been admitted, but
                          that do not satisfy any                                                                                   only as to Mr. Penn and Mr. Austin.
                          exception (11.9.21 Trial
                          Tr. at 2358:13-21)

                              Rule of Completeness -
                              Penn requested that DX
                              E-570 also be admitted;
                              briefing was submitted
                              by Penn, Blake, and the
                              government (Dkts. 814,
                              815, 816, 817) (11.10.21
                              Trial Tr. at 2377:14-24)




GX 1552    Adobe PDF titled Statements do not            Admitted through        Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Exhibit 1, 8-Piece satisfy 801(d)(2)(E) (Dkt. Michael Ledford         authenticated for admission at retrial (FRE 901). pending authentication.
           COB Pricing        395-1 at 555); No          (11.9.21 Trial Tr. at
           Model dated on additional objections          2192:25)
           or about           (11.9.21 Trial Tr. at
           12/13/2012         2192:23)
           (RSCS001545).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                      New Objections                            Court's New Ruling
                                    Objections               Citation)
GX 1567    Email between    Statements do not          EXCLUDED as             Authentication - This document has not been       Excluded as duplicative.
           Scott Tucker,    satisfy 801(d)(2)(E) (Dkt. duplicative of GXs      authenticated for admission at retrial (FRE 901).
           Jayson Penn,     395-1 at 73-77)            1522 and 1523
           and Roger Austin (different exhibit but     (11.9.21 Trial Tr. at   Duplicative - As at the first trial, this exhibit
           on or about      same statements)           2158:2-22)              should be excluded as duplicative of GX 1522
           11/30/2012                                                          and 1523.
           attaching        Objection to admitting
           spreadsheet      GXs 1522 and 1523 and
           (PILGRIMS-DOJ- GXs 1567 and 1568 as
           0000333156).     duplicative (11.9.21 Trial
                            Tr. at 2158:2-22)

GX 1568    Excel            Statements do not          EXCLUDED as             Authentication - This document has not been       Excluded as duplicative.
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. duplicative of GXs      authenticated for admission at retrial (FRE 901).
           titled Price     395-1 at 73-77)            1522 and 1523
           Reduction Impact (different exhibit but     (11.9.21 Trial Tr. at   Duplicative - The government intends to offer
           dated on or      same statements)           2159:13-22)             1522 and 1523, so 1567 and 1568 are
           about 11/30/2012                                                    duplicative.
           (PILGRIMS-DOJ- Objection to admitting
           0000333157).     GXs 1522 and 1523 and
                            GXs 1567 and 1568 as
                            duplicative (11.9.21 Trial
                            Tr. at 2153-2159)




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 Exhibit     Description           Prior Defense       Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                    Objections             Citation)
GX 1569    Email between     Objection under Rules Admitted through          Authentication - This document has not been       Relevant to showing that Tyson
           Tim Scheiderer 401 and 403 by Roberts Michael Ledford             authenticated for admission at retrial (FRE 901). submitted a bid for the RSCS 2012-
           and Mark Oechsli and Mulrenin (11.8.21    (11.8.21 Trial Tr. at                                                     2013 contract and not unfairly
           on or about       Trial Tr. at 2082:1-24) 2085:5-15)                                                                prejudicial. Admissible pending
           10/10/2012                                                                                                          authentication.
           attaching
           spreadsheet
           titled Tyson-Yum
           Poultry Bid Sheet
           Event
           20122013.xls
           (TY-002544937).


GX 1583    Email between    No objections (11.9.21    Admitted without       Authentication - This document has not been       Admissible pending authentication.
           Roger Austin and Trial Tr. at 2140:25-     witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).
           Mark Oechsli on 2141:1)                    Tr. at 2140:25-
           or about                                   2141:1)
           11/13/2012
           attaching
           spreadsheet
           (PILGRIMS-DOJ-
           0001231596).


GX 1584    Excel            No objections (11.9.21    Admitted without       Authentication - This document has not been       Admissible pending authentication.
           spreadsheet      Trial Tr. at 2140:25-     witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).
           titled 2013 Year 2141:1)                   Tr. at 2140:25-
           Bid Cost Model                             2141:1)
           (PILGRIMS-DOJ-
           0001231597).




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 Exhibit     Description             Prior Defense          Prior Ruling (Tr.                    New Objections                                 Court's New Ruling
                                      Objections                Citation)
GX 1601    Email chain         No objections (11.9.21     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           between Mike        Trial Tr. at 2214:13)      Michael Ledford         authenticated for admission at retrial (FRE 901).
           Ledford, Scott                                 (11.9.21 Trial Tr. at
           Brady, and Mikell                              2214:13)
           Fries on or about
           3/12/2013
           (CLA_0192302).

GX 1607    Email chain         Statements do not          Admitted through        Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Roger       satisfy 801(d)(2)(E) (Dkt. Michael Ledford         authenticated for admission at retrial (FRE 901). pending authentication. Defendants do
           Austin, Mike        395-1 at 92-94)            (11.9.21 Trial Tr. at                                                     not ask for a limiting instruction with
           Ledford, Scott                                 2210:17)                                                                  respect to the statements of Mr.
           Tucker, and                                                                                                              Ledford.
           Jason McGuire
           on or about
           03/12/2013
           (PILGRIMS-
           0006836077).
GX 1615    Excerpt of Mikell   Statements do not          Admitted without        Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           Fries iPhone        satisfy 801(d)(2)(E) (Dkt. witness (11.12.21       authenticated for admission at retrial (FRE 901).   pending authentication. It is relevant
           Report Instant      395-1 at 177-179),         Unofficial Tr. at 60:4-                                                     because Mr. Fries communicated with
           Message # 3         Relevancy from Fries       5)                                                                          Mr. Brady that he had talked to Mr.
           (CLAXTON_018        and Austin (11.12.21                                                                                   Austin about Mr. Ledford's "research
           1706).              Unofficial Tr. at 54:13-                                                                               project" of price and sizing for smaller
                               59:19)                                                                                                 birds.




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                      New Objections                              Court's New Ruling
                                   Objections                 Citation)
GX 1700    Email chain      Statements do not          Admitted without a   Authentication - This document has not been           The Court will rule on this separately in
           between Scott    satisfy 801(d)(2)(E) (Dkt. witness; 11.12.21    authenticated for admission at retrial (FRE 901).     its order on the United States' Motion for
           Brady, Mikell    No. 395-1 at 149-151); Unofficial Tr. at 64:20-                                                       Leave to File a Motion to Supplement
           Fries, Mark      Hearsay (11.12.21          65:5; 66:12-67:8     Limiting Instruction - this exhibit should be         James Log and for Reconsideration
           Oeschli, Mary    Unofficial Tr. 63:3-13) ;                       subject to the same limiting instruction issued at    [Docket No. 941].
           Hester, and      Limiting instruction for                        the first trial: the top portion is admissible only
           Stephen          all defendants except                           against Defendant Brady
           Campisano on or Brady
           about 11/01/2013
           attaching word
           document (CLA
           0078049).

GX 1713    Email chain      Hearsay (11.12.21          Excluded as hearsay    Authentication - This document has not been        The Court will rule on this separately in
           between Scott    Unofficial Tr. at 67:16-   against all            authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
           Tucker, Roger    18)                        defendants but                                                            Leave to File a Motion to Supplement
           Austin, Justin                              Austin; admitted       Limiting Instruction - this exhibit should be      James Log and for Reconsideration
           Gay, and Mike                               against Austin         subject to the same limiting instruction issued at [Docket No. 941].
           Ledford on or                               without witness with   the first trial: the top portion is inadmissible
           about 11/19/2013                            limiting instruction   hearsay and Mr. Austin's statement can only be
           (PILGRIMS-                                  (11.12.21 Unofficial   admitted against Austin. (11.12.21 Unofficial Tr.
           0005254544).                                Tr. at 72:11-17)       at 72:11-73:18)


GX 1722    Email chain    Statements do not         Admitted without        Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Roger satisfy 801(d)(2)(E) (Dkt. witness (11.18.21       authenticated for admission at retrial (FRE 901). pending authentication.
           Austin and     395-1 at 86-87)           Unofficial Tr. at 61:3)
           Jayson Penn on
           or about
           1/29/2013
           (PILGRIMS-
           0009043857).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                      New Objections                             Court's New Ruling
                                     Objections               Citation)
GX 1728    SBRA dated on       None.                    Admitted through         Authentication - This document has not been       Admissible pending authentication.
           or about                                     Robert Lewis             authenticated for admission at retrial (FRE 901).
           12/2/2013                                    (11.3.21 Trial Tr. at                                                      Redation: the first page must be
           (RSCS000343).                                1303:1-4)                Redaction - Cover page should be redacted per redacted.
                                                                                 prior ruling, otherwise no objections (11.03.21
                                                                                 Trial Tr. at 1303:1-4)

GX 1729    SBRA dated on       None.                    Admitted through         Authentication - This document has not been        Admissible pending authentication.
           or about                                     Robert Lewis             authenticated for admission at retrial (FRE
           12/2/2013                                    (11.3.21 Trial Tr. at    901).Redaction - Cover page should be              Redation: the first page must be
           (RSCS001557).                                1303:1-4)                redacted per prior ruling, otherwise no objections redacted
                                                                                 (11.03.21 Trial Tr. at 1303:1-4)
GX 1734    Excerpt of Mikell   Statements do not          Admitted without a     Authentication - This document has not been        Admissible pending authentication.
           Fries iPhone        satisfy 801(d)(2)(E) (Dkt. witness (11.12.21      authenticated for admission at retrial (FRE 901).
           Report Instant      No. 395-1 at 551-553); Unofficial Tr. at 76:14-
           Message             Hearsay; Relevance;        18)
           #304-307            403
           (CLAXTON
           0181706).

GX 1736    Email between    N/A                         New exhibit              Authentication - This document has not been       Ruling reserved until February 10, 2022
           Roger Austin and                                                      authenticated for admission at retrial (FRE 901). hearing.
           Michael Ledford
           on or about
           11/20/2013
           attaching Excel
           spreadsheet
           (PILGRIMS-
           0002933524).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                              Court's New Ruling
                                   Objections           Citation)
GX 1737    Excel            N/A                   New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           Spreadsheet                                                  authenticated for admission at retrial (FRE 901). hearing.
           titled UFPC Cost
           Plus Pricing,
           Period 1,
           December 29,
           2013 - January
           25, 2014
           (PILGRIMS-
           0002933525).

GX 1738    Email between   N/A                    New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           Scott Brady and                                              authenticated for admission at retrial (FRE 901). hearing.
           Mark Oechsli on
           or about
           11/20/2013
           attaching Excel
           spreadsheet
           (PILGRIMS-
           0005254569).

GX 1739    Excel            N/A                   New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           spreadsheet                                                  authenticated for admission at retrial (FRE 901). hearing.
           titled Bid -
           Volume
           Summary Round
           3 dated on or
           about 11/20/2013
           (PILGRIMS-
           0005254570).




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 1740    Adobe PDF titled N/A                     New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           8-Piece COB                                                    authenticated for admission at retrial (FRE 901). hearing.
           Pricing Model
           dated on or
           about 12/13/2013
           between Mar-Jac
           Poultry and
           UFPC
           (RSCS001122).

GX 1741    Email between    N/A                     New exhibit           Authentication - This document has not been      Ruling reserved until February 10, 2022
           Tim Scheiderer,                                                authenticated (FRE 901).                         hearing.
           Poultry
           Purchasing, and                                                Redaction - If admitted, first page should be
           Mark Oechsli,                                                  redacted.
           among others, on
           or about
           11/5/2013
           attaching Excel
           spreadsheets
           (TY-001295000).

GX 1742    Excel              N/A                   New exhibit           Authentication - This document has not been      Ruling reserved until February 10, 2022
           spreadsheet                                                    authenticated (FRE 901).                         hearing.
           titled KFC Fresh -
           2014 Pricing                                                   Redaction - If admitted, first page should be
           Estimate Round                                                 redacted.
           2 dated on or
           about 11/5/2013
           (TY-001295003).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                   Objections               Citation)
GX 1743    Email between    N/A                       New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           Greg Tench and                                                   authenticated for admission at retrial (FRE 901). hearing.
           Poultry
           Purchasing on or
           about 11/18/2013
           attaching Excel
           spreadsheet
           (MJPoultry-
           0000189079).

GX 1744    Excel             N/A                      New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           spreadsheet                                                      authenticated for admission at retrial (FRE 901). hearing.
           titled Copy KFC
           FOB Summary
           FINAL - Mar-Jac
           2014 dated
           11/18/2013
           (MJPoultry-
           0000189080).
GX 1745    Email between     Offered by defense as    Previously admitted Authentication - This document has not been         Admissible pending authentication.
           Mitch Mitchell,   Exhibit A-114 during     by defense as exhibit authenticated for admission at retrial (FRE 901).
           Mary Hester, and cross-examination of      A-114 during cross-
           Kevin Phillips on Michael Ledford          examination of
           or about          (11.10.21 Trial Tr. at   Michael Ledford,
           11/20/2013        2569:11-12).             without objection
           attaching Excel                            (11.10.21 Trial Tr. at
           spreadsheet                                2569:11-12)
           (CASEDOJ-KP-
           0000016681).




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 Exhibit     Description       Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                 Objections              Citation)
GX 1746    Excel         Attachment to email in Offered into             Authentication - This document has not been       Admissible pending authentication.
           spreadsheet   GX 1745. This            evidence, without      authenticated for admission at retrial (FRE 901).
           titled KFC    document was             objection, by the
           COVER SHEET previously offered into    defense as Exhibit A-
           REVISED dated evidence, without        115 during cross-
           on or about   objection, by the        examination of
           11/20/2013    defense as Exhibit A-    Michael Ledford
           (CASEDOJ-KP- 115 during cross-         (11.10.21 Trial Tr. at
           0000016682).  examination of Michael 2569:11-12)
                         Ledford (11.10.21 Trial
                         Tr. at 2568:19-2569:12).

GX 1747    Email between    N/A                      New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           Scott Brady and                           into evidence, without authenticated for admission at retrial (FRE 901).
           Poultry                                   objection, by the
           Purchasing on or                          defense as Exhibit A-
           about 11/5/2013                           612 during cross-
           attaching Excel                           examination of
           spreadsheet                               Michael Ledford
           (CLA 0192999).                            (11.10.21 Trial Tr. at
                                                     2386:13-17)

GX 1748    Excel           N/A                       New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           spreadsheet                               into evidence, without authenticated for admission at retrial (FRE 901).
           titled Fresh                              objection, by the
           Poultry COB                               defense as Exhibit A-
           Cost Model 2014                           613 during cross-
           Poultry RFP                               examination of
           dated on or                               Michael Ledford
           about 10/4/2013                           (11.10.21 Trial Tr. at
           (CLA_0193000).                            2386:13-17)




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 Exhibit     Description          Prior Defense      Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                   Objections            Citation)
GX 1749    Email between    N/A                   New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           Scott Brady and                        into evidence, without authenticated for admission at retrial (FRE 901).
           Poultry                                objection, by the
           Purchasing on or                       defense as Exhibit A-
           about 11/18/2013                       622 during cross-
           attaching Excel                        examination of
           spreadsheet                            Michael Ledford
           (CLA_0193038).                         (11.10.21 Trial Tr. at
                                                  2393:9-15)

GX 1750    Excel            N/A                   New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           spreadsheet                            into evidence, without authenticated for admission at retrial (FRE 901).
           titled FOB                             objection, by the
           Summary FINAL -                        defense as Exhibit A-
           Claxton dated on                       623 during cross-
           or about                               examination of
           11/18/2013 (CLA                        Michael Ledford
           0193039).                              (11.10.21 Trial Tr. at
                                                  2393:9-15)

GX 1751    Email from Scott N/A                   New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           Brady on or                            into evidence, without authenticated for admission at retrial (FRE 901).
           about 11/19/2013                       objection, by the
           (CLA_0193048)                          defense as Exhibit A-
                                                  626 during cross-
                                                  examination of
                                                  Michael Ledford
                                                  (11.10.21 Trial Tr. at
                                                  2397:8-14)




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 Exhibit     Description            Prior Defense      Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                     Objections            Citation)
GX 1752    Excel           N/A                      New exhibit; Offered Authentication - This document has not been         Admissible pending authentication.
           spreadsheet                              into evidence, without authenticated for admission at retrial (FRE 901).
           titled FOB                               objection, by the
           Summary FINAL -                          defense as Exhibit A-
           Claxton dated                            627 during cross-
           11/18/2013                               examination of
           (CLA_0193049).                           Michael Ledford
                                                    (11.10.21 Trial Tr. at
                                                    2397:8-14)

GX 1753    Email between    N/A                     New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           Bruce MacKenzie                                                authenticated for admission at retrial (FRE 901). hearing.
           and Poultry
           Purchasing on or                                               Hearsay (Rule 802)
           about 11/18/2013
           attaching Excel
           spreadsheets
           (KOCHFOODS-
           0000549046).


GX 1754    Excel              N/A                   New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           spreadsheet                                                    authenticated for admission at retrial (FRE 901). hearing.
           titled 2014 ufpc
           monthly cost                                                   Hearsay (Rule 802)
           model rfp fresh
           final
           (KOCHFOODS-
           0000549048).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                     New Objections                              Court's New Ruling
                                    Objections              Citation)
GX 1822    Email chain       Duplicative and          Admitted without         Authentication - This document has not been       There is additional time stamp
           between Roger misleading to the jury by witness (11.12.21           authenticated for admission at retrial (FRE 901). information included in this version of
           Austin, Robbie    Penn and Austin          Unofficial Tr. at                                                          the email; the objection based on
           Bryant, and Scott (11.12.21 Unofficial Tr. 29:11)                                                                     cumulative nature and confusion is
           Tucker on or      At 27:4-28:-7)                                                                                      overruled. Exhibit is admissible pending
           about 1/17/2017                                                                                                       authentication.
           (PILGRIMS-DOJ-
           0000343592).


GX 1825    Email between    Statements do not          Admitted through        Authentication - This document has not been       Admissible pending authentication.
           Roger Austin,    satisfy 801(d)(2)(E) (Dkt. Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           Sara Fisher, and 395-1 at 466-67)           Trial Tr. at 574:5-6)
           Rich Eddington
           on or about
           2/3/2017
           (PILGRIMS-DOJ-
           0000509332).

GX 1826    Excel            Statements do not          Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. Sangalis (10.28.21      authenticated for admission at retrial (FRE 901).
           titled UFPC Cost 395-1 at 466-67)           Trial Tr. at 574:5-6)
           Plus Pricing
           Period 2
           Proposal for
           2018 (PILGRIMS-
           DOJ-
           0000509333).




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 Exhibit     Description             Prior Defense          Prior Ruling (Tr.                      New Objections                               Court's New Ruling
                                      Objections                Citation)
GX 1846    Text message        Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901).   pending authentication.
           Austin to Tim       395-1 at 459),             Unofficial Tr. at 38:21-
           Stiller on or about Continuing objections      22)
           2/1/2017            from James hearing
           (PILGRIMS-DOJ- from Kantola and
           0000914266).        Lovette (11.12.21
                               Unofficial Tr. at 39:3-7)
GX 1847    Text message        Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21           authenticated for admission at retrial (FRE 901).   pending authentication.
           to Roger Austin 395-1 at 459),                 Unofficial Tr. at 38:21-
           on or about         Continuing objections      22)
           2/1/2017            from James hearing
           (PILGRIMS-DOJ- from Kantola and
           0000914267).        Lovette (11.12.21
                               Unofficial Tr. at 39:3-7)
GX 1848    Text message        Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901).   pending authentication.
           Austin to Tim       395-1 at 459),             Unofficial Tr. at 38:21-
           Stiller on or about Continuing objections      22)
           2/1/2017            from James hearing
           (PILGRIMS-DOJ- from Kantola and
           0000914268).        Lovette (11.12.21
                               Unofficial Tr. at 39:3-7)
GX 1849    Text message        Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901).   pending authentication.
           Austin to Tim       395-1 at 459),             Unofficial Tr. at 38:21-
           Stiller on or about Continuing objections      22)
           2/1/2017            from James hearing
           (PILGRIMS-DOJ- from Kantola and
           0000914269).        Lovette (11.12.21
                               Unofficial Tr. at 39:3-7)




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                      New Objections                             Court's New Ruling
                                     Objections                Citation)
GX 1850    Text message       Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Tim Stiller   satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           to Roger Austin    395-1 at 566-68)           Unofficial Tr. at 40:10-
           to on or about                                24)
           2/17/2017
           (PILGRIMS-DOJ-
           0000915280).

GX 1851    Text message        Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Austin to Tim       395-1 at 566-68)           Unofficial Tr. at 40:10-
           Stiller on or about                            24)                      Hearsay (Rule 802)
           2/17/2017
           (PILGRIMS-DOJ-
           0000915300).

GX 1852    Text message     Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           to Roger Austin 395-1 at 566-68)            Unofficial Tr. at 40:10-
           on or about                                 24)
           2/17/2017
           (PILGRIMS-DOJ-
           0000915301).

GX 1853    Text message     Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           to Roger Austin 395-1 at 566-68)            Unofficial Tr. at 40:10-
           on or about                                 24)
           2/17/2017
           (PILGRIMS-DOJ-
           0000915303).




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 Exhibit     Description             Prior Defense          Prior Ruling (Tr.                      New Objections                             Court's New Ruling
                                      Objections                Citation)
GX 1854    Text message        Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Austin to Tim       395-1 at 566-68)           Unofficial Tr. at 40:10-
           Stiller on or about                            24)
           2/17/2017
           (PILGRIMS-DOJ-
           0000915320).

GX 1855    Text message     Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901).   pending authentication.
           to Jayson Penn 395-1 at 476-77),            Unofficial Tr. at 44:18-
           on or about      Misleading by Penn as 19)
           2/18/2017        to the order this exhibit
           (PILGRIMS-DOJ- is presented to the jury
           0000915340).     in relation to other
                            exhibits with text
                            messages. (11.12.21
                            Unofficial Tr at 41:5-
                            44:19)
GX 1856    Text message     Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901).   pending authentication.
           to Roger Austin 395-1 at 566-68)            Unofficial Tr. at 40:10-
           on or about                                 24)
           2/18/2017
           (PILGRIMS-DOJ-
           0000915346).

GX 1858    Text message        Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Roger          satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Austin to Tim       395-1 at 566-68)           Unofficial Tr. at 40:10-
           Stiller on or about                            24)
           2/18/2017
           (PILGRIMS-DOJ-
           0000915360).




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 Exhibit     Description            Prior Defense          Prior Ruling (Tr.                      New Objections                             Court's New Ruling
                                     Objections                Citation)
GX 1862    Text message       Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Tim Stiller   satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           to Roger Austin    395-1 at 566-68)           Unofficial Tr. at 40:10-
           on or about                                   24)
           2/20/2017
           (PILGRIMS-DOJ-
           0000915473).

GX 1864    Text message        Statements do not          Admitted without       Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Jayson         satisfy 801(d)(2)(E) (Dkt. witness (11.12.21      authenticated for admission at retrial (FRE 901). pending authentication.
           Penn to Tim         395-1 at 482-83)           Unofficial Tr. at
           Stiller on or about                            47:14-15)
           2/21/2017
           (PILGRIMS-DOJ-
           0000915538).

GX 1882    Email chain       Statements do not          Admitted without         Authentication - This document has not been          Admissible under FRE 801(d)(2)(E)
           between Robbie satisfy 801(d)(2)(E) (Dkt. witness with limiting       authenticated for admission at retrial (FRE 901). pending authentication. The references
           Bryant, Roger     395-1 at 446-48),          instruction (11.1.21                                                          to what "Sarah wants" are admissible for
           Austin, and Scott Double hearsay by          Trial Tr. at 813:9-17)   Limiting Instruction - this exhibit should be        the non-hearsay purpose of effect on
           Tucker on or      Fries, (11.1.21 Trial Tr.                           subject to the same limiting instruction offered at the listener. There is additional time
           about 1/17/2017 at 812:5-813:7),                                      the first trial: the "Sarah wants" portion cannot be stamp information included in this
           (PILGRIMS-DOJ- duplicative and                                        considered for its truth. (11.1.21 Trial Tr. at      version of the email; the objection based
           0001262887).      misleading to the jury by                           813:10-17).                                          on cumulative nature and confusion is
                             Penn and Austin                                                                                          overruled.
                             (11.12.21 Unofficial Tr at
                             27:4-28:25)                                                                                            Limiting Instruction: the statements
                                                                                                                                    regarding what "Sarah wants" can be
                                                                                                                                    considered for the effect on the listener,
                                                                                                                                    but not the truth.




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 Exhibit     Description          Prior Defense           Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                   Objections                 Citation)
GX 1894    Email between    Statements do not          Admitted without        Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           Tim Stiller and  satisfy 801(d)(2)(E) (Dkt. witness (11.12.21       authenticated for admission at retrial (FRE 901).   pending authentication. Objections
           Robbie Bryant on 395-1 at 481-82),          Unofficial Tr. at 54:1-                                                     based on duplicative and misleading
           or about         Duplicative and            3)                                                                          nature are overruled.
           2/21/2017        misleading to the jury by
           (PILGRIMS-DOJ- Austin (11.12.21
           0001386338).     Unofficial Tr. At 53:5-21)

GX 1923    Email between   No objections               Admitted through      Authentication - This document has not been      Admissible pending authentication.
           Sara Fisher,                                Sara Fisher (11.4.21 authenticated for admission at retrial (FRE 901).
           Roger Austin,                               Trial Tr. at 1575:20-
           Scott Tucker,                               22)
           and Rich
           Eddington on or
           about 12/9/2016
           (RSCS019072).




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections           Citation)
GX 1966    Handwritten     N/A                   New exhibit           Authentication/Lack of Foundation - Without        The Court will rule on this separately in
           notes of Jayson                                             foundational testimony, the government cannot      its order on the United States' Motion for
           Penn (PILGRIMS-                                             establish what these undated notes are, why        Leave to File a Motion to Supplement
           0009771048).                                                they are relevant, or how they relate to the       James Log and for Reconsideration
                                                                       remainder of the pages of the notebook.            [Docket No. 941].

                                                                       Relevance – The government cannot establish
                                                                       that these undated notes (1) were made within
                                                                       the charged conspiracy period and (2) relate to
                                                                       the conduct charged in the indictment.

                                                                       Rule 403 - To the extent the Court finds the
                                                                       exhibit relevant, any relevance is outweighed by
                                                                       the danger of misleading the jury by permitting
                                                                       the government to argue that the exhibit relates
                                                                       to the charged conduct without an evidentiary
                                                                       basis.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the
                                                                       government should not be permitted to admit a
                                                                       copy.

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections           Citation)
GX 1967    Handwritten     N/A                   New exhibit           Authentication/Lack of Foundation - Without        The Court will rule on this separately in
           notes of Jayson                                             foundational testimony, the government cannot      its order on the United States' Motion for
           Penn (PILGRIMS-                                             establish what these undated notes are, why        Leave to File a Motion to Supplement
           0009771049).                                                they are relevant, or how they relate to the       James Log and for Reconsideration
                                                                       remainder of the pages of the notebook.            [Docket No. 941].

                                                                       Relevance – The government cannot establish
                                                                       that these undated notes (1) were made within
                                                                       the charged conspiracy period and (2) relate to
                                                                       the conduct charged in the indictment.

                                                                       Rule 403 - To the extent the Court finds the
                                                                       exhibit relevant, any relevance is outweighed by
                                                                       the danger of misleading the jury by permitting
                                                                       the government to argue that the exhibit relates
                                                                       to the charged conduct without an evidentiary
                                                                       basis.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the
                                                                       government should not be permitted to admit a
                                                                       copy.

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections           Citation)
GX 1968    Handwritten     N/A                   New exhibit           Authentication/Lack of Foundation - Without        The Court will rule on this separately in
           notes of Jayson                                             foundational testimony, the government cannot      its order on the United States' Motion for
           Penn (PILGRIMS-                                             establish what these undated notes are, why        Leave to File a Motion to Supplement
           0009771147).                                                they are relevant, or how they relate to the       James Log and for Reconsideration
                                                                       remainder of the pages of the notebook.            [Docket No. 941].

                                                                       Relevance – The government cannot establish
                                                                       that these undated notes (1) were made within
                                                                       the charged conspiracy period and (2) relate to
                                                                       the conduct charged in the indictment.

                                                                       Rule 403 - To the extent the Court finds the
                                                                       exhibit relevant, any relevance is outweighed by
                                                                       the danger of misleading the jury by permitting
                                                                       the government to argue that the exhibit relates
                                                                       to the charged conduct without an evidentiary
                                                                       basis.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the
                                                                       government should not be permitted to admit a
                                                                       copy.

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                 Objections           Citation)
GX 1969    Handwritten    N/A                   New exhibit           Authenticity - This document has not been       The Court will rule on this separately in
           notes by Bill                                              authenticated and cannot be authenticated       its order on the United States' Motion for
           Lovette dated                                              without a sponsoring witness (FRE 901).         Leave to File a Motion to Supplement
           2/20/2017                                                                                                  James Log and for Reconsideration
           (PILGRIMS-DOJ-                                             Chain of Custody - The proper chain of custody [Docket No. 941].
           0000509907).                                               has not been established as to the receipt,
                                                                      storage, copying, and production of handwritten
                                                                      notes as appear in this exhibit.

                                                                      Hearsay - This exhibit was not on the
                                                                      government's James log and therefore should
                                                                      not be admitted under Rule 801(d)(2)(E). The
                                                                      Court has previously sustained hearsay
                                                                      objections to exhibits not on James log (see
                                                                      11.5.21 Trial Tr. at 1798:11-18). To the extent
                                                                      the government ). To the extent the government
                                                                      seeks to admit this exhibit through the James log
                                                                      it sought permission to file on 1.27.22, there in
                                                                      nothing in the text of the document or the very
                                                                      nature of the document, and there has been no
                                                                      independent showing, that the documents were
                                                                      communications at all or done in furtherance of
                                                                      the conspiracy or reveal the existence of the
                                                                      conspiracy. There is, for example, no evidence
                                                                      notes were ever communicated to anyone, so
                                                                      they cannot be within exception B as a declarant
                                                                      statement

                                                                      This document is also not admissible as a
                                                                      statement of a party opponent because there is
                                                                      nothing to establish who wrote these notes. This
                                                                      document was available prior to filing the James




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                  Objections           Citation)
GX 1970    Handwritten     N/A                   New exhibit           Authentication/Lack of Foundation - Without        Reserved until February 10, 2022
           notes of Jayson                                             foundational testimony, the government cannot      hearing.
           Penn (PILGRIMS-                                             establish what these undated notes are, why
           DOJ-                                                        they are relevant, or how they relate to the
           0000511800).                                                remainder of the pages of the notebook.

                                                                       Relevance – The government cannot establish
                                                                       that these undated notes (1) were made within
                                                                       the charged conspiracy period and (2) relate to
                                                                       the conduct charged in the indictment.

                                                                       Rule 403 - To the extent the Court finds the
                                                                       exhibit relevant, any relevance is outweighed by
                                                                       the danger of misleading the jury by permitting
                                                                       the government to argue that the exhibit relates
                                                                       to the charged conduct without an evidentiary
                                                                       basis.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,
                                                                       storage, copying, and production of handwritten
                                                                       notes as appear in this exhibit.

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                  Objections           Citation)
GX 1971    Handwritten     N/A                   New exhibit           Authentication/Lack of Foundation - Without        Reserved until February 10, 2022
           notes of Jayson                                             foundational testimony, the government cannot      hearing.
           Penn (PILGRIMS-                                             establish what these undated notes are, why
           DOJ-                                                        they are relevant, or how they relate to the
           0000511801).                                                remainder of the pages of the notebook.

                                                                       Relevance – The government cannot establish
                                                                       that these undated notes (1) were made within
                                                                       the charged conspiracy period and (2) relate to
                                                                       the conduct charged in the indictment.

                                                                       Rule 403 - To the extent the Court finds the
                                                                       exhibit relevant, any relevance is outweighed by
                                                                       the danger of misleading the jury by permitting
                                                                       the government to argue that the exhibit relates
                                                                       to the charged conduct without an evidentiary
                                                                       basis.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,
                                                                       storage, copying, and production of handwritten
                                                                       notes as appear in this exhibit.

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                       New Objections                                 Court's New Ruling
                                   Objections               Citation)
GX 2000    Email chain      Statements do not         Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness (11.12.21         authenticated for admission at retrial (FRE 901). pending authentication.
           Penn, Fabio      395-1 at 557-61);         Unofficial Tr. at
           Sandri, and Bill Standing authenticity     200:15)
           Lovette on or    objection to emails from
           about 12/22/2014 Pilgrim's server (11.5.21
           (PILGRIMS-       Trial Tr. at 1742:11-
           0005858337).     1743:8)

GX 2001    Email chain      Statements do not         Admitted without         Authentication - This document has not been           Admissible under FRE 801(d)(2)(E)
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness with limiting authenticated for admission at retrial (FRE 901).         pending authentication.
           Penn, Chad       395-1 at 371-73);         instruction that Mr.
           Baker, and Bill  Standing authenticity     Baker's statements       Limiting Instruction - The statements of Chad         Limiting Instruction: the
           Lovette on or    objection to emails from can be considered         Baker are hearsay and should be subject to the        statements of Mr. Baker can be
           about 11/26/2014 Pilgrim's server (11.5.21 only for their effect on same limiting instruction given at the first trial    considered, not for the truth of
           (PILGRIMS-       Trial Tr. at 1742:11-     the listener (11.12.21 (11.12.21 Unofficial Tr. at 198:3-6).                   the matter asserted, but rather for the
           0006956340).     1743:8); Limiting         Unofficial Tr. at 198:3-                                                       effect on the listener.
                            instructions requested    6)
                            (11.12.21 Unofficial Tr.
                            at 195:22-197:21)

GX 2002    Email chain       Statements do not          Admitted without         Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           between Jayson    satisfy 801(d)(2)(E) (Dkt. witness with limiting authenticated for admission at retrial (FRE 901).      pending authentication.
           Penn, Bill        395-1 at 374-77);          instruction that Mr.
           Lovette, and      Standing authenticity      Baker's statements       Limiting Instruction - The statements of Chad       Limiting Instruction: the
           Chad Baker on     objection to emails from can be considered          Baker are hearsay and should be subject to the      statements of Mr. Baker can be
           or about          Pilgrim's server (11.5.21 only for their effect on same limiting instruction given at the first trial   considered, not for the truth of
           11/26/2014        Trial Tr. at 1742:11-      the listener (11.12.21 (11.12.21 Unofficial Tr. at 200:1-3).                 the matter asserted, but rather for the
           (PILGRIMS-        1743:8); Limiting          Unofficial Tr. at 200:1-                                                     effect on the listener.
           0006956343).      instructions requested     3)
                             (11.12.21 Unofficial Tr.
                             at 198:19-200:1)




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 Exhibit     Description          Prior Defense           Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                    Objections                Citation)
GX 2005    Email chain      Statements do not           Admitted without      Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Penn, John       395-1 at 365-71);           Unofficial Tr. at
           Curran, and Bill Standing authenticity       195:13-14)
           Lovette on or    objection to emails from
           about 11/25/2014 Pilgrim's server (11.5.21
           (PILGRIMS-       Trial Tr. at 1742:11-
           0009084158).     1743:8); Objected on
                            the basis that GX 2005
                            is a different version of a
                            document the
                            government had on the
                            James log (GX 2004,
                            entry 193) (11.12.21
                            Unofficial Tr. at 194:18-
                            195:12)

GX 3025    Email between      Statements do not         Admitted without      Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Jayson Penn and satisfy 801(d)(2)(E) (Dkt. witness (11.18.21       authenticated for admission at retrial (FRE 901). pending authentication.
           Bill Lovette on or 395-1 at 134-36);         Unofficial Tr. at
           about 07/24/2013 Standing authenticity       144:18)
           (PILGRIMS-         objection to emails from
           0009051822).       Pilgrim's server (11.5.21
                              Trial Tr. at 1742:11-
                              1743:8); No additional
                              objections (11.18.21
                              Unofficial Tr. at 144:12-
                              15)




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 Exhibit     Description        Prior Defense            Prior Ruling (Tr.                      New Objections                                 Court's New Ruling
                                  Objections                  Citation)
GX 3028    Adobe PDF titled No objections              Admitted through         Authentication - This document has not been       Admissible pending authentication.
           Supply                                      Sangalis (10.28.21       authenticated for admission at retrial (FRE 901).
           Agreement for                               Trial Tr. at 572:15)
           Church's
           Chicken dated on
           or about
           12/29/2014
           (PILGRIMS-DOJ-
           0000180410).

GX 3037    Email chain      Statements do not         Admitted without          Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Jayson satisfy 801(d)(2)(E) (Dkt. witness, but with          authenticated for admission at retrial (FRE 901). pending authentication.
           Penn, Jason      395-1 at 27-29);          limiting instruction on
           McGuire, Brenda Standing authenticity      the lower email.          Limiting Instruction - The lower email in this       Limiting Instruction: the lower part of the
           Ray, Rob         objection to emails from (11.5.21 Trial Tr. at      exhibit should be subject to the same limiting       document (everything except the top
           Alsberg, and     Pilgrim's server (11.5.21 1768:23-1769:10).         instruction given at the first trial: The jury can   email) can be considered to prove the
           Jimmie Little,   Trial Tr. at 1742:11-                               consider the email to prove the existence of a       existence of a conspiracy but not to
           among others, on 1743:8); No additional                              conspiracy but not as to whether any defendant       prove whether any defendnat was a
           or about         objections                                          was a member of that conspiracy. (11.5.21 Trial      member of that conspiracy
           9/1/2012                                                             Tr. at 1768:23-1769:10).
           (PILGRIMS-DOJ-
           0000509304).

GX 3052    Email from       None - offered by         Admitted without          Authentication - This document has not been       Admissible pending authentication.
           Jimmie Little to defense at first trial    witness (offered by       authenticated for admission at retrial (FRE 901).
           Dean Bradley on (12.6.21 Unofficial Tr. at defense) (12.6.21
           or about         215:15-16)                Unofficial Tr. at
           03/05/2014                                 215:15-16)
           attaching Adobe
           PDF (PILGRIMS-
           DOJ-
           0004616685).




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 Exhibit     Description           Prior Defense          Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                     Objections               Citation)
GX 3053    Adobe PDF titled None – stipulated to at Admitted without           Authentication - This document has not been       Admissible pending authentication.
           SUPPLY           first trial (12.6.21       witness (stipulated to) authenticated for admission at retrial (FRE 901).
           AGREEMENT        Unofficial Tr. at 215:1-6) (12.6.21 Unofficial Tr.
           FOR CHURCH'S                                at 215:1-6)
           CHICKEN dated
           on or about
           12/30/2013
           (PILGRIMS-DOJ-
           0004616686).


GX 3074    Adobe PDF titled Lack of foundation as to Admitted without         Authentication - This document has not been       Admissible pending authentication.
           Supply           documents collected by witness. (11.18.21         authenticated for admission at retrial (FRE 901).
           Agreement For the Oliver Group.           Unofficial Tr. at 16: 6-
           Church's         (10.28.21 Trial Tr. at   7)
           Chicken dated on 453:2-12)
           or about
           7/18/2016 (TY-
           004345675).
GX 5016    Email chain      Statements do not        Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Jimmie satisfy 801(d)(2)(E) (Dkt. witness (11.18.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Little and Carl  395-1 at 404-05)         Unofficial Tr. at 84:
           Pepper on or                              22)
           about 06/09/2015
           (TY-000000107).

GX 6047    Email chain      Statements do not          Admitted without      Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           between Mikell   satisfy 801(d)(2)(E) (Dkt. witness (11.18.21     authenticated for admission at retrial (FRE 901). pending authentication.
           Fries and Scott 395-1 at 125-26);           Unofficial Tr. at.
           Brady on or      Objection as to            143:24-144:2)
           about 06/20/2013 authenticity (11.18.21
           (CLA_0192604). Unofficial Tr. At 141:23-
                            142:5)




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 Exhibit     Description         Prior Defense           Prior Ruling (Tr.                      New Objections                              Court's New Ruling
                                  Objections                 Citation)
GX 6088    Email from      Statements do not          Admitted without          Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Darrel Keck to  satisfy 801(d)(2)(E) (Dkt. witness. (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Ric Blake on or 395-1 at 432-33)           Unofficial Tr.
           about 8/15/2016                            at.192:19-193:1)
           attaching Excel
           spreadsheet
           (GEODOJ_0333
           971).
GX 6089    Excel           Attachment to GX 6088. Admitted without              Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet     Statements do not          witness (11.12.21         authenticated for admission at retrial (FRE 901). pending authentication. While certain
           titled Copy of  satisfy 801(d)(2)(E) (Dkt. Unofficial Tr. at                                                           tabs start before the alleged conspiracy,
           Copy of DIST    395-1 at 432-33);          192:19-193:1)                                                               most of the data relates to issues within
           NATIONAL        Information in                                                                                         the conspiracy period and the jury will
           ACCOUNTS        spreadsheet outside of                                                                                 receive instructions on the dates of the
           2014.xls        the alleged conspiracy                                                                                 charged conpiracy; objection overruled.
           (GEODOJ_0333 and before the period in
           972).           which Blake was found
                           to have joined alleged
                           conspiracy (11.12.21
                           Unofficial Tr. at 190:20-
                           23, 192:1-4)

GX 6134    Email between    As to identical            Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           Bill Kantola and document, GX 6136          witness (11.15.21        authenticated for admission at retrial (FRE 901). pending authentication.
           Lance Buckert on (James log #314),          Unofficial Tr. at 172:
           or about         statements do not          10-12)                   No new additional to the extent prior objections
           12/24/2013       satisfy 801(d)(2)(E) (Dkt.                          for GX 6136 as indicated on entry 314 of the
           (KOCH_0002062 395-1 at 561-64; No                                    James log are adopted.
           821).            additional objections.
                            (11.15.21 Unofficial Tr.
                            at 172: 5)




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 Exhibit     Description         Prior Defense          Prior Ruling (Tr.                        New Objections                             Court's New Ruling
                                   Objections                Citation)
GX 6198    Email chain     Statements do not          Admitted without      Authentication - This document has not been           Admissible as co-conspirator statement
           between Larry   satisfy 801(d)(2)(E) (Dkt. witness with limiting authenticated for admission at retrial (FRE 901).     pending a ruling on authentication.
           Pate, Brenda    395-1 at 25-27);           instruction (11.5.21                                                        Exhibit is relevant because it identifies
           Ray, Jayson     Hearsay. (11.5.21 Trial Trial Tr. at 1761:4-10; Limiting Instruction - This exhibit should be          George's as a "friendly competitor" and
           Penn, Rob       Tr. at 1701:1-3, 1760:14- 11.8.21 Trial Tr.      subject to the same limiting instruction as at the    is not unfairly prejudicial because the
           Alsberg, and    1761:3); Authenticity as 1868:25-1869:4)         first trial: the jury can consider this particular    limiting instruction instructs the jury not
           Craig Kasmier,  to Pilgrim's documents                           exhibit for the proof of the existence of a           to consider the exhibit for purposes of
           among others on (11.5.21 Trial Tr. at                            conspiracy, but not as to whether any defendant       whether Mr. Blake joined the conspiracy
           or about        1742:11-1743:8);                                 was a member of that conspiracy and it is             given Mr. Blake was not the source of
           8/31/2012       Prejudicial and                                  admitted. (11.8.21 Trial Tr. 1868:25-1869:4)          Ms. Ray's information about George's.
           (PILGRIMS-DOJ- misleading as to Mr.
           0000447738).    Blake because                                                                                          Limiting Instruction: the jury can
                           reference to George's                                                                                  consider this exhibit for the proof of the
                           incorrectly implies Mr.                                                                                existence of a conspiracy, but not as to
                           Blake was involved                                                                                     whether any defendant was a member
                           (11.5.21 Trial Tr. at                                                                                  of that conspiracy.
                           1766:16-23)

GX 6235    Text message     Statements do not          Admitted without         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           from Tim Stiller satisfy 801(d)(2)(E) (Dkt. witness (11.12.21        authenticated for admission at retrial (FRE 901). pending authentication.
           to Roger Austin 395-1 at 458-59); No        Unofficial Tr. at 37:18-
           on or about      additional objections.     20)
           2/1/2017         (11.12.21 Unofficial Tr.
           (PILGRIMS-DOJ- at 37:18).
           0000914265).

GX 6282    Email between    Statements do not         Admitted without        Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           Scott Brady and satisfy 801(d)(2)(E) (Dkt. witness (11.18.21       authenticated for admission at retrial (FRE 901).   pending authentication. Exhibit is
           Brian Roberts on 395-1 at 133-34); 403     Unofficial Tr. at 92:9)                                                     relevant and admissible under Rule 403.
           or about         objection (11.18.21                                                                                   The jury could infer which initials stand
           07/15/2013 (TY- Unofficial Tr. at 87:21-                                                                               for which companies and use that
           000000113).      92:9)                                                                                                 information for a proper purpose and
                                                                                                                                  that risk is not substantially ouweighed
                                                                                                                                  by the risk of unfair prejudice.




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 Exhibit     Description        Prior Defense         Prior Ruling (Tr.                 New Objections                                   Court's New Ruling
                                  Objections              Citation)
GX 6283    Email between   Statements do not        EXCLUDED: this was Authentication - This document has not been             The Court will rule on this separately in
           Tommy Francis satisfy 801(d)(2)(E) (Dkt. withdrawn at the    authenticated for admission at retrial (FRE 901).      its order on the United States' Motion for
           and Brian       395-1 at 96-98);         James Hearing                                                              Leave to File a Motion to Supplement
           Roberts on or   Hearsay and withdrawn (11.18.21 Unofficial Hearsay - This exhibit was withdrawn at the              James Log and for Reconsideration
           about 5/7/2013 on James log at James Tr. at 95:15-16)        James hearing. The Court has previously                [Docket No. 941].
           (TY-000000114). hearing (11.18.21                            sustained hearsay objections to exhibits not on
                           Unofficial Tr. at 93:2-                      James log (see 11.5.21 Trial Tr. at 1798:11-18).
                           19)

GX 6329    Email chain      N/A                      New exhibit          Relevance - This email chain is not relevant and Ruling reserved until February 10, 2022
           between Roger                                                  the government does not intend to call a witness hearing.
           Austin and Eric                                                to lay a foundation establishing its relevance.
           Oare on or about
           11/7/2014                                                      Authentication - This document has not been
           (PILGRIMS-                                                     authenticated and cannot be authenticated
           0006001191).                                                   without a sponsoring witness (FRE 901).

                                                                          Hearsay - This exhibit was not on the
                                                                          government's James log and therefore should
                                                                          not be admitted under Rule 801(d)(2)(E). To the
                                                                          extent it contains statements admissible under
                                                                          801(d)(2)(A), it should be subject to a limiting
                                                                          instruction that those statements cannot be
                                                                          considered against defendants other than the
                                                                          declarant. The statements of declarants that are
                                                                          not defendants are not admissible for their truth.
                                                                          The Court has previously sustained hearsay
                                                                          objections to exhibits not on James log (see
                                                                          11.5.21 Trial Tr. at 1798:11-18).




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                            Court's New Ruling
                                  Objections           Citation)
GX 6330    Email chain     N/A                   New exhibit           Relevance - The email chain is not relevant and Ruling reserved until February 10, 2022
           between Julie                                               the government does not intend to call a witness hearing.
           Buckley, Eric                                               to lay a foundation establishing its relevance.
           Oare, John
           Curran, Tony                                                Authentication - This document has not been
           Neal, and Paul                                              authenticated and cannot be authenticated
           Canon, among                                                without a sponsoring witness (FRE 901).
           others, on or
           about 4/24/2015                                             Hearsay - This exhibit was not on the
           (PILGRIMS-                                                  government's James log and therefore should
           0009014733).                                                not be admitted under Rule 801(d)(2)(E). To the
                                                                       extent it contains statements admissible under
                                                                       801(d)(2)(A), it should be subject to a limiting
                                                                       instruction that those statements cannot be
                                                                       considered against defendants other than the
                                                                       declarant. The statements of declarants that are
                                                                       not defendants are not admissible for their truth.
                                                                       The Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                     Objections           Citation)
GX 6331    Email chain        N/A                   New exhibit           Authentication - This document has not been        Reserved until February 10, 2022
           between Eric                                                   authenticated (FRE 901).                           hearing.
           Oare, Tim Stiller,
           Terri Ferguson,                                                Hearsay - This exhibit was not on the
           Roger Austin,                                                  government's James log and therefore should
           and Jayson                                                     not be admitted under Rule 801(d)(2)(E). The
           Penn, among                                                    Court has previously sustained hearsay
           others, on or                                                  objections to exhibits not on James log (see
           about 11/17/2014                                               11.5.21 Trial Tr. at 1798:11-18).
           (PILGRIMS-
           0003619232).                                                   Relevance - This email relates to a customer
                                                                          who was not identified as a victim, and it is
                                                                          therefore irrelevant. To the extent the
                                                                          government is seeking to bring new allegations
                                                                          not included in the indictment, it violates Due
                                                                          Process.

                                                                          Limiting Instruction - If admitted, it should be
                                                                          subject to a limiting instruction that those
                                                                          statements cannot be considered against
                                                                          defendants other than the declarant.




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 Exhibit     Description          Prior Defense       Prior Ruling (Tr.                   New Objections                                Court's New Ruling
                                   Objections             Citation)
GX 6332    Email chain      N/A                     New exhibit           Relevance - This document is not relevant and Ruling reserved until February 10, 2022
           between Justin                                                 the government does not intend to call a witness hearing.
           Gay, Eric Oare,                                                to lay a foundation establishing its relevance.
           Kent Kronauge,
           Bill Miller, and                                               Authentication - This document has not been
           Byron Theodore,                                                authenticated for admission at retrial and cannot
           among others, on                                               be authenticated without a sponsoring witness
           or about                                                       (FRE 901).
           12/9/2014
           (PILGRIMS-                                                     Hearsay - This exhibit was not on the
           0009010718).                                                   government's James log and therefore should
                                                                          not be admitted under Rule 801(d)(2)(E). To the
                                                                          extent it contains statements admissible under
                                                                          801(d)(2)(A), it should be subject to a limiting
                                                                          instruction that those statements cannot be
                                                                          considered against defendants other than the
                                                                          declarant. The statements of declarants that are
                                                                          not defendants are not admissible for their truth.
                                                                          The Court has previously sustained hearsay
                                                                          objections to exhibits not on James log (see
                                                                          11.5.21 Trial Tr. at 1798:11-18).


GX 6333    Chat message     Statements do not          New exhibit (Ruled  Authentication - This document has not been         Admissible under FRE 801(d)(2)(E)
           from Carl Pepper satisfy 801(d)(2)(E) (Dkt. admissible at James authenticated and cannot be authenticated           pending authentication.
           to Jimmie Little 395-1 at 416-17)           Hearing, Log entry  without a sponsoring witness (FRE 901).
           on or about                                 No. 218)
           10/19/2015 (TY-
           001645466).




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                    Objections           Citation)
GX 6337    Text message      N/A                   New exhibit           Relevance - The document is not relevant and The Court will rule on this separately in
           from Eric Oare to                                             the government does not intend to call a witness its order on the United States' Motion for
           Jimmie Little on                                              to lay a foundation establishing its relevance.  Leave to File a Motion to Supplement
           or about                                                                                                       James Log and for Reconsideration
           11/11/2015                                                    Authentication - This document has not been      [Docket No. 941].
           (PILGRIMS-DOJ-                                                authenticated and cannot be authenticated
           0000001440).                                                  without a sponsoring witness (FRE 901).

                                                                         Hearsay - This exhibit was not on the
                                                                         government's James log and therefore should
                                                                         not be admitted under Rule 801(d)(2)(E). To the
                                                                         extent it contains statements admissible under
                                                                         801(d)(2)(A), it should be subject to a limiting
                                                                         instruction that those statements cannot be
                                                                         considered against defendants other than the
                                                                         declarant. The statements of declarants that are
                                                                         not defendants are not admissible for their truth.
                                                                         The Court has previously sustained hearsay
                                                                         objections to exhibits not on James log (see
                                                                         11.5.21 Trial Tr. at 1798:11-18).




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 Exhibit     Description             Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                      Objections           Citation)
GX 6338    Text message        N/A                   New exhibit           Relevance - The document is not relevant and The Court will rule on this separately in
           from Jimmie                                                     the government does not intend to call a witness its order on the United States' Motion for
           Little to Eric Oare                                             to lay a foundation establishing its relevance.  Leave to File a Motion to Supplement
           on or about                                                                                                      James Log and for Reconsideration
           11/11/2015                                                      Authentication - This document has not been      [Docket No. 941].
           (PILGRIMS-DOJ-                                                  authenticated and cannot be authenticated
           0000001441).                                                    without a sponsoring witness (FRE 901).

                                                                           Hearsay - This exhibit was not on the
                                                                           government's James log and therefore should
                                                                           not be admitted under Rule 801(d)(2)(E). To the
                                                                           extent it contains statements admissible under
                                                                           801(d)(2)(A), it should be subject to a limiting
                                                                           instruction that those statements cannot be
                                                                           considered against defendants other than the
                                                                           declarant. The statements of declarants that are
                                                                           not defendants are not admissible for their truth.
                                                                           The Court has previously sustained hearsay
                                                                           objections to exhibits not on James log (see
                                                                           11.5.21 Trial Tr. at 1798:11-18).




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                          Court's New Ruling
                                  Objections           Citation)
GX 6343    Email between   N/A                   New exhibit           Relevance - The document is not relevant and Ruling reserved until February 10, 2022
           Eric Oare, Rob                                              the government does not intend to call a witness hearing.
           Alsberg, Stacy                                              to lay a foundation establishing its relevance.
           Fulk, John
           Krezanosky,                                                 Authentication - This document has not been
           Jamie Doherty,                                              authenticated and cannot be authenticated
           and James                                                   without a sponsoring witness (FRE 901).
           Cunningham on
           or about                                                    Hearsay - This exhibit was not on the
           10/10/2018                                                  government's James log and therefore should
           attaching Excel                                             not be admitted under Rule 801(d)(2)(E). To the
           spreadsheet                                                 extent it contains statements admissible under
           (PILGRIMS-DOJ-                                              801(d)(2)(A), it should be subject to a limiting
           0001739266).                                                instruction that those statements cannot be
                                                                       considered against defendants other than the
                                                                       declarant. The statements of declarants that are
                                                                       not defendants are not admissible for their truth.
                                                                       The Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                              Court's New Ruling
                                   Objections           Citation)
GX 6344    Excel            N/A                   New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           spreadsheet                                                  authenticated and cannot be authenticated         hearing.
           titled Pilgrims                                              without a sponsoring witness (FRE 901).
           Broadline Fresh
           Price                                                        Relevance - This document is not relevant as it
           Comparison                                                   does not relate to the allegations in the
           dated on or                                                  Indictment. The document purports to include
           about 10/10/2018                                             pricing and pricing formula for 2018 Sysco and
           (PILGRIMS-DOJ-                                               US Foods, which is not at issue in this case.
           0001739267).
                                                                        Hearsay - The document is not a business
                                                                        record relied upon in the ordinary course of
                                                                        business and therefore the proper foundation
                                                                        has not been laid to admit this as a business
                                                                        record and the document's contents are hearsay.




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                    New Objections                                  Court's New Ruling
                                  Objections           Citation)
GX 6345    Handwritten     N/A                   New exhibit           Authentication - This document has not been            The Court will rule on this separately in
           notes by Bill                                               authenticated and cannot be authenticated              its order on the United States' Motion for
           Lovette                                                     without a sponsoring witness (FRE 901).                Leave to File a Motion to Supplement
           (PILGRIMS-                                                                                                         James Log and for Reconsideration
           0009770286).                                                Hearsay - This exhibit was not on the                  [Docket No. 941].
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on the James Log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18). Additionally, this
                                                                       document should not be admitted under Rule
                                                                       801(d)(2)(E) because there is nothing in this
                                                                       document that suggests it was a communication
                                                                       made by a co-conspirator in furtherance of the
                                                                       conspiracy. This document is also not admissible
                                                                       as a statement of a party opponent because
                                                                       there is nothing in this document to establish
                                                                       who wrote these notes. Because the
                                                                       Government has failed to establish that these
                                                                       are the notes of a defendant the proper
                                                                       foundation has not been laid to admit this
                                                                       document pursuant to 801(d)(2)(a). Furthermore,
                                                                       there is nothing to suggest that the content of
                                                                       this document is an assertion by the person who
                                                                       wrote it and therefore is not a statement under
                                                                       Ruel 801(a) nor is it a statement against the
                                                                       unidentified declarant's interest.

                                                                       To the extent the government seeks to introduce
                                                                       this exhibit through the James log it sought
                                                                       permission to file on 1.27.22, there in nothing in
                                                                       the text of the document or the very nature of the




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections           Citation)
GX 6346    Email between   N/A                   New exhibit           Authentication - The document cannot be             Reserved until February 10, 2022
           Bill Lovette,                                               authenticated without a sponsoring witness.         hearing.
           Roger Austin,
           Jayson Penn,                                                Relevance - The email chain is not relevant and
           Jason McGuire,                                              the government does not intend to call a witness
           Chad Baker, and                                             to lay a foundation establishing its relevance.
           David Blackmon                                              Specifically, this document is an internal
           on or about                                                 communication between employees at Pilgrim's
           9/5/2014                                                    Pride and does not discuss contract
           (PILGRIMS-DOJ-                                              negotiations, competitor's bids or pricing.
           0001533192).
                                                                       Rule 403 - To the extent the Court finds this
                                                                       document relevant, any probative value is
                                                                       outweighed by its prejudicial nature. Without a
                                                                       sponsoring witness to testify regarding this
                                                                       document, the jury is left to speculate what this
                                                                       discussion is about and the source of this
                                                                       information. Nothing on this document can be
                                                                       identified as relating to contract negotiations,
                                                                       bids or contract prices. Without a sponsoring
                                                                       witness to cross examine about this document,
                                                                       the notes, on their own, are confusing,
                                                                       misleading and more prejudicial than probative.
                                                                       Additionally, this document will waste time as it
                                                                       will require Defendants to present additional
                                                                       defense to explain to the jury how these notes
                                                                       are not related to any of the facts in the case,
                                                                       resulting in an undue delay in an already lengthy
                                                                       trial.

                                                                       Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                    Objections           Citation)
GX 6347    Email between     N/A                   New exhibit           Authentication - This document has not been        Reserved until February 10, 2022
           Tim Stiller, Bill                                             authenticated and cannot be authenticated          hearing.
           Lovette, and                                                  without a sponsoring witness (FRE 901).
           Jayson Penn on
           or about                                                      Relevance - This document is not relevant and
           9/17/2015                                                     the government does not intend to call a witness
           (PILGRIMS-DOJ-                                                to lay a foundation establishing its relevance.
           0002732328).
                                                                         Hearsay - This exhibit was not on the
                                                                         government's James log and therefore should
                                                                         not be admitted under Rule 801(d)(2)(E) and
                                                                         therefore is not admissible because the
                                                                         declarant is not a party opponent. The Court has
                                                                         previously sustained hearsay objections to
                                                                         exhibits not on James log (see 11.5.21 Trial Tr.
                                                                         at 1798:11-18).

                                                                         Limiting Instruction - If admitted, it should be
                                                                         subject to a limiting instruction that those
                                                                         statements cannot be considered against
                                                                         defendants other than the declarant.




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                   New Objections                                Court's New Ruling
                                 Objections           Citation)
GX 6348    Email chain    N/A                   New exhibit           Authentication - This document has not been          Reserved until February 10, 2022
           between Bill                                               authenticated and cannot be authenticated            hearing.
           Lovette and                                                without a sponsoring witness (FRE 901).
           Jayson Penn on
           or about                                                   Relevance - The email chain is not relevant and
           9/5/2014                                                   the government does not intend to call a witness
           (PILGRIMS-DOJ-                                             to lay a foundation establishing its relevance.
           0006242981).                                               Specifically, this document is an internal
                                                                      communication between employees at Pilgrim's
                                                                      Pride and does not discuss competitor's bids or
                                                                      pricing nor does it discuss pricing at all.

                                                                      Rule 403 - To the extent the Court finds this
                                                                      document is relevant, any probative value of this
                                                                      document is outweighed by the prejudicial
                                                                      nature. Without a sponsoring witness to testify
                                                                      regarding this document, the jury is left to
                                                                      speculate what this discussion is about and the
                                                                      Defendants are not given an opportunity to cross
                                                                      examine a witness to discuss the meaning of this
                                                                      document.

                                                                      Hearsay - This exhibit was not on the
                                                                      government's James log and therefore should
                                                                      not be admitted under Rule 801(d)(2)(E). The
                                                                      Court has previously sustained hearsay
                                                                      objections to exhibits not on James log (see
                                                                      11.5.21 Trial Tr. at 1798:11-18). This document
                                                                      should not be admitted under Rule 801(d)(2)(E)
                                                                      because there is nothing in this document that
                                                                      suggests it was a communication made by a co-
                                                                      conspirator in furtherance of the conspiracy. This




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 Exhibit     Description            Prior Defense        Prior Ruling (Tr.                    New Objections                             Court's New Ruling
                                     Objections               Citation)
GX 7010    Email between      Authenticity - The Mar- EXCLUDED;              Authentication - this document has not been      Ruling reserved until trial, when the
           Kevin Grindle      Jac custodians - Mr.     authentication        authenticated.                                   Court will have sufficient evidence to
           and Bill Kantola   Barela and Mr. Morbi - objection sustained                                                      make a ruling.
           on or around       only testified about a   because Mr. Barela Relevance - This document is not relevant and
           03/31/2014         small sub-set of Mar-Jac and Mr. Morbey were the government does not intend to call a witness
           (MAR-JAC           documents and this was only shown a small      to lay a foundation establishing its relevance.
           0000604683).       not included (11.5.21    subset of documents
                              Trial Tr. at 1815-17),   and were only asked Hearsay - The Government failed to include this
                                                       about those specific document on the James Log. The Court has
                                                       documents (11.5.21 previously sustained hearsay objections to
                                                       Trial Tr. at 1817:15- exhibits not on James log (see 11.5.21 Trial Tr.
                                                       24)                   at 1798:11-18).

GX 7040    Email chain     Misleading;                 Admitted without a     Authentication - This document has not been       Admissible pending authentication with
           between Bill    argumentative;              witness                authenticated for admission at retrial (FRE 901). redactions.
           Kantola, Brian  relevancy; limiting         Admitted with
           Roberts, Andrea instruction requested.      redactions             Redactions - This exhibit should be subject to   Redaction: the same redactions as were
           Hedgepeth,      (11.22.21 Unofficial Tr.    (11.22.21 Unofficial   the same redactions as at the first trial:       made in the first trial should be applied.
           Andrew Hays,    at 44:7-13, 45:10-46:8)     Tr. at 47:4-17)        government to redact both Kantola's statements   The Court notes that the copy of GX
           and Ashley                                                         above the signature and the bottom email.        7040 on the flashdrives provided to the
           Embrey, among                                                      (11.22.21 Unofficial Tr. at 47:4-17)             Court, Docket No. 952, are redacted as
           others, on or                                                                                                       required.
           about 6/18/2012
           (TY-000910276).




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                  New Objections                                Court's New Ruling
                                    Objections                Citation)
GX 7046    Excel            Relevance; hearsay;        Admitted without a   Authentication - This document has not been         Admissible against Mr. Austin only
           Spreadsheet      FRE 404(b); not            witness              authenticated for admission at retrial (FRE 901).   pending authentication. Relevance and
           titled cost plus included on James Log; Admitted only against                                                        404(b) objections overruled.
           comparison       limiting instruction       Austin
           industry.xls     requested. (11.18.21       (11.23.21 Unofficial                                                     Limiting Instruction: the jury can
           undated          Unofficial Tr. at 97:6-21, Tr. at 40:2-8)                                                           consider this exhibit against Mr. Austin
           (PILGRIMS-DOJ- 99:4-15, 100:8-16;                                                                                    only.
           0000509329).     11.23.21 Unofficial Tr.
                            at37:11-38:10)




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                    Objections           Citation)
GX 8098    Excel             N/A                   New exhibit           Authentication - This document has not been          The Court will rule on this separately in
           spreadsheet                                                   authenticated and cannot be authenticated            its order on the United States' Motion for
           containing Chats,                                             without a sponsoring witness (FRE 901).              Leave to File a Motion to Supplement
           SMS Messages                                                                                                       James Log and for Reconsideration
           and MMS                                                       Relevance - This document is not relevant and        [Docket No. 941].
           Messages                                                      the government does not intend to call a witness
           (LOVETTE_0000                                                 to lay a foundation establishing its relevance.
           000001).
                                                                         To the extent the government seeks to admit this
                                                                         exhibit solely for row 68, Defendants object to
                                                                         the admission of the entire document with or
                                                                         without redactions. Should the Court find this
                                                                         document admissible, Defendants request
                                                                         government admits this text message as a
                                                                         standalone entry.

                                                                         Hearsay - This exhibit was not on the
                                                                         government's James log and therefore should
                                                                         not be admitted under Rule 801(d)(2)(E). The
                                                                         Court has previously sustained hearsay
                                                                         objections to exhibits not on the James Log (see
                                                                         11.5.21 Trial Tr. at 1798:11-18). To the extent
                                                                         the government seeks to admit this exhibit
                                                                         through the exceptions listed in its James log it
                                                                         filed 1.27.22, specifically A, B, F, and H, the
                                                                         government has made no showing that these
                                                                         objections apply.

                                                                         Limiting Instruction - To the extent the Court
                                                                         determines this exhibit is admissible, there
                                                                         should be a limiting instruction that this exhibit
                                                                         can only be considered against the declarant.




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                    Objections             Citation)
GX 9010    Excerpt of Excel Authenticity -           Admitted without      Authentication - This document has not been        This exhibit is in the nature of a contact
           spreadsheet      Continuing objection     witness (11.18.21     authenticated for admission at retrial (FRE 901). list; there is a non-hearsay basis to
           titled Contacts  with no specific grounds Unofficial Tr. at.                                                       admit contact lists to demonstrate that a
           (2946) undated stated                     29:22-24)             Limiting Instruction - This exhibit is only        given conspirator had the contact
           (CLAXTON                                                        admissible for the limited purpose for which it    information of another conspirator.
           0181697).        Lack of Foundation                             was admitted at the first trial: to show that co-  There is nothing misleading about the
                            and Relevancy - There                          conspirators had knowledge of how to contact       information and the risk of unfair
                            is no foundation without                       each other (11.18.21 Unofficial Tr. at. 29:22-24). prejudice does not substantially
                            a sponsoring witness to                                                                           outweigh the probative value. The
                            establish how Mr.                                                                                 Court will deny the request for a limiting
                            Brady's contacts from                                                                             instruction. Admissible pending
                            his cell phone are                                                                                authentication.
                            relevant to this case.
                            The Government
                            proffered an explanation
                            for relevancy but that
                            does not properly
                            establish the foundation
                            to admit this document
                            without a sponsoring
                            witness. Additionally,
                            there is no evidence of
                            when these contacts
                            were created - if they
                            were created before or
                            after the alleged
                            conspiracy period.

                            Hearsay - This is not a
                            co-conspirator
                            declaration and the
                            information within Mr.




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 Exhibit     Description           Prior Defense         Prior Ruling (Tr.                    New Objections                               Court's New Ruling
                                     Objections              Citation)
GX 9026    Email chain       Relevance; hearsay; not Admitted without a       Authentication - This document has not been        Admissible against Mr. Lovette under
           between Bill      included on the James witness only against       authenticated for admission at retrial (FRE 901). FRE 801(d)(2)(A) pending
           Lovette, Fabio    Log. (11.18.21 Unofficial Lovette                                                                   authentication.
           Sandri, Jayson    Tr. at 146:18-147:9);     (11.18.21 Unofficial   Limiting Instruction - This exhibit should be
           Penn, and         Hearsay within hearsay - Tr. at 148:12-14)       subject to the same limiting instruction as at the Limiting Instruction: this exhibit may be
           Stacey Crump on This email involves the                            first trial: it may only be considered against Mr. considered against Mr. Lovette only.
           or about          transmission of hearsay                          Lovette. (11.18.21 Unofficial Tr. at 148:12-14).
           11/16/2011        statement from Ms.
           attaching pricing Stacey Crump and Mr.
           spreadsheet       Penn then forwards it to
           (PILGRIMS-        Mr. Lovette without
           0002820577).      making a statement at
                             all so Ms. Crump's
                             statement would be
                             hearsay within hearsay
                             (11.18.21 Unofficial Tr.
                             at 146:18-147:9);
                             Standing authenticity
                             objection to emails from
                             Pilgrim's server.
                             (11.5.21 Trial Tr. at
                             1742:11-1743:8)




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                     New Objections                             Court's New Ruling
                                  Objections          Citation)
GX 9166    Adobe PDF titled No objections       Admitted through       Authentication - This document has not been       Ruling reserved until February 10, 2022
           Minutes of a                         Sangalis               authenticated for admission at retrial (FRE 901). hearing.
           Regular Meeting                      (10.28.21 Trial Tr. at
           of the Board of                      577:9)                 Relevance - This document is not relevant and
           Directors of                                                the government does not intend to call a witness
           Pilgrim's Pride                                             to lay a foundation establishing its relevance.
           Corporation
           dated on or                                                Hearsay - The Court previously ruled that board
           about 05/02/2013                                           meeting minutes do not meet the business
           (PILGRIMS-                                                 record exception. (10.27.21 Trial Tr. 319:22-
           0006728619).                                               320:14) (ruling on C-116)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                  New Objections                              Court's New Ruling
                                    Objections             Citation)
GX 9264    Document titled Relevance - Mr. Austin Admitted without         Authentication - This document has not been       Admissible pending authentication for
           contacts.backup. like Mr. Brady where the witness               authenticated for admission at retrial (FRE 901). the same reasons given with respect to
           CSV dated on or issue came up similarly (11.18.21 Unofficial                                                      GX 9010.
           about 7/22/2015 is a salesman. His job Tr. at 59-10-13)
           (PILGRIMS-DOJ- is to sell chicken to
           0004505846).     customers. The fact
                            that he has a contact list
                            and in this instance the
                            excerpts from the
                            contact list include many
                            of his colleagues is
                            simply not relevant to
                            any issue in dispute in
                            this case. If there are e-
                            mails that the
                            government seeks to
                            offer, and they have,
                            we'll deal with those e-
                            mails if they come up
                            and they represent
                            communications. The
                            fact that he knows or
                            has in his phone
                            contacts is -- doesn't
                            prove or disprove any
                            fact in dispute in this
                            controversy, so we
                            object to this document.
                            (11.18.21 Unofficial Tr.
                            at 51:13-51:23)

                            Rule 403




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 Exhibit     Description         Prior Defense            Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections                 Citation)
GX 9690    Excel             No objections.             Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                                  Michael Ledford         authenticated for admission at retrial (FRE 901).
           titled UFPC Feed                             (11.8.21 Trial Tr. at
           Flow Through                                 2079:16-17)
           Pricing
           (GEODOJ
           0579331).
GX 9691    Excel             No objections.             Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                                  Michael Ledford         authenticated for admission at retrial (FRE 901).
           titled Fresh 2013                            (11.8.21 Trial Tr. at
           ufpc monthly cost                            2077:5)                 Hearsay (Rule 802)
           model rfp dated
           on or about
           10/10/2012
           (KOCHFOODS-
           0000561603).

GX 9692    Excel            Statements do not          Admitted through         Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E) (Dkt. Michael Ledford          authenticated for admission at retrial (FRE 901). pending authentication.
           titled UFPC Feed No. 395-1 at 31-33)        (11.8.21 Trial Tr. at
           Flow Through                                2074:1-2)
           Pricing For
           Period 1 2013
           KFC Bid dated
           on or about
           10/9/2012 (CLA
           0191550).




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                      New Objections                              Court's New Ruling
                                   Objections              Citation)
GX 9693    Excel            Statements do not        Admitted through          Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
           spreadsheet      satisfy 801(d)(2)(E).    Michael Ledford           authenticated for admission at retrial (FRE 901). pending authentication.
           titled UFPC Cost (Dkt. 395-1 at 35-36) No (11.8.21 Trial Tr. at
           Plus Pricing For additional objections.   2069:9-10)
           Period 2013 Bid
           dated on or
           about 10/10/2012
           (PILGRIMS-
           0002932696).


GX 9694    Excel            No objections.             Admitted through        Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                                 Michael Ledford         authenticated for admission at retrial (FRE 901).
           titled UFPC Cost                            (11.9.21 Trial Tr. at
           Plus Pricing                                2169:23-24)
           dated on or
           about 11/06/2012
           (PILGRIMS-
           0002932789).

GX 9696    Excel             FRE 401 & 403 (no        Admitted through         Authentication - This document has not been       Relevant to showing that Tyson
           spreadsheet       factual basis anyone     Michael Ledford          authenticated for admission at retrial (FRE 901). submitted a bid for the RSCS 2012-
           titled Tyson-Yum from Tyson was            (11.8.21 Trial Tr. at                                                      2013 contract and not unfairly
           Poultry Bid Sheet involved in the alleged 2085:5-15)                                                                  prejudicial. Admissible pending
           Event 2012-2013 collusion). (11.8.21 Trial                                                                            authentication.
           dated on or       Tr. at 2082:1-2085:4)
           about 10/10/2012
           (TY-002544938).




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 Exhibit     Description            Prior Defense            Prior Ruling (Tr.                         New Objections                           Court's New Ruling
                                      Objections                 Citation)
GX 9703    Email chain         Hearsay; FRE 403.          Admitted without a       Authentication - This document has not been         The Court will rule on this separately in
           between Tim         (11.18.21 Unofficial Tr.   witness                  authenticated for admission at retrial (FRE 901). its order on the United States' Motion for
           Mulrenin, Carl      at 62:14-64:7, 66:21-      Admitted only against                                                        Leave to File a Motion to Supplement
           Pepper, Brian       67:24)                     Roberts and              Limiting Instruction - this exhibit should be       James Log and for Reconsideration
           Roberts, Mark                                  Mulrenin. Admitted subject to the same limiting instruction issued at [Docket No. 941].
           Milbrodt, and Tim                              not for the truth of the the first trial: the exhibit can only be considered
           Scheiderer,                                    matter asserted as to against Mr. Roberts and Mr. Mulrenin, and Mr.
           among others, on                               Eddington and            Eddington and Mr. Milbrodt's statements can
           or about                                       Milbrodt, but for the only be considered for their effect on the listener.
           8/13/2014 (TY-                                 effect on the listener.
           000128401).                                    (11.18.21 Unofficial
                                                          Tr. at 68:2-69:6)


GX 9704    Calendar            Hearsay; FRE 403;          Admitted without a     Authentication - This document has not been         Admissible against Mr. Roberts and Mr.
           invitation          relevance; limiting        witness                authenticated for admission at retrial (FRE 901). Mulrenin and Mr. Surekin's statements
           regarding FW:       instruction requested.     Admitted only against                                                      are admissible for the non-hearsay
           COB Tyson           (11.18.21 Unofficial Tr.   Roberts and            Limiting Instruction - this exhibit should be       purpose of effect on the listener.
           including Brian     at 71:16-74:14, 75:10-     Mulrenin. Suerkin's subject to the same limiting instruction issued at
           Roberts, Tim        77:18, 78:7-12)            statements not         the first trial: the exhibit can only be considered Limiting Instruction: the statements of
           Mulrenin, and                                  admitted for the truth against Mr. Roberts and Mr. Mulrenin, and Mr.       Mr. Suerkin can be considered for the
           Pete Suerken on                                of the matter, but     Suerken's statements can only be considered for effect on the listener, but not the truth.
           or about                                       effect on listener.    their effect on the listener.                       The exhibit can only be considered
           9/3/2014 (TY-                                  (11.18.21 Unofficial                                                       against Mr. Mulrenin and Mr. Roberts.
           001492160).                                    Tr. at 77:19-78:6)




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                    Objections              Citation)
GX 9707    Text Message      Rule of Completeness    Admitted without       Authentication - This document has not been          These text messages are relevant to
           from Jayson       (11.9.21 Trial Tr. at   witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).    Mr. Penn's and Mr. Lovette's attitudes
           Penn to Bill      2127:16-2129:22)        Tr. at 2129:21-22)                                                          towards Pilgrim's customers and are
           Lovette and                                                      Relevance - These text messages are internal         admissible pending authentication.
           Fabio Sandri on                                                  communications between three Pilgrim's               Exhibits 449, 450, and 451 are required
           or about                                                         employees talking sarcastically about a              to be admitted at the same time under
           11/9/2014                                                        customer. The communications are not relevant        the rule of completeness.
           (PILGRIMS-DOJ-                                                   and are not related to bids or pricing for that
           0000484965).                                                     customer.

                                                                            Rule of Completeness - As at the first trial, this
                                                                            exhibit must be considered with GXs 449, 450,
                                                                            and 451 (11.9.21 Trial Tr. at 2127:16-2129:22)


GX 9708    Text message     Rule of Completeness     Admitted without       Authentication - This document has not been          These text messages are relevant to
           picture          (11.9.21 Trial Tr. at    witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).    Mr. Penn and Mr. Lovette's attitudes
           attachment dated 2127:16-2129:22)         Tr. at 2129:21-22)                                                          towards Pilgrim's customers and Golden
           on or about                                                      Relevance - These text messages are internal         Corral prices and are admissible
           11/9/2014                                                        communications between three Pilgrim's               pending authentication.
           (PILGRIMS-DOJ-                                                   employees talking sarcastically about a
           0000484966).                                                     customer. The communications are not relevant        Exhibits 449, 450, and 451 are required
                                                                            and are not related to bids or pricing for that      to be admitted at the same time under
                                                                            customer.                                            the rule of completeness.

                                                                            Rule of Completeness - As at the first trial, this
                                                                            exhibit must be considered with GXs 449, 450,
                                                                            and 451 (11.9.21 Trial Tr. at 2127:16-2129:22)




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 Exhibit     Description          Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections                Citation)
GX 9709    Text message     Hearsay (not on James     Hearsay objection       Authentication - This document has not been        Inadmissible as hearsay because was
           from Jayson to   log); Rule of             sustained, admitted     authenticated for admission at retrial (FRE 901). not on the James log, but is admissible
           fsandri@gmail.co completeness (11.9.21     without witness for                                                        for the non-hearsay purpose of effect on
           m and Bill       Trial Tr. at 2115:7-      the effect on the       Relevance - These text messages are internal the listener.
           Lovette on or    2123:11)                  listener or recipient   communications between three Pilgrim's
           about 11/9/2014                            (11.9.21 Trial Tr. at   employees talking sarcastically about a            These text messages are relevant to
           (PILGRIMS-DOJ-                             2123:12-19)             customer. The communications are not relevant Mr. Penn and Mr. Lovette's attitudes
           0004653654).                                                       and are not related to bids or pricing for that    towards Pilgrim's customers and Golden
                                                                              customer.                                          Corral prices and are admissible
                                                                                                                                 pending authentication.
                                                                              Limiting Instruction - If admitted, the exhibit
                                                                              should be subject to the same limiting instruction Limiting Instruction: this exhibit can be
                                                                              offered at the first trial: the exhibit can be     considered only for the effect on the
                                                                              considered only for its effect on the listener or  listener, and not for the truth of the
                                                                              recipient.                                         matter.

GX 9710    Email between    Standing authenticity     Admitted through        Authentication - This document has not been       Admissible pending authentication.
           registration@co objection to emails from   Michael Ledford         authenticated for admission at retrial (FRE 901).
           mbinenet.com     Pilgrim's server.         (11.9.21 Trial Tr. at
           and Roger Austin (11.5.21 Trial Tr. at     2162:7)
           on or about      1742:11-1743:8)
           9/26/2012
           (PILGRIMS-DOJ-
           0001228617).

GX 9711    Text message     No prior objections       Admitted without       Authentication - This document has not been         These text messages are relevant to
           from Fabio                                 witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   Mr. Penn's and Mr. Lovette's attitudes
           Sandri to Jayson                           Tr. at 2236:12-13)                                                         towards Pilgrim's customers and the
           Penn and Bill                                                     Relevance - These text messages are internal        prices Pilgrim's charged Golden Corral
           Lovette dated on                                                  communications between three Pilgrim's              and are admissible pending
           or about                                                          employees talking sarcastically about a             authentication.
           11/9/2014                                                         customer. The communications are not relevant
           (PILGRIMS-DOJ-                                                    and are not related to bids or pricing for that
           0000484949).                                                      customer.




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 Exhibit     Description          Prior Defense            Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                    Objections                  Citation)
GX 9712    Text message       No prior objections        Admitted without       Authentication - This document has not been         These text messages are relevant to
           from Fabio                                    witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   Mr. Penn and Mr. Lovette's attitudes
           Sandri to Jayson                              Tr. at 2236:12-13)                                                         towards Pilgrim's customers and the
           Penn and Bill                                                        Relevance - These text messages are internal        prices Pilgrim's charged Golden Corral
           Lovette dated on                                                     communications between three Pilgrim's              and are admissible pending
           or about                                                             employees talking sarcastically about a             authentication.
           11/9/2014                                                            customer. The communications are not relevant
           (PILGRIMS-DOJ-                                                       and are not related to bids or pricing for that
           0000484950).                                                         customer.

GX 9713    Picture dated on No prior objections          Admitted without       Authentication - This document has not been         These text messages are relevant to
           or about                                      witness (11.9.21 Trial authenticated for admission at retrial (FRE 901).   Mr. Penn and Mr. Lovette's attitudes
           11/9/2014                                     Tr. at 2236:18-21)                                                         towards Pilgrim's customers and Golden
           (PILGRIMS-DOJ-                                                       Relevance - These text messages are internal        Corral prices and are admissible
           0000484951).                                                         communications between three Pilgrim's              pending authentication.
                                                                                employees talking sarcastically about a
                                                                                customer. The communications are not relevant
                                                                                and are not related to bids or pricing for that
                                                                                customer.

GX 9714    Email from        Relevance; cumulative;      Admitted without a    Authentication - This document has not been          Admissible only against Mr. Mulrenin
           Timothy Mulrenin FRE 403; denial of right     witness               authenticated for admission at retrial (FRE 901).    under 801(d)(2)(A) pending
           to various Tyson of confrontation; limiting   Admitted only against                                                      authentication. Court rejects arguments
           Employees on or instruction requested.        Mulrenin.                                                                  based on cumualtive nature, Rule 403,
           about 2/11/ 2014 (11.12.21 Unofficial Tr.     (11.12.21 Unofficial                                                       relevance, and violation of the right of
           about Chick-fil-A at 80:20-81:15, 83:8-       Tr. at 85:17-20)                                                           confrontation.
           NAE Press         84:20, 85:9-16)
           Release (TY-                                                                                                             Limiting Instruction: the jury may
           000618801).                                                                                                              consider this exhibit against Mr.
                                                                                                                                    Mulrenin only.




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 Exhibit     Description            Prior Defense           Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                      Objections                 Citation)
GX 9715    Attachment to       Hearsay; cumulative;       Admitted without a    Authentication - This document has not been         Admissible only against Mr. Mulrenin
           email titled Chick- denial of right of         witness               authenticated for admission at retrial (FRE 901).   under 801(d)(2)(A) pending
           Fil-A Press         confrontation; limiting    Admitted only against                                                     authentication. Court rejects arguments
           release dated on instruction requested.        Mulrenin.                                                                 based on cumualtive nature, Rule 403,
           or about            (11.12.21 Unofficial Tr.   (11.12.21 Unofficial                                                      relevance, and violation of the right of
           2/11/2014 (TY- at 80:13-19, 84:17-20,          Tr. at 85:17-20)                                                          confrontation.
           000618802).         85:9-16)
                                                                                                                                Limiting Instruction: the jury may
                                                                                                                                consider this exhibit against Mr.
                                                                                                                                Mulrenin only.
GX 9718    Excel            Relevance; hearsay; not Admitted without        Authentication - This document has not been         Admissible against Mr. Lovette under
           spreadsheet      included on the James witness                   authenticated for admission at retrial (FRE 901). FRE 801(d)(2)(A) pending
           titled UFPC Cost Log. (11.18.21 Unofficial Admitted only against                                                     authentication. Objection based on
           Plus Pricing     Tr. at 146:18-147:9)      Lovette               Limiting Instruction - this exhibit should be       relevance overruled.
           undated                                    (11.18.21 Unofficial subject to the same limiting instruction issued at
           (PILGRIMS-                                 Tr. at 148:12-14)     the first trial: the exhibit can only be considered Limiting Instruction: this exhibit may be
           0002820578).                                                     against Mr. Lovette.                                considered against Mr. Lovette only.

GX 9723    Excel            No objections.                Admitted without a     Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                                    witness                authenticated for admission at retrial (FRE 901).
           titled PILGRIM'S                               (11.12.21 Unofficial
           PRIDE                                          Tr. at 176:14-19)
           CORPORATION
           POPEYES
           COST PLUS
           MONTHLY
           PRICING
           2018/2019
           Pricing Proposal
           undated
           (PILGRIMS-DOJ-
           0000412082).




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                                   Objections           Citation)
GX 9724    Excel             No objections.      Admitted without a     Authentication - This document has not been       Admissible pending authentication.
           spreadsheet                           witness                authenticated for admission at retrial (FRE 901).
           titled Tyson                          (11.12.21 Unofficial
           Foods, INC.                           Tr. at 178:23-179:2)
           Popeyes Cost
           Plus Monthly
           Pricing 2018
           Proposed Model
           using Kent's
           Grain
           Assumptions,
           undated (TY-
           000722085).
GX 9726    Document titled No objections.        Admitted through       Authentication - This document has not been       Admissible pending authentication.
           Contract No.                          Joseph Brink           authenticated for admission at retrial (FRE 901).
           214188P dated                         (11.17.21 Brink Tr. at
           on or about                           100:5)
           12/17/2014
           (POLLO-ATR001-
           00000064).

GX 9740    Email chain       No objections.      Admitted through       Authentication - This document has not been       Admissible pending authentication.
           between Walter                        Joseph Brink           authenticated for admission at retrial (FRE 901).
           Cooper and Joe                        (11.16.21 Brink Tr. at
           Brink dated on or                     27:3)
           about 9/22/2014
           (POLCHKED000
           0133954).




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 Exhibit     Description         Prior Defense            Prior Ruling (Tr.                       New Objections                               Court's New Ruling
                                  Objections                   Citation)
GX 9744    Email chain     Objected to as               Admitted without          Authentication - This document has not been       There is additional time zone
           between Jason cumulative because             witness, no limiting      authenticated for admission at retrial (FRE 901). information included in this version of
           McGuire and     different versions of this   instruction (11.23.21                                                       the email; the objection based on
           Jayson Penn     same document were           Unofficial Tr. at 14:4-   Cumulative - There is no reason to admit          cumulative nature is overruled. The
           dated on or     already admitted (e.g.,      16)                       multiple versions of the same document at         request for a limiting instruction is
           about 8/18/2014 GX 1074, see 11.23.21                                  retrial.                                          denied because it would confuse the
           (PILGRIMS-DOJ- Unofficial Tr. at 13:3-                                                                                   jury and the time conversion is not a
           0001527546).    16); Standing                                                                                            statement. Exhibit is admissible
                           authenticity objection to                                                                                pending authentication.
                           emails from Pilgrim's
                           server (11.5.21 Trial Tr.
                           at 1742:11-1743:8);
                           Limiting instruction
                           sought because this
                           version of document
                           was not on James log
                           (11.23.21 Unofficial Tr.
                           at 14:10-12)

GX 9745    Email chain       No objections, redaction Admitted without            Authentication - This document has not been       Admissible pending authentication.
           between Eric      of "confidential" sought witness (11.23.21           authenticated for admission at retrial (FRE 901).
           Oare, Chris       (11.23.21 Unofficial Tr. Unofficial Tr. at 44:4)                                                       Redaction: the Court will discuss with
           Sharp, Kent       at 43:9-16)                                          Redaction - GX 9745 should be redacted in the the parties the nature of redacting
           Kronauge,                                                              same manner as at the first trial.                "confidential" and similar markers from
           Walter Cooper,                                                                                                           exhibits at the February 10, 2022
           Mikell Fries, and                                                                                                        hearing.
           others on or
           about 12/28/2012
           (TY-000914428).




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 Exhibit     Description         Prior Defense         Prior Ruling (Tr.                     New Objections                                Court's New Ruling
                                   Objections              Citation)
GX 9746    Email out of     No objections, redaction Admitted without        Authentication - This document has not been          Admissible pending authentication.
           office from Eric of "confidential" sought witness (11.23.21       authenticated for admission at retrial (FRE 901).
           Oare to Brian    (11.23.21 Unofficial Tr. Unofficial Tr. at 44:4)                                                      Redaction: the Court will discuss with
           Roberts on or    at 43:9-16)                                      Redaction - GX 9745 should be redacted in the        the parties the nature of redacting
           about 10/15/2012                                                  same manner as at the first trial.                   "confidential" and similar markers from
           (TY-000913089).                                                                                                        exhibits at the February 10, 2022
                                                                                                                                  hearing.
GX 9747    Email chain      No objections, redaction Admitted without         Authentication - This document has not been         Admissible pending authentication.
           between Eric     of "confidential" sought witness (11.23.21        authenticated for admission at retrial (FRE 901).
           Oare and Scott (11.23.21 Unofficial Tr. Unofficial Tr. at 44:4)                                                  Redaction: the Court will discuss with
           Tucker on or     at 43:9-16)                                       Redaction - GX 9745 should be redacted in the the parties the nature of redacting
           about 11/27/2012                                                   same manner as at the first trial.            "confidential" and similar markers from
           (PILGRIMS-DOJ-                                                                                                   exhibits at the February 10, 2022
           0002182676).                                                                                                     hearing.


GX 9748    Stipulation on   N/A                        Admitted through       No objections                                       Admissible
           Phone Numbers                               Rachel Evans
           and Places of                               (11.23.21 Unofficial
           Employment.                                 Tr. at 109:15)
GX 9752    Excel            N/A                        New exhibit            Authentication - Document has not been              Ruling reserved until February 10, 2022
           spreadsheet                                                        authenticated (FRE 901).                            hearing.
           titled Price
           Reduction Impact                                                   Hearsay - This exhibit was not on the
           dated on or                                                        government's James log . The Court has
           about 11/29/2012                                                   previously sustained hearsay objections to
           (PILGRIMS-                                                         exhibits not on James log (see 11.5.21 Trial Tr.
           0005252998).                                                       at 1798:11-18).




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 Exhibit     Description          Prior Defense        Prior Ruling (Tr.                  New Objections                               Court's New Ruling
                                   Objections              Citation)
GX 9753    Email chain      N/A                      New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           between Roger                                                   authenticated for admission at retrial (FRE 901). hearing.
           Austin and Scott
           Tucker on or
           about 11/29/2012
           (PILGRIMS-
           0005997726).

GX 9759    Excerpt of       Columns have been         Admitted without     Authentication - This document has not been       Ruling reserved until February 10, 2022
           document titled removed from this          witness (11.22.21    authenticated for admission at retrial (FRE 901). hearing.
           contacts.backup. version and entire native Unofficial Tr. at
           CSV dated on or document should come 157:9)                     Hearsay (Rule 802)
           about 7/22/2015 in instead (11.22.21
           (PILGRIMS-DOJ- Unofficial Tr. at 156:9-
           0004505846).     15)


GX 9790    Agri Stats       N/A                      New exhibit           Authentication - This document has not been        Ruling reserved until February 10, 2022
           Processing                                                      authenticated (FRE 901).                           hearing.
           Analysis: Small
           Bird Weight                                                     Hearsay (Rule 802)
           (PILGRIMS-
           0000033197)
GX 9791    Email between    N/A                      New exhibit           Authentication - This document has not been        Ruling reserved until February 10, 2022
           Eric Oare and                                                   authenticated and cannot be authenticated          hearing.
           Justin Gay on or                                                without a sponsoring witness (FRE 901).
           about 2/6/2015
           attaching Excel                                                 Hearsay - Eric Oare is sending this document to
           spreadsheet                                                     Justin Gay. Eric Oare is not a party opponent or
           (PILGRIMS-                                                      a co-conspirator and therefore this is not
           0005813309).                                                    801(d)(2)(e) statement. This is also no
                                                                           foundation to support that this document is a
                                                                           record kept and relied upon in the ordinary
                                                                           course of business.




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                  New Objections                               Court's New Ruling
                                  Objections           Citation)
GX 9792    Excel           N/A                   New exhibit           Authentication - The document has not been         Ruling reserved until February 10, 2022
           spreadsheet                                                 authenticated and cannot be authenticated          hearing.
           titled SBD 2015                                             without a sponsoring witness (FRE 901).
           Price Increase
           List (PILGRIMS-                                             Hearsay - Eric Oare is sending this document to
           0005813310).                                                Justin Gay. Eric Oare is not a party opponent or
                                                                       a co-conspirator and therefore this is not
                                                                       801(d)(2)(e) statement.

GX 9793    Email between   N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           Brian Roberts                                               401/402).                                        hearing.
           and Andy Lubert                                             Authentication - This document has not been
           on or about                                                 authenticated (FRE 901).
           8/22/2014 (TY-                                              Lack of foundation (FRE 104)
           000939545).                                                 Hearsay (FRE 802)
                                                                       Rule 404 - Evidence of other acts for which no
                                                                       written notice given
                                                                       Rule 403 - Alleged probative value substantially
                                                                       outweighed by danger of unfair prejudice;
                                                                       Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9794    Email between    N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           Brian Roberts,                                               401/402).                                        hearing.
           Carla Byrd, Kim                                              Authentication - This document has not been
           Beatty, Andy                                                 authenticated (FRE 901).
           Lubert, and Mike                                             Lack of foundation (FRE 104)
           Brown, on or                                                 Hearsay (FRE 802)
           about 11/11/2014                                             Rule 404 - Evidence of other acts for which no
           (TY-000942344).                                              written notice given
                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time
                                                                        Rule 105 - Inadmissible against other parties




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                                    Objections           Citation)
GX 9795    Email chain       N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           between Andy                                                  401/402).                                        hearing.
           Lubert, Heather                                               Authentication - This document has not been
           Jensen, Brad                                                  authenticated (FRE 901).
           Johnston, Brian                                               Lack of foundation (FRE 104)
           Roberts, and                                                  Hearsay (FRE 802)
           Mike Brown,                                                   Rule 404 - Evidence of other acts for which no
           among others, on                                              written notice given
           or about                                                      Rule 403 - Alleged probative value substantially
           11/17/2014                                                    outweighed by danger of unfair prejudice;
           attaching Excel                                               Alleged probative value substantially outweighed
           spreadsheet and                                               by danger of confusing the issues or misleading
           PowerPoint                                                    the jury; Alleged probative value substantially
           presentation (TY-                                             outweighed by danger of undue delay or waste
           000975971).                                                   of time; Needlessly cumulative evidence
                                                                         Rule 105 - Inadmissible against other parties




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 9796    Excel              N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           spreadsheet                                                    401/402).                                        hearing.
           titled FS National                                             Authentication - This document has not been
           Account                                                        authenticated (FRE 901).
           Organization                                                   Lack of foundation (FRE 104)
           L4v2.xlsx dated                                                Hearsay (FRE 802)
           on or about                                                    Rule 404 - Evidence of other acts for which no
           11/17/2014 (TY-                                                written notice given
           000975973).                                                    Rule 403 - Alleged probative value substantially
                                                                          outweighed by danger of unfair prejudice;
                                                                          Alleged probative value substantially outweighed
                                                                          by danger of confusing the issues or misleading
                                                                          the jury; Alleged probative value substantially
                                                                          outweighed by danger of undue delay or waste
                                                                          of time; Needlessly cumulative evidence
                                                                          Rule 105 - Inadmissible against other parties




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 9797    PowerPoint         N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           presentation                                                   401/402).                                        hearing.
           titled FS National                                             Authentication - This document has not been
           Account Sales L4                                               authenticated (FRE 901).
           Organizationv5.p                                               Lack of foundation (FRE 104)
           ptx dated on or                                                Hearsay (FRE 802)
           about 11/14/2014                                               Rule 404 - Evidence of other acts for which no
           (TY-000975974).                                                written notice given
                                                                          Rule 403 - Alleged probative value substantially
                                                                          outweighed by danger of unfair prejudice;
                                                                          Alleged probative value substantially outweighed
                                                                          by danger of confusing the issues or misleading
                                                                          the jury; Alleged probative value substantially
                                                                          outweighed by danger of undue delay or waste
                                                                          of time
                                                                          Rule 105 - Inadmissible against other parties




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                                   Objections           Citation)
GX 9798    Email between    N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           Brandon                                                      401/402).                                        hearing.
           Campbell, Andy                                               Authentication - This document has not been
           Lubert, Brian                                                authenticated (FRE 901).
           Roberts, Tim                                                 Lack of foundation (FRE 104)
           Mulrenin, and                                                Hearsay (FRE 802)
           Charlie Solomon,                                             Rule 404 - Evidence of other acts for which no
           among others, on                                             written notice given
           or about                                                     Rule 403 - Alleged probative value substantially
           8/8/2014,                                                    outweighed by danger of unfair prejudice;
           attaching Excel                                              Alleged probative value substantially outweighed
           spreadsheet (TY-                                             by danger of confusing the issues or misleading
           001230711).                                                  the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                  Objections           Citation)
GX 9799    Excel           N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           spreadsheet                                                 401/402).                                        hearing.
           titled                                                      Authentication - This document has not been
           CFA_2015Pricin                                              authenticated (FRE 901).
           gSummary.xlsx                                               Lack of foundation (FRE 104)
           dated on or                                                 Hearsay (FRE 802)
           about 8/8/2014                                              Rule 404 - Evidence of other acts for which no
           (TY-001230712).                                             written notice given
                                                                       Rule 403 - Alleged probative value substantially
                                                                       outweighed by danger of unfair prejudice;
                                                                       Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9800    Email chain      N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           between Brandon                                              401/402).                                        hearing.
           Campbell, Brian                                              Authentication - This document has not been
           Roberts, and Tim                                             authenticated (FRE 901).
           Mulrenin, among                                              Lack of foundation (FRE 104)
           others, on or                                                Hearsay (FRE 802)
           about 9/3/2014                                               Rule 404 - Evidence of other acts for which no
           attaching Excel                                              written notice given
           spreadsheet (TF-                                             Rule 403 - Alleged probative value substantially
           0003607746).                                                 outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative evidence
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9801    Excel            N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           spreadsheet                                                  401/402).                                        hearing.
           titled Tyson                                                 Authentication - This document has not been
           Foods, Inc.                                                  authenticated (FRE 901).
           Popeyes Cost                                                 Lack of foundation (FRE 104)
           Plus Monthly                                                 Hearsay (FRE 802)
           Pricing 2015                                                 Rule 404 - Evidence of other acts for which no
           Pricing Model                                                written notice given
           dated on or                                                  Rule 403 - Alleged probative value substantially
           about 9/3/2014                                               outweighed by danger of unfair prejudice;
           (TF-                                                         Alleged probative value substantially outweighed
           0003607747).                                                 by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time; Needlessly cumulative evidence
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                  Objections           Citation)
GX 9802    Email chain     N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           between Steven                                              401/402). Authentication - This document has hearing.
           Cullen and Andy                                             not been authenticated (FRE 901).
           Lubert on or                                                Lack of foundation (FRE 104)
           about 10/8/2014                                             Hearsay (FRE 802)
           (TY-003871943).                                             Rule 404 - Evidence of other acts for which no
                                                                       written notice given
                                                                       Rule 403 - Alleged probative value substantially
                                                                       outweighed by danger of unfair prejudice;
                                                                       Alleged probative value substantially outweighed
                                                                       by danger of confusing the issues or misleading
                                                                       the jury; Alleged probative value substantially
                                                                       outweighed by danger of undue delay or waste
                                                                       of time
                                                                       Rule 105 - Inadmissible against other parties




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 Exhibit     Description             Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                      Objections           Citation)
GX 9803    Email chain         N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           between Justin                                                  401/402).                                        hearing.
           Gay, Thomas                                                     Authentication - This document has not been
           Lane, and Tim                                                   authenticated (FRE 901).
           Stiller on or about                                             Lack of foundation (FRE 104)
           9/12/2014                                                       Hearsay (FRE 802)
           attaching Excel                                                 Rule 404 - Evidence of other acts for which no
           spreadsheet                                                     written notice given
           (PILGRIMS-DOJ-                                                  Rule 403 - Alleged probative value substantially
           0003843930).                                                    outweighed by danger of unfair prejudice;
                                                                           Alleged probative value substantially outweighed
                                                                           by danger of confusing the issues or misleading
                                                                           the jury; Alleged probative value substantially
                                                                           outweighed by danger of undue delay or waste
                                                                           of time
                                                                           Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9804    Excel            N/A                   New exhibit           Relevance - Irrelevant and inadmissible (FRE     Ruling reserved until February 10, 2022
           spreadsheet                                                  401/402).                                        hearing.
           titled Popeye's                                              Authentication - This document has not been
           2015 Pricing                                                 authenticated (FRE 901).
           Model 14-09-12                                               Lack of foundation (FRE 104)
           Final (PILGRIMS-                                             Hearsay (FRE 802)
           DOJ-                                                         Rule 404 - Evidence of other acts for which no
           0003843931).                                                 written notice given
                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time
                                                                        Rule 105 - Inadmissible against other parties




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                   New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9805    Handwritten note N/A                   New exhibit           Authentication - This document has not been       Ruling reserved until February 10, 2022
           and business                                                 authenticated for admission at retrial and cannot hearing.
           card of Bill                                                 be authenticated without a sponsoring witness
           Lovette                                                      (FRE 901).
           (PILGRIMS-DOJ-
           0000509405).                                                 Relevance - There is no dispute that Bill Lovette
                                                                        was the CEO of Pilgrim's Pride and therefore this
                                                                        document has no relevance.

                                                                        Hearsay - This exhibit was not on the
                                                                        government's James log and therefore should
                                                                        not be admitted under Rule 801(d)(2)(E). There
                                                                        is no evidence to show this document is a
                                                                        "statement" within the meaning of Rule
                                                                        801(d)(2)(A). To the extent the Court finds this
                                                                        exhibit to constitute or contain a statement, this
                                                                        document is not admissible as a statement of a
                                                                        party opponent because there is nothing to
                                                                        establish who wrote these notes. This document
                                                                        was available prior to filing the James log, the
                                                                        James hearing, and the first trial, therefore the
                                                                        government has both failed to show this is a co-
                                                                        conspirator statement and has waived its ability
                                                                        to do so.

                                                                        Chain of Custody - The proper chain of custody
                                                                        has not been established as to the receipt,
                                                                        storage, copying, and production of handwritten
                                                                        notes as appear in this exhibit.

                                                                        Best Evidence Rule - The photocopying quality
                                                                        makes this exhibit difficult to read, so the




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                    New Objections                                   Court's New Ruling
                                 Objections           Citation)
GX 9806    Handwritten    N/A                   New exhibit           Authentication - This document has not been              Ruling reserved until February 10, 2022
           notes by Bill                                              authenticated and cannot be authenticated                hearing.
           Lovette                                                    without a sponsoring witness (FRE 901).
           (PILGRIMS-DOJ-
           0000509421).                                               Chain of Custody - The proper chain of custody
                                                                      has not been established as to the receipt,
                                                                      storage, copying, and production of handwritten
                                                                      notes as appear in this exhibit.

                                                                      Best Evidence Rule - The photocopying quality
                                                                      makes this exhibit difficult to read, so the
                                                                      government should not be permitted to admit a
                                                                      copy.

                                                                      Relevance - The document is not relevant and
                                                                      the government does not intend to call a witness
                                                                      to lay a foundation establishing its relevance. To
                                                                      the extent the Government is trying to offer this
                                                                      to establish this is Bill Lovette's handwriting, it is
                                                                      improper and insufficient to lay the proper
                                                                      foundation that this note was actually written by
                                                                      Bill Lovette.

                                                                      Limiting Instruction - To the extent the Court
                                                                      determines this exhibit is admissible, there
                                                                      should be a limiting instruction that this exhibit
                                                                      can only be considered against the declarant.




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                  Objections           Citation)
GX 9807    Handwritten     N/A                   New exhibit           Authentication - This document has not been        Reserved until February 10, 2022
           notes of Jayson                                             authenticated and cannot be authenticated          hearing.
           Penn (PILGRIMS-                                             without a sponsoring witness (FRE 901).
           DOJ-
           0000511682).                                                Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,
                                                                       storage, copying, and production of handwritten
                                                                       notes as appear in this exhibit.

                                                                       Limiting Instruction - If admitted, it should be
                                                                       subject to a limiting instruction that those
                                                                       statements cannot be considered against
                                                                       defendants other than the declarant.




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                                  Objections           Citation)
GX 9808    Handwritten     N/A                   New exhibit           Authentication - This document has not been        Reserved until February 10, 2022
           notes of Jayson                                             authenticated and cannot be authenticated          hearing.
           Penn (PILGRIMS-                                             without a sponsoring witness (FRE 901).
           DOJ-
           0000511886).                                                Hearsay - This exhibit was not on the
                                                                       government's James log and therefore should
                                                                       not be admitted under Rule 801(d)(2)(E). The
                                                                       Court has previously sustained hearsay
                                                                       objections to exhibits not on James log (see
                                                                       11.5.21 Trial Tr. at 1798:11-18).

                                                                       Chain of Custody - The proper chain of custody
                                                                       has not been established as to the receipt,
                                                                       storage, copying, and production of handwritten
                                                                       notes as appear in this exhibit.

                                                                       Best Evidence Rule - The photocopying quality
                                                                       makes this exhibit difficult to read, so the
                                                                       government should not be permitted to admit a
                                                                       copy.

                                                                       Limiting Instruction - If admitted, it should be
                                                                       subject to a limiting instruction that those
                                                                       statements cannot be considered against
                                                                       defendants other than the declarant.




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                                   Objections           Citation)
GX 9810    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice on                                             Relevance - Irrelevant and inadmissible (FRE     hearing.
           or about                                                     401/402)
           6/21/2017 (TY-                                               Rule 403 - Alleged probative value outweighed
           000693098).                                                  by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9811    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Catherine Breck,                                             401/402)
           Shalanna                                                     Rule 403 - Alleged probative value outweighed
           Thronton, and                                                by danger of unfair prejudice, confusing or
           Myra                                                         misleading the jury and waste of time.
           Eichenberger on                                              Rule 404 - Evidence of other acts for which no
           or about                                                     notice was given.
           7/26/2017 (TY-                                               Hearsay (FRE 801/802)
           000694682).                                                  Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9812    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice on                                             Relevance - Irrelevant and inadmissible (FRE     hearing.
           or about                                                     401/402)
           7/12/2017 (TY-                                               Rule 403 - Alleged probative value outweighed
           000694683).                                                  by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9813    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Winford Parsons,                                             401/402)
           Catherine Breck,                                             Rule 403 - Alleged probative value outweighed
           and Myra                                                     by danger of unfair prejudice, confusing or
           Eichenberger on                                              misleading the jury and waste of time.
           or about                                                     Rule 404 - Evidence of other acts for which no
           7/28/2017 (TY-                                               notice was given.
           000694805).                                                  Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9814    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice on                                             Relevance - Irrelevant and inadmissible (FRE     hearing.
           or about                                                     401/402)
           7/25/2017 (TY-                                               Rule 403 - Alleged probative value outweighed
           000694806).                                                  by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9815    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Winford Parsons,                                             401/402)
           Catherine Breck,                                             Rule 403 - Alleged probative value outweighed
           and Myra                                                     by danger of unfair prejudice, confusing or
           Eichenberger on                                              misleading the jury and waste of time.
           or about                                                     Rule 404 - Evidence of other acts for which no
           7/28/2017 (TY-                                               notice was given.
           000695236).                                                  Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9816    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 8/1/2017                                               Rule 403 - Alleged probative value outweighed
           (TY-000695237).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9817    Email chain      N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Carl                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Pepper,                                                      401/402)
           Catherine Breck,                                             Rule 403 - Alleged probative value outweighed
           Christine Davis,                                             by danger of unfair prejudice, confusing or
           Penny Clark, and                                             misleading the jury and waste of time.
           Angela Larsen,                                               Rule 404 - Evidence of other acts for which no
           among others on                                              notice was given.
           or about                                                     Hearsay (FRE 801/802)
           8/8/2017 (TY-                                                Authentication - This document has not been
           000695391).                                                  authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9818    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 7/27/2017                                              Rule 403 - Alleged probative value outweighed
           (TY-000695394).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9819    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 7/27/2017                                              Rule 403 - Alleged probative value outweighed
           (TY-000695395).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9820    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 7/27/2017                                              Rule 403 - Alleged probative value outweighed
           (TY-000695396).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9821    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 8/7/2017                                               Rule 403 - Alleged probative value outweighed
           (TY-000695397).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9822    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Myra                                                         401/402)
           Eichenberger,                                                Rule 403 - Alleged probative value outweighed
           Catherine Breck,                                             by danger of unfair prejudice, confusing or
           and Jackie                                                   misleading the jury and waste of time.
           Schriver on or                                               Rule 404 - Evidence of other acts for which no
           about 9/12/2017,                                             notice was given.
           attaching PDF                                                Hearsay (FRE 801/802)
           (TY-000697452).                                              Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9823    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 9/7/2017                                               Rule 403 - Alleged probative value outweighed
           (TY-000697453).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9824    Email between   N/A                    New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Myra                                                         401/402)
           Eichenberger,                                                Rule 403 - Alleged probative value outweighed
           and Catherine                                                by danger of unfair prejudice, confusing or
           Breck on or                                                  misleading the jury and waste of time.
           about 9/12/2017                                              Rule 404 - Evidence of other acts for which no
           attaching PDF                                                notice was given.
           (TY-000697454).                                              Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9825    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 9/7/2017                                               Rule 403 - Alleged probative value outweighed
           (TY-000697455).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9826    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Catherine Breck,                                             401/402)
           Jackie Schriver,                                             Rule 403 - Alleged probative value outweighed
           Myra                                                         by danger of unfair prejudice, confusing or
           Eichenberger,                                                misleading the jury and waste of time.
           and Shalanna                                                 Rule 404 - Evidence of other acts for which no
           Thornton on or                                               notice was given.
           about 9/14/2017                                              Hearsay (FRE 801/802)
           attaching                                                    Authentication - This document has not been
           document (TY-                                                authenticated (FRE 901).
           000697768).
GX 9827    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Foods                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           Route Sales                                                  401/402)
           dated on or                                                  Rule 403 - Alleged probative value outweighed
           about 8/28/2017                                              by danger of unfair prejudice, confusing or
           (TY-000697769).                                              misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9828    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper,                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Catherine Breck,                                             401/402)
           Jackie Schriver,                                             Rule 403 - Alleged probative value outweighed
           Myra                                                         by danger of unfair prejudice, confusing or
           Eichenberger,                                                misleading the jury and waste of time.
           and Shalanna                                                 Rule 404 - Evidence of other acts for which no
           Thornton on or                                               notice was given.
           about 9/14/2017                                              Hearsay (FRE 801/802)
           attaching                                                    Authentication - This document has not been
           document (TY-                                                authenticated (FRE 901).
           000697771).
GX 9829    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Foods                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           Route Sales                                                  401/402)
           dated on or                                                  Rule 403 - Alleged probative value outweighed
           about 9/8/2017                                               by danger of unfair prejudice, confusing or
           (TY-000697772).                                              misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9830    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper, Tim                                             Relevance - Irrelevant and inadmissible (FRE     hearing.
           Mulrenin, Tim                                                401/402)
           Scheiderer, Rich                                             Rule 403 - Alleged probative value outweighed
           Eddington, and                                               by danger of unfair prejudice, confusing or
           Carol Knight,                                                misleading the jury and waste of time.
           among others, on                                             Rule 404 - Evidence of other acts for which no
           or about                                                     notice was given.
           10/23/2015                                                   Hearsay (FRE 801/802)
           attaching                                                    Authentication - This document has not been
           document (TY-                                                authenticated (FRE 901).
           000716895).

GX 9831    Excel            N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled RSCS Cost                                             401/402)
           Plus FOB Pricing                                             Rule 403 - Alleged probative value outweighed
           - Mainland dated                                             by danger of unfair prejudice, confusing or
           on or about                                                  misleading the jury and waste of time.
           11/12/2015 (TY-                                              Rule 404 - Evidence of other acts for which no
           000716897).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9832    Excel            N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled RSCS Cost                                             401/402)
           Plus FOB Pricing                                             Rule 403 - Alleged probative value outweighed
           - Mainland dated                                             by danger of unfair prejudice, confusing or
           on or about                                                  misleading the jury and waste of time.
           7/15/2017 (TY-                                               Rule 404 - Evidence of other acts for which no
           000716992).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9833    Email between   N/A                    New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                              Relevance - Irrelevant and inadmissible (FRE     hearing.
           Carol Knight on                                              401/402)
           or about                                                     Rule 403 - Alleged probative value outweighed
           7/7/2017 (TY-                                                by danger of unfair prejudice, confusing or
           000716993).                                                  misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9834    Excel            N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled RSCS Cost                                             401/402)
           Plus FOB Pricing                                             Rule 403 - Alleged probative value outweighed
           - Mainland dated                                             by danger of unfair prejudice, confusing or
           on or about                                                  misleading the jury and waste of time.
           8/12/2017 (TY-                                               Rule 404 - Evidence of other acts for which no
           000716995).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9835    Email between   N/A                    New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                              Relevance - Irrelevant and inadmissible (FRE     hearing.
           Carol Knight on                                              401/402)
           or about                                                     Rule 403 - Alleged probative value outweighed
           8/4/2017                                                     by danger of unfair prejudice, confusing or
           attaching                                                    misleading the jury and waste of time.
           document (TY-                                                Rule 404 - Evidence of other acts for which no
           000716996).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9836    Excel            N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled RSCS Cost                                             401/402)
           Plus FOB Pricing                                             Rule 403 - Alleged probative value outweighed
           - Mainland dated                                             by danger of unfair prejudice, confusing or
           on or about                                                  misleading the jury and waste of time.
           9/9/2017 (TY-                                                Rule 404 - Evidence of other acts for which no
           000716998).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9837    Email between    N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                              Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                                401/402)
           on or about                                                  Rule 403 - Alleged probative value outweighed
           6/1/2017                                                     by danger of unfair prejudice, confusing or
           attaching Excel                                              misleading the jury and waste of time.
           spreadsheet (TY-                                             Rule 404 - Evidence of other acts for which no
           000720944).                                                  notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 9838    Excel              N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                    Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Cost Plus                                               401/402)
           Changes                                                        Rule 403 - Alleged probative value outweighed
           Popeyes June                                                   by danger of unfair prejudice, confusing or
           2017.xlsx dated                                                misleading the jury and waste of time.
           on or about                                                    Rule 404 - Evidence of other acts for which no
           6/1/2017 (TY-                                                  notice was given.
           000720946).                                                    Hearsay (FRE 801/802)
                                                                          Authentication - This document has not been
                                                                          authenticated (FRE 901).

GX 9839    Email between    N/A                     New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                                  401/402)
           on or about                                                    Rule 403 - Alleged probative value outweighed
           6/29/2017                                                      by danger of unfair prejudice, confusing or
           attaching Excel                                                misleading the jury and waste of time.
           spreadsheet (TY-                                               Rule 404 - Evidence of other acts for which no
           000720947).                                                    notice was given.
                                                                          Hearsay (FRE 801/802)
                                                                          Authentication - This document has not been
                                                                          authenticated (FRE 901).




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 9840    Excel              N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                    Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Cost Plus                                               401/402)
           Changes                                                        Rule 403 - Alleged probative value outweighed
           Popeyes July                                                   by danger of unfair prejudice, confusing or
           2017.xlsx dated                                                misleading the jury and waste of time.
           on or about                                                    Rule 404 - Evidence of other acts for which no
           6/29/2017 (TY-                                                 notice was given.
           000720949).                                                    Hearsay (FRE 801/802)
                                                                          Authentication - This document has not been
                                                                          authenticated (FRE 901).

GX 9841    Excel           N/A                      New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                    Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Popeyes                                                 401/402)
           Pricing                                                        Rule 403 - Alleged probative value outweighed
           December                                                       by danger of unfair prejudice, confusing or
           2016.xlsx dated                                                misleading the jury and waste of time.
           on or about                                                    Rule 404 - Evidence of other acts for which no
           11/30/2016 (TY-                                                notice was given.
           000720774).                                                    Hearsay (FRE 801/802)
                                                                          Authentication - This document has not been
                                                                          authenticated (FRE 901).




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                    Objections           Citation)
GX 9842    Excel             N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                   Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Popeyes                                                401/402)
           Pricing                                                       Rule 403 - Alleged probative value outweighed
           November                                                      by danger of unfair prejudice, confusing or
           2016.xlsx dated                                               misleading the jury and waste of time.
           on or about                                                   Rule 404 - Evidence of other acts for which no
           11/3/2016 (TY-                                                notice was given.
           000720767).                                                   Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).

GX 9843    Email between   N/A                     New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                               Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                                 401/402)
           on or about                                                   Rule 403 - Alleged probative value outweighed
           11/3/2016                                                     by danger of unfair prejudice, confusing or
           attaching Excel                                               misleading the jury and waste of time.
           spreadsheets                                                  Rule 404 - Evidence of other acts for which no
           (TY-000720763).                                               notice was given.
                                                                         Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                    Objections           Citation)
GX 9844    Excel             N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                   Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Popeyes                                                401/402)
           Pricing                                                       Rule 403 - Alleged probative value outweighed
           September                                                     by danger of unfair prejudice, confusing or
           2016.xlsx dated                                               misleading the jury and waste of time.
           on or about                                                   Rule 404 - Evidence of other acts for which no
           8/30/2016 (TY-                                                notice was given.
           000720749).                                                   Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).

GX 9845    Email between   N/A                     New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                               Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                                 401/402)
           on or about                                                   Rule 403 - Alleged probative value outweighed
           9/1/2016                                                      by danger of unfair prejudice, confusing or
           attaching Excel                                               misleading the jury and waste of time.
           spreadsheets                                                  Rule 404 - Evidence of other acts for which no
           (TY-000720749).                                               notice was given.
                                                                         Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                    Objections           Citation)
GX 9846    Excel             N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                   Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Popeyes                                                401/402)
           Pricing March                                                 Rule 403 - Alleged probative value outweighed
           2016.xlsx dated                                               by danger of unfair prejudice, confusing or
           on or about                                                   misleading the jury and waste of time.
           3/3/2016 (TY-                                                 Rule 404 - Evidence of other acts for which no
           000720693).                                                   notice was given.
                                                                         Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).

GX 9847    Email between   N/A                     New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                               Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                                 401/402)
           on or about                                                   Rule 403 - Alleged probative value outweighed
           3/4/2016                                                      by danger of unfair prejudice, confusing or
           attaching Excel                                               misleading the jury and waste of time.
           spreadsheets                                                  Rule 404 - Evidence of other acts for which no
           (TY-000720691).                                               notice was given.
                                                                         Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901).




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                                    Objections           Citation)
GX 9848    Email chain      N/A                    New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Shanise                                               Relevance - Irrelevant and inadmissible (FRE     hearing.
           Weatherman,                                                   401/402)
           Carl Pepper,                                                  Rule 403 - Alleged probative value outweighed
           Darrel Bowlin,                                                by danger of unfair prejudice, confusing or
           Catherine Breck,                                              misleading the jury and waste of time.
           and Ritchey                                                   Rule 404 - Evidence of other acts for which no
           Collyar, among                                                notice was given
           others, on or                                                 Hearsay (FRE 801/802)
           about 3/3/2017,                                               Authentication - This document has not been
           attaching Excel                                               authenticated (FRE 901)
           spreadsheets
           (TY-000721156).



GX 9849    Excel             N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                   Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Popeyes                                                401/402)
           Pricing March                                                 Rule 403 - Alleged probative value outweighed
           2017.xlsx dated                                               by danger of unfair prejudice, confusing or
           on or about                                                   misleading the jury and waste of time.
           2/28/2017 (TY-                                                Rule 404 - Evidence of other acts for which no
           000721158).                                                   notice was given
                                                                         Hearsay (FRE 801/802)
                                                                         Authentication - This document has not been
                                                                         authenticated (FRE 901)




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 Exhibit     Description            Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                     Objections           Citation)
GX 9851    Adobe PDF titled N/A                     New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                  Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                    401/402)
           about 3/7/2017                                                 Rule 403 - Alleged probative value outweighed
           (TY-000722574).                                                by danger of unfair prejudice, confusing or
                                                                          misleading the jury and waste of time.
                                                                          Rule 404 - Evidence of other acts for which no
                                                                          notice was given
                                                                          Hearsay (FRE 801/802)
                                                                          Authentication - This document has not been
                                                                          authenticated (FRE 901)

GX 9852    Email chain        N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Carl                                                   Relevance - Irrelevant and inadmissible (FRE     hearing.
           Pepper,                                                        401/402)
           Catherine Breck,                                               Rule 403 - Alleged probative value outweighed
           Jeffrey Ledbetter,                                             by danger of unfair prejudice, confusing or
           Janie Tucker,                                                  misleading the jury and waste of time.
           and Penny Clark,                                               Rule 404 - Evidence of other acts for which no
           among others, on                                               notice was given
           or about                                                       Hearsay (FRE 801/802)
           3/29/2016                                                      Authentication - This document has not been
           attaching                                                      authenticated (FRE 901)
           documents (TY-
           000743223).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9853    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 3/15/2016                                              Rule 403 - Alleged probative value outweighed
           (TY-000743226).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901)

GX 9854    Email chain      N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Carl                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Pepper,                                                      401/402)
           Catherine Breck,                                             Rule 403 - Alleged probative value outweighed
           Chuck Thayer,                                                by danger of unfair prejudice, confusing or
           and Jeff Riherd                                              misleading the jury and waste of time.
           on or about                                                  Rule 404 - Evidence of other acts for which no
           11/30/2016                                                   notice was given
           attaching                                                    Hearsay (FRE 801/802)
           documents (TY-                                               Authentication - This document has not been
           000745907).                                                  authenticated (FRE 901)




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9855    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 11/23/2016                                             Rule 403 - Alleged probative value outweighed
           (TY-000745909).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9856    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 11/22/2016                                             Rule 403 - Alleged probative value outweighed
           (TY-000745910).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given.
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).




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 Exhibit     Description         Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                  Objections           Citation)
GX 9857    Email between   N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Carl Pepper and                                             Relevance - Irrelevant and inadmissible (FRE     hearing.
           Kent Kronauge                                               401/402)
           on or about                                                 Rule 403 - Alleged probative value outweighed
           1/3/2017                                                    by danger of unfair prejudice, confusing or
           attaching                                                   misleading the jury and waste of time.
           documents (TY-                                              Rule 404 - Evidence of other acts for which no
           000746268).                                                 notice was given.
                                                                       Hearsay (FRE 801/802)
                                                                       Authentication - This document has not been
                                                                       authenticated (FRE 901).

GX 9858    Excel           N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           spreadsheet                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           titled Tyson                                                401/402)
           Foods Inc.                                                  Rule 403 - Alleged probative value outweighed
           Popeyes Cost                                                by danger of unfair prejudice, confusing or
           Plus Monthly                                                misleading the jury and waste of time.
           Pricing (TY-                                                Rule 404 - Evidence of other acts for which no
           000746272).                                                 notice was given.
                                                                       Hearsay (FRE 801/802)
                                                                       Authentication - This document has not been
                                                                       authenticated (FRE 901).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9859    Email chain     N/A                    New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Carl                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Pepper and                                                   401/402)
           Catherine Breck                                              Rule 403 - Alleged probative value outweighed
           on or about                                                  by danger of unfair prejudice, confusing or
           1/5/2017                                                     misleading the jury and waste of time.
           attaching                                                    Rule 404 - Evidence of other acts for which no
           document (TY-                                                notice was given.
           000746296).                                                  Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901).

GX 9860    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 12/30/2016                                             Rule 403 - Alleged probative value outweighed
           (TY-000746298).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901)




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9862    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 12/27/2016                                             Rule 403 - Alleged probative value outweighed
           (TY-000746515).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901)

GX 9863    Email chain      N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           between Carl                                                 Relevance - Irrelevant and inadmissible (FRE     hearing.
           Pepper, Janie                                                401/402)
           Tucker, Zoe                                                  Rule 403 - Alleged probative value outweighed
           Pepper, Chuck                                                by danger of unfair prejudice, confusing or
           Thayer, and                                                  misleading the jury and waste of time.
           Steve Langford                                               Rule 404 - Evidence of other acts for which no
           on or about                                                  notice was given
           11/7/2015                                                    Hearsay (FRE 801/802)
           attaching                                                    Authentication - This document has not been
           document (TY-                                                authenticated (FRE 901)
           000797680).




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                  New Objections                             Court's New Ruling
                                   Objections           Citation)
GX 9864    Adobe PDF titled N/A                   New exhibit           Rule 104 - Lack of Foundation                    Ruling reserved until February 10, 2022
           Tyson Invoice                                                Relevance - Irrelevant and inadmissible (FRE     hearing.
           dated on or                                                  401/402)
           about 10/29/2015                                             Rule 403 - Alleged probative value outweighed
           (TY-000797681).                                              by danger of unfair prejudice, confusing or
                                                                        misleading the jury and waste of time.
                                                                        Rule 404 - Evidence of other acts for which no
                                                                        notice was given
                                                                        Hearsay (FRE 801/802)
                                                                        Authentication - This document has not been
                                                                        authenticated (FRE 901)




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                    New Objections                                 Court's New Ruling
                                   Objections           Citation)
GX 9865    Adobe PDF titled N/A                   New exhibit           Authentication - This exhibit has not been             Ruling reserved until February 10, 2022
           Policy - PPC -                                               authenticated (FRE 901).                               hearing.
           Agri Stats (nmw)
           062413                                                       Relevance - Pilgrim's explanation of antitrust
           (PILGRIMS-DOJ-                                               law/policies is irrelevant. The exhibit is undated
           0002916975).                                                 and is prominently labeled a draft, so it does not
                                                                        represent the final version of any policy.

                                                                        Rule 403 - This exhibit has no probative value
                                                                        and creates a serious danger of undue prejudice
                                                                        by instructing the jury on antitrust law and policy.
                                                                        The Court has previously sustained objections to
                                                                        evidence relating to antitrust compliance and
                                                                        training policies, ruled that any relevance of such
                                                                        evidence is outweighed by danger of unfair
                                                                        prejudice (Doc. 603 at 6-7; 11.18.21 Unofficial
                                                                        Tr. at 108:5-20).

                                                                        Hearsay - The government does not intend to
                                                                        call a witness to lay the appropriate foundation to
                                                                        admit this document as a business record. In
                                                                        any event, no witness could lay an adequate
                                                                        foundation because this is not the type of
                                                                        regularly kept record that is admissible under
                                                                        Rule 803(6).




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 Exhibit     Description           Prior Defense     Prior Ruling (Tr.                   New Objections                                 Court's New Ruling
                                    Objections           Citation)
GX 9866    Email between     N/A                   New exhibit           Authentication - This document has not been           Reserved until February 10, 2022
           Greg Tatum,                                                   authenticated (FRE 901).                              hearing.
           Beverly Diviney,
           Bill Lovette, and                                             Relevance - The investigation of a separate
           Jayson Penn,                                                  company in 2011 has no relevance to this case
           among others, on                                              and the email predates the alleged start of the
           or about                                                      conspiracy.
           8/2/2011
           (PILGRIMS-DOJ-                                                Rule 403 - This exhibit has no relevance and
           0004180550).                                                  presents a serious danger of unfair prejudice
                                                                         that could result from alerting the jury to the
                                                                         DOJ's investigation of a different, non-defendant
                                                                         company. Furthermore, majority of this
                                                                         document is redacted raising questions for the
                                                                         jury about the content of this communication,
                                                                         especially given that the subject line of the email
                                                                         is referring to a previous, unrelated DOJ
                                                                         Agristats Investigation, which is not relevant to
                                                                         the subject matter of this case. The Court has
                                                                         previously ruled that references to and evidence
                                                                         about a non-defendant's alleged misconduct is
                                                                         irrelevant and prejudicial (Doc. 603 at 4). The
                                                                         Court has also previously ruled that references
                                                                         to other related proceedings is irrelevant and
                                                                         prejudicial. (Doc . 603 at 10).

                                                                         Hearsay - This document contains no
                                                                         statements that could satisfy Rules 801(d)(2)(A)
                                                                         or 801(d)(2)(E). The Court has previously
                                                                         sustained hearsay objections to exhibits not on
                                                                         James log (see 11.5.21 Trial Tr. at 1798:11-18).
                                                                         The government does not intend to call a witness




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 Exhibit     Description             Prior Defense     Prior Ruling (Tr.                   New Objections                            Court's New Ruling
                                      Objections           Citation)
GX 9867    Email between       N/A                   New exhibit           Authentication - This document has not been       Reserved until February 10, 2022
           Bill Lovette, Sheri                                             authenticated for admission at retrial (FRE 901). hearing.
           Garland, Jayson
           Penn, David                                                     Relevance - A calendar invitation with
           Blackmon, and                                                   information regarding transportation to a meeting
           Alexander                                                       has no apparent relevance to this case,
           Ivannikov dated                                                 especially given that the meeting is not related to
           on or about                                                     any of the customer negotiations that are the
           8/18/2014                                                       subject matter of this action, and the government
           (PILGRIMS-                                                      does not intend to call a witness to lay a
           0009357813).                                                    foundation establishing its relevance.

                                                                           Rule 403 - This document has no apparent
                                                                           relevance and creates a danger of unfair
                                                                           prejudice by appealing to jurors' judgments
                                                                           about the use of corporate jets.

                                                                           Hearsay - This document contains no
                                                                           statements that could satisfy Rules 801(d)(2)(A)
                                                                           or 801(d)(2)(E). The Court has previously
                                                                           sustained hearsay objections to exhibits not on
                                                                           James log (see 11.5.21 Trial Tr. at 1798:11-18).
                                                                           The government does not intend to call a witness
                                                                           to lay the foundation for admission under Rule
                                                                           803(6), nor could any witness lay such a
                                                                           foundation because this is not the type of
                                                                           regularly kept record that is admissible under
                                                                           Rule 803(6).




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 Exhibit     Description          Prior Defense         Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections               Citation)
GX 9868    Adobe PDF titled N/A                       New exhibit            Authentication - This exhibit has not been         Ruling reserved until February 10, 2022
           JBS USA Flight                                                    authenticated (FRE 901).                           hearing.
           Itinerary dated on
           or about                                                          Relevance - The itinerary of a corporate jet has
           8/19/2014                                                         no apparent relevance to this case and the
           (PILGRIMS-                                                        government does not intend to call a witness to
           0009357814).                                                      lay a foundation establishing its relevance.

                                                                             Rule 403 - This document has no apparent
                                                                             relevance and creates a danger of unfair
                                                                             prejudice by appealing to jurors' judgments
                                                                             about the use of corporate jets.

                                                                             Hearsay - This document contains no
                                                                             statements that could satisfy Rules 801(d)(2)(A)
                                                                             or 801(d)(2)(E). The Court has previously
                                                                             sustained hearsay objections to exhibits not on
                                                                             James log (see 11.5.21 Trial Tr. at 1798:11-18).
                                                                             The government does not intend to call a witness
                                                                             to lay the foundation for admission under Rule
                                                                             803(6).

GX 1036- Excel              Statements do not          Admitted without       Authentication - This document has not been       Admissible co-conspirator statements
   1     spreadsheet        satisfy 801(d)(2)(E) (Dkt. witness (11.5.21 Trial authenticated for admission at retrial (FRE 901). under FRE 801(d)(2)(E) pending
         titled KFC Pricing 395-1 at 221-24);          Tr. at 1787:2-4)                                                         authentication.
         Model Pilgrim's Insufficient notice for
         Pride              exhibit (11.5.21 Trial Tr.
         Corporation        at 1782:24-1783:11)
         Current vs Actual
         Cost (PILGRIMS-
         0002616919).




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 Exhibit    Description           Prior Defense          Prior Ruling (Tr.                    New Objections                              Court's New Ruling
                                   Objections                Citation)
GX 1105- Excel              No objection (11.3.21      Admitted through        Authentication - This document has not been       Admissible pending authentication.
   1     spreadsheet        Trial Tr. at 1280:23-25)   Robert Lewis            authenticated for admission at retrial (FRE 901).
         titled UFPC Cost                              (11.3.21 Trial Tr. at
         Plus Pricing                                  1281:23-24)
         dated on or
         about 08/20/2014
         (PILGRIMS-DOJ-
         0004223343).


GX 1438- Email between    No objections (11.8.21       Admitted through        Authentication - This document has not been       Admissible pending authentication.
   1     Mike Ledford and Trial Tr. at 2065:2-3)       Michael Ledford         authenticated for admission at retrial (FRE 901).
         others on or                                  (11.8.21 Trial Tr. at
         about 9/28/2012                               2065:2-3)
         attaching Excel
         spreadsheet
         (PILGRIMS-DOJ-
         0002470762).


GX 1521- Email chain        Statements do not           Admitted without a    Authentication - This document has not been       Admissible under FRE 801(d)(2)(E)
   1     between Bruce      satisfy 801(d)(2)(E) (Dkt. witness (11.9.21 Trial authenticated for admission at retrial (FRE 901). pending authentication.
         MacKenzie and      No. 395-1 at 47-48);        Tr. at 2135:21-22)
         Joe Grendys, on    Testimony from
         or about           customers at trial that
         11/2/2012          this is exactly the type of
         attaching Excel    guidance that they gave
         spreadsheet        to suppliers; Not in
         (KOCHFOODS0        furtherance of
         000542731).        conspiracy (11.9.21 Trial
                            Tr. at 2135:12-19)




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 Exhibit   Description       Prior Defense        Prior Ruling (Tr.                   New Objections                              Court's New Ruling
                               Objections              Citation)
GX 410-1 Redacted email   Cumulative; hearsay   Admitted only page     Authentication - This document has not been       The hearsay objection is sustained but
         chain between                          MJPoultry-             authenticated for admission at retrial (FRE 901). page two is admissible for the non-
         Kevin Grindle,                         0000081261 (page                                                         hearsay purpose of contact information.
         Lee Moriggia,                          before was refused     Hearsay - As at the first trial, MJPoultry-
         Tommy Francis,                         as hearsay)            0000081260 page) should be excluded as
         and Greg Tench                         (11.23.21 Unofficial   hearsay.
         on or about                            Tr. at 33:19-36:15)
         9/30/2014
         (MJPoultry-
         0000081260).




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 Exhibit      Description        Prior Defense          Prior Ruling (Tr.                       New Objections                             Court's New Ruling
                                   Objections                Citation)
GX 519-1 Redacted email Statements do not             Ruled admissible         Authentication - This document has not been       Mr. Stiller's statements are admissible
         chain between     satisfy 801(d)(2)(E) (Dkt. without witness, with authenticated for admission at retrial (FRE 901).    as co-conspirator statements under
         Randy Long and 395-1 at 333-335); in         redaction, and with                                                        FRE 801(d)(2)(E) and Mr. Long's
         Tim Stiller on or addition, statements by limiting instruction        Redaction and Limiting Instruction - If           statements are admissble for the non-
         about 10/9/2014 Mr. Long, who is not a "that statements of            admitted, this exhibit should be subject to the   hearsay purpose of effect on the
         (PILGRIMS-        co-conspirator, are        Mr. Long should be same redaction and limiting instruction as at the       listener, pending authentication.
         0003618962).      hearsay and prejudicial considered not for the first trial: the statements of Mr. Long may be
                           and cannot be offered truth for the matters considered only for their effect on the listener.         Limiting Instruction: the statements of
                           for the effect on the      asserted, but rather (11.12.21 Unofficial Tr. at 96:2-10).                 Mr. Long can be considered for the
                           listener because Mr.       only for the effect that                                                   effect on the listener, but not for the
                           Stiller, to whom the       those statements                                                           truth.
                           statements were made, may have on the
                           is not a defendant and listener." (11.12.21                                                           Redaction: the top of the page above
                           his state of mind is not Unofficial Tr. at 96:2-                                                      "On Oct 8, 2014, at 7:53 . . . " has no
                           at issue in the case, and 10)                                                                         effect on the listener and shall be
                           because there is no                                                                                   redacted.
                           evidence of anything
                           that was or was not
                           done in response to the
                           statements. (11.12.21
                           Unofficial Tr. at 86:6-14,
                           92:9-16; 93:11-94:5).
                           The statements are also
                           irrelevant insofar as they
                           concern Pollo Tropical.
                           (11.12.21 Unofficial Tr.
                           87:12-19).




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 Exhibit      Description       Prior Defense             Prior Ruling (Tr.                   New Objections                                Court's New Ruling
                                 Objections                    Citation)
GX 7046- Excel            Relevance; hearsay;           Admitted without a    Authentication - This document has not been         Admissible against Mr. Austin only
   1     Spreadsheet      FRE 404(b); limiting          witness               authenticated for admission at retrial (FRE 901).   pending authentication. Relevance and
         titled cost plus instruction requested.        Admitted only against                                                     404(b) objections overruled.
         comparison       (11.18.21 Unofficial Tr.      Austin
         industry.xls     at 97:6-21, 99:4-15,          (11.23.21 Unofficial                                                      Limiting Instruction: the jury can
         undated          100:8-16; 11.23.21            Tr. at 40:2-8)                                                            consider this exhibit against Mr. Austin
         (PILGRIMS-DOJ- Unofficial Tr. at 36:17-                                                                                  only.
         0000509329).     22, 37:11-38:10)

GX 746-1 Email chain     Government did not         Court sustained initial Authentication - This document has not been         Admissible for non-hearsay purpose of
         between Kent    provide defendants         objections to GX 746 authenticated for admission at retrial (FRE 901). effect on the listener.
         Kronauge and    access to the exhibit,     but allowed GX 746-1
         others on or    with metadata, in a        to be admitted, with Limiting Instruction - If admitted over prior          Limiting Instruction: the statements of
         about 9/6/2017 timely fashion (11.23.21 metadata, without           objections, the exhibit should be subject to the   Mr. Kronauge can be considered for the
         with metadata   Unofficial Tr. at 49:18- witness, with limiting same limiting instruction as at the first trial; Mr.   effect on the listener, not for the truth.
         (TY-000206379). 51:10); in addition, there instruction that jury    Kronauge's statement is admissible not for the
                         is no evidence of what cannot consider Mr. truth but only for the effect on the listener.
                         Mr. Pepper did in          Kronauge's               (11.23.21 Unofficial Tr. at 50:12-19, 54:16-55:8).
                         response to the email to statements for the
                         show "effect on the        truth of the matter
                         listener" (11.23.21        asserted but only for
                         Unofficial Tr. at 51:13- the effect on the
                         23, 53:3-18).              listener (11.23.21
                                                    Unofficial Tr. at 50:12-
                                                    19, 54:16-55:8).




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 Exhibit     Description        Prior Defense          Prior Ruling (Tr.                   New Objections                               Court's New Ruling
                                  Objections                Citation)
GX 9010- Excerpt of Excel Lack of authenticity; lack Admitted without a    Authentication - This document has not been       This exhibit is in the nature of a contact
   1     spreadsheet      of foundation; relevance; witness                authenticated for admission at retrial (FRE 901). list; there is a non-hearsay basis to
         titled Contacts  hearsay; denial of right (11.18.21 Unofficial                                                      admit contact lists to demonstrate that a
         (2946) undated of confrontation;            Tr. at 29:22-24)                                                        given conspirator had the contact
         (CLAXTON_018 misleading; FRE 403;                                                                                   information of another conspirator.
         1697).           limiting instruction                                                                               There is nothing misleading about the
                          requested. (11.18.21                                                                               information and the risk of unfair
                          Unofficial Tr. at 18:5-                                                                            prejudice does not substantially
                          19:1, 20:15-25, 21:10-                                                                             outweigh the probative value.
                          18, 23:21-25:16, 26:8-                                                                             Admissible pending authentication.
                          28:12, 30:24-32:15,
                          40:23-41:16)

                                              LATE DISCLOSED EXHIBITS                                                                   Court's New Ruling




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 Exhibit     Description        Prior Defense     Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                 Objections           Citation)
GX 9869    Email chain    N/A                   New exhibit           Late Notice – The government did not provide The Court will rule on this separately in
           between Roger                                              Defendants notice of its intent to offer this exhibit its order on the United States' Motion for
           Austin and                                                 without a sponsoring witness until 10pm Eastern Leave to File a Motion to Supplement
           Jayson Penn on                                             on 1.27.22, in violation of the Court’s order to      James Log and for Reconsideration
           or about                                                   provide such notice by 1.14.22 (see Dkt. 925).        [Docket No. 941].
           1/27/2012                                                  The Court should exclude this document on that
           (PILGRIMS-                                                 basis alone.
           0005827819)
                                                                      Authentication - This exhibit has not been
                                                                      authenticated (FRE 901).

                                                                      Lack of foundation (FRE 104)

                                                                      Relevance (FRE 401, 402)

                                                                      Hearsay - This exhibit was not on the
                                                                      government's James log and therefore should
                                                                      not be admitted under Rule 801(d)(2)(E). The
                                                                      Court has previously sustained hearsay
                                                                      objections to exhibits not on the James Log (see
                                                                      11.5.21 Trial Tr. at 1798:11-18). This exhibit also
                                                                      contains hearsay within hearsay.

                                                                      Rule 403 - Alleged probative value substantially
                                                                      outweighed by danger of unfair prejudice;
                                                                      Alleged probative value substantially outweighed
                                                                      by danger of confusing the issues or misleading
                                                                      the jury; Alleged probative value substantially
                                                                      outweighed by danger of undue delay or waste
                                                                      of time

                                                                      Rule 404 - Evidence of other acts for which no




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 Exhibit     Description          Prior Defense     Prior Ruling (Tr.                    New Objections                                Court's New Ruling
                                   Objections           Citation)
GX 9870    Email between    N/A                   New exhibit           Late Notice – The government did not provide The Court will rule on this separately in
           Roger Austin and                                             Defendants notice of its intent to offer this exhibit its order on the United States' Motion for
           Jayson Penn on                                               without a sponsoring witness until 10pm Eastern Leave to File a Motion to Supplement
           or about                                                     on 1.27.22, in violation of the Court’s order to      James Log and for Reconsideration
           1/27/2012                                                    provide such notice by 1.14.22 (see Dkt. 925).        [Docket No. 941].
           (PILGRIMS-                                                   The Court should exclude this document on that
           0005827827)                                                  basis alone.

                                                                        Authentication - This exhibit has not been
                                                                        authenticated (FRE 901).

                                                                        Lack of foundation (FRE 104)

                                                                        Relevance (FRE 401, 402)

                                                                        Hearsay - This exhibit was not on the
                                                                        government's James log and therefore should
                                                                        not be admitted under Rule 801(d)(2)(E). The
                                                                        Court has previously sustained hearsay
                                                                        objections to exhibits not on the James Log (see
                                                                        11.5.21 Trial Tr. at 1798:11-18). This exhibit also
                                                                        contains hearsay within hearsay and should be
                                                                        excluded on that basis.

                                                                        Rule 403 - Alleged probative value substantially
                                                                        outweighed by danger of unfair prejudice;
                                                                        Alleged probative value substantially outweighed
                                                                        by danger of confusing the issues or misleading
                                                                        the jury; Alleged probative value substantially
                                                                        outweighed by danger of undue delay or waste
                                                                        of time




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